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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA

   NAVY SEAL 1, United States Navy, NAVY                )
   SEAL 2, United States Navy, SENIOR CHIEF             )
   PETTY OFFICER, United States Navy,                   )
   CHAPLAIN, United States Navy, NAVY EOD               )
   OFFICER, United States Navy, COMMANDER               ) No. 8:21-cv-02429 SDM-TGW
   SURFACE WARFARE OFFICER, United States               )
   Navy, NAVY CHIEF WARRANT OFFICER,                    )
   United States Navy Reserve, COLONEL                  )
   FINANCIAL         MANAGEMENT              OFFICER,   )
   United States Marine Corps, LIEUTENANT               )
   COLONEL 1, United States Marine Corps,               )
   LIEUTENANT COLONEL 2, United States                  )
   Marine Corps, RESERVE LIEUTENANT                     )
   COLONEL, United States Marine Corps, MAJOR,          )
   United States Marine Corps, CAPTAIN, United          )
   States Marine Corps, CAPTAIN 2, United States        )
   Marine Corps, CAPTAIN 3, United States Marine        )
   Corps, FIRST LIEUTENANT, United States               )
   Marine Corps, SECOND LIEUTENANT, United              )
   States Marine Corps, CHIEF WARRANT                   )
   OFFICER 3, United States Marine Corps, LANCE         )
   CORPORAL 1, United States Marine Corps,              )
   LANCE CORPORAL 2, United States Marine               )
   Corps, CHAPLAIN, United States Air Force,            )
   RESERVE LIEUTENANT COLONEL 1, United                 )
   States Air Force, RESERVE LIEUTENANT                 )
   COLONEL 2, United States Air Force, MASTER           )
   SERGEANT SERE SPECIALIST, United States              )
   Air Force, TECHNICAL SERGEANT, United                )
   States Air Force, CADET, United States Air Force     )
   Academy, COLONEL, United States Army,                )
   ARMY RANGER, United States Army,                     )
   NATIONAL GUARDSMAN, Virginia Army                    )
   National Guard, PILOT, United States Coast           )
   Guard, LCDR PILOT, United States Coast Guard,        )
   and LIEUTENANT, United States Coast Guard,           )
   for themselves and all others similarly situated,    )
                                                        )
                      Plaintiffs,                       )
   v.                                                   )
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                                                           )
      LLOYD AUSTIN, in his official capacity as            )
      Secretary of the United States Department of         )
      Defense, CHRISTINE WORMUTH, in her official          )
      capacity as Secretary of the United States Army,     )
      CARLOS DEL TORO, in his official capacity as         )
      Secretary of the United States Navy, GEN. DAVID      )
      H. BERGER, in his official capacity as               )
      Commandant of the United States Marine Corps,        )
      FRANK KENDALL, in his official capacity as           )
      Secretary of the United States Air Force,            )
      ALEJANDRO MAYORKAS, in his official                  )
      capacity as Secretary of the Department of           )
      Homeland Security,                                   )
                                                           )
                        Defendants.                        )


                            SECOND AMENDED
                    VERIFIED CLASS ACTION COMPLAINT
           FOR PRELIMINARY AND PERMANENT INJUNCTIVE RELIEF,
                   DECLARATORY RELIEF, AND DAMAGES

                “Our citizens in uniform may not be stripped of basic rights
                   simply because they doffed their civilian clothes.”1

           For their VERIFIED CLASS ACTION COMPLAINT against Defendants,

  LLOYD AUSTIN, in his official capacity as Secretary of the United States

  Department of Defense, CHRISTINE WORMUTH, in her official capacity as

  Secretary of the United States Army, CARLOS DEL TORO, in his official capacity

  as Secretary of the United States Navy, GEN. DAVID H. BERGER, in his official

  capacity as Commandant of the United States Marine Corps, FRANK KENDALL,

  in his official capacity as Secretary of the United States Air Force, ALEJANDRO


  1
         Chappell v. Wallace, 462 U.S. 296, 304 (1983) (citing E. Warren, The Bill of Rights
  and the Military, 37 N.Y.U. L. Rev. 181, 188 (1962)).

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  MAYORKAS, in his official capacity as Secretary of the Department of Homeland

  Security, Plaintiffs, NAVY SEAL 1, United States Navy, NAVY SEAL 2, United

  States Navy, SENIOR CHIEF PETTY OFFICER, United States Navy, CHAPLAIN,

  United States Navy, NAVY EOD OFFICER, United States Navy, NAVY

  COMMANDER SURFACE WARFARE OFFICER, United States Navy, NAVY

  CHIEF WARRANT OFFICER, United States Navy Reserve, COLONEL

  FINANCIAL      MANAGEMENT        OFFICER,     United   States   Marine   Corps,

  LIEUTENANT COLONEL 1, United States Marine Corps, LIEUTENANT

  COLONEL 2, United States Marine Corps, RESERVE LIEUTENANT COLONEL,

  United States Marine Corps, MAJOR, United States Marine Corps, CAPTAIN,

  United States Marine Corps, CAPTAIN 2, United States Marine Corps, CAPTAIN

  3, United States Marine Corps, FIRST LIEUTENANT, United States Marine Corps,

  SECOND LIEUTENANT, United States Marine Corps, CHIEF WARRANT

  OFFICER 3, United States Marine Corps, LANCE CORPORAL 1, United States

  Marine Corps, LANCE CORPORAL 2, United States Marine Corps, CHAPLAIN,

  United States Air Force, RESERVE LIEUTENANT COLONEL 1, United States Air

  Force, RESERVE LIEUTENANT COLONEL 2, United States Air Force, MASTER

  SERGEANT SERE SPECIALIST, United States Air Force, TECHNICAL

  SERGEANT, United States Air Force, CADET, United States Air Force Academy,

  COLONEL, United States Army, ARMY RANGER, United States Army,

  NATIONAL GUARDSMAN, Virginia Army National Guard, PILOT, United States

  Coast Guard, LCDR PILOT, United States Coast Guard, and LIEUTENANT,

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  United States Coast Guard, for themselves and all others similarly situated, allege and

  aver as follows:

                URGENCIES JUSTIFYING EMERGENCY RELIEF

                    “The Executive Order mandating vaccinations
              for all federal employees has provided clear direction. . . .
      Frankly, if you are not vaccinated, you will not work for the U.S. Navy.”2

        1.     Plaintiffs are United States Armed Forces servicemembers, federal

  civilian employees, and federal civilian contractors who face a deadline under the

  Federal COVID-19 Vaccine Mandate to receive a COVID-19 vaccine that violates

  their sincerely held religious beliefs, and have been refused any religious exemption or

  accommodation. United States Navy and United States Marine Corps servicemembers

  had until November 28, 2021 to become fully vaccinated. United States Army and

  United States Air Force servicemembers had until December 15. United States Coast

  Guard servicemembers had until November 22. And civilian federal employees and

  contractors had until November 22. All of these dates have passed, and disciplinary

  actions have already commenced for some. Relief is needed now to prevent these

  military heroes, federal employees, and federal contractors from facing dishonorable

  discharge, court martial, other life-altering disciplinary procedures, and termination.

        2.     “Greater love hath no man than this, that a man lay down his life for his

  friends.” John 15:13 (KJV). Servicemember Plaintiffs have all agreed, voluntarily and


  2
         Vice Admiral William Galinis, Commander, Naval Sea Systems Command
  (NAVSEA), ALL HANDS NOTE (10/14/2021) COMNAVSEA Vaccination Message (Oct.
  14, 2021) (warning entire command, comprising more than 85,000 civilian and
  military personnel).

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  sacrificially, to devote their entire lives by this axiomatic truth, regardless of the cost

  to them personally or to their families who likewise sacrifice in defense of this Nation.

  They all have sworn an oath to protect and defend the Constitution of the United

  States, to sacrificially lay down their lives for their fellow citizens against enemies both

  foreign and domestic, and to preserve for our progeny the heritage and treasure passed

  down to them by Veterans of old. And, for that ultimate sacrifice in defense of the

  Constitution and our freedoms, Defendants are threatening these military heroes

  with dishonorable discharge for even requesting a religious exemption from the

  COVID-19 shots. Dishonorable discharge is worse than criminal conviction for

  these servicemembers because it is a badge of disgrace that follows them for the rest

  of their lives. Having sacrificed everything to defend America and its citizenry—and while

  carrying the images and sounds of war with them throughout their lives—America, the “land of

  the free and the home of the brave,” would betray them with the worst punishment of

  dishonorable discharge. And for what cause? Simply because they seek an accommodation from

  the COVID-19 shots on account of their sincerely held religious beliefs.

         3.      The deadlines for servicemember Plaintiffs to receive the COVID-19

  shots have passed. No servicemembers should be forced to choose between dishonorable

  discharge by the Nation they love or sinning against God by violating their sincere religious beliefs

  (which, by the way, can be easily accommodated). The Court must protect the rights of

  these military heroes and remove from the Republic the stain of government

  coercion of conscience.



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        4.      As the Supreme Court has long affirmed, the heroes of the United States

  Armed Forces do not shed their constitutional rights at the moment of their

  sacrificial oath. Indeed, “[t]his Court has never held, nor do we now hold, that

  military personnel are barred from all redress in civilian courts for constitutional

  wrongs suffered in the course of military service.” Chappell v. Wallace, 462 U.S. 296,

  304 (1983).

        5.      Moreover,     while    servicemembers      certainly    have       duties   and

  responsibilities “without counterpart in civilian life,” Schlesinger v. Councilman, 420

  U.S. 738, 757 (1975), the Constitution still provides them with the same blanket of

  constitutional protection that their dedicated service and sacrifice provide to the

  average civilian. For to turn the same Constitution that United States Armed Forces

  members protect and defend into a weapon against them would be a travesty unknown

  to the Nation’s founding charter and eclipse any dereliction of duty heretofore seen in

  the great experiment of America. Indeed, as Justice Brennan noted,

                Military (or national) security is a weighty interest, not least
                of all because national survival is an indispensable
                condition of national liberties. But the concept of military
                necessity is seductively broad, and has a dangerous
                plasticity. Because they invariably have the visage of
                overriding importance, there is always a temptation to
                invoke security “necessities” to justify an encroachment
                upon civil liberties. For that reason, the military-security
                argument must be approached with a healthy skepticism:
                its very gravity counsels that courts be cautious when
                military necessity is invoked by the Government to justify
                a trespass on First Amendment rights.




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  Brown v. Glines, 444 U.S. 348, 369 (1980) (Brennan, J., dissenting) (emphasis added)

  (citation omitted).

         6.     As he continued,

                To be sure, generals and admirals, not federal judges, are
                expert about military needs. But it is equally true that
                judges, not military officers, possess the competence and
                authority to interpret and apply the First Amendment.
                Moreover, in the context of this case, the expertise of
                military officials is, to a great degree, tainted by the natural
                self-interest that inevitably influences their exercise of the
                power to control expression. Partiality must be expected
                when government authorities censor the views of
                subordinates, especially if those views are critical of the
                censors. Larger, but vaguely defined, interests in
                discipline or military efficiency may all too easily become
                identified with officials' personal or bureaucratic
                preferences. This Court abdicates its responsibility to
                safeguard free expression when it reflexively bows before
                the shibboleth of military necessity.

  Id. at 370.

         7.     Servicemembers who protect the constitutional freedoms cherished in

  this Nation can also invoke those same constitutional protections for breaches of their

  own liberties, despite military service. Here, Defendants have made it clear that they

  think servicemember Plaintiffs’ sacrificial act of swearing an oath to protect the Nation

  and support and defend the Constitution is accompanied by the sacrificial surrender

  of those same constitutional protections they defend. The Constitution opposes such

  callous indifference to sacrificial service, and so, too, should the Court. Indeed,

  “military life do[es] not, of course, render entirely nugatory in the military context the

  guarantees of the First Amendment.” Goldman v. Weinberger, 475 U.S. 503, 507 (1986).


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  See also Crawford v. Cushman, 531 F.2d 1114, 1120 (2d Cir. 1976) (“[T]he military is

  subject to the Bill of Rights and its constitutional implications.” (emphasis added)).

  Put simply, “although First Amendment rights . . . may be ‘less’ for a soldier than a

  civilian, they are by no means lost to him.” Anderson v. Laird, 466 F.2d 283, 295 (D.C.

  Cir. 1972). “Individual freedom may not be sacrificed to military interests to the

  point that constitutional rights are abolished.” Id. (emphasis added).

        8.     Servicemember Plaintiffs and all those dedicated members of the United

  States Armed Forces voluntarily and sacrificially answered their Nation’s call to

  defend the freedoms we enjoy. Yet, Defendants are demanding that these brave

  military members sacrifice their constitutional rights which they risk their lives to

  defend. Indeed, “[i]t is a basic tenet of our legal system that a government agency is

  not at liberty to ignore its own laws and that agency action in contravention of

  applicable statutes and regulations is unlawful. The military departments enjoy no

  immunity from this proscription.” Dilley v. Alexander, 603 F.2d 914, 920 (D.C. Cir.

  1979) (emphasis added) (citation omitted). For without question, when critical

  constitutional rights are at issue, “the Supreme Court [has] heard numerous

  constitutional challenges to military policies.” Singh v. Carter, 168 F. Supp. 3d 216, 225

  (D.D.C. 2016) (cleaned up).

        9.     As the Supreme Court held barely a year ago, “even in a pandemic, the

  Constitution cannot be put away and forgotten.” Roman Catholic Diocese of Brooklyn

  v. Cuomo, 141 S. Ct. 63, 68 (2020) (emphasis added). When we have demanded so



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  much of our Soldiers, Sailors, Airmen, and Marines, we owe them nothing less than

  the full measure of our own devotion and commitment to constitutional principles.

  Anything less would be desecrating the sacrifices these heroes have made for untold

  numbers of people when the call of duty demanded it, and would trample upon the

  graves of so many who made the ultimate sacrifice before them.

         10.    When the great American experiment was commenced, our Founders

  ordained and established the Constitution—including all of the rights it recognized

  and enshrined—“in Order to form a more perfect Union, establish Justice, insure

  domestic Tranquility, provide for the common defence, promote the general Welfare,

  and secure the Blessings of Liberty to ourselves and our Posterity.” U.S. Const.

  Pmbl. (emphasis added). To this very day, “we continue to strive toward ‘[that] more

  perfect union.’” Smith v. City of New Smyrna Beach, No. 6:11–cv–1110–Orl–37KRS,

  2013 WL 5230659, at *1 (M.D. Fla. Sept. 16, 2013). That work is not easy, and

  sometimes it requires the intervention of the judiciary to set the guardrails for the

  protection of the Republic’s liberties.

         11.    Recognizing that times of crisis would arise, that such times might lead

  governments to seek to repress precious freedoms, and that the Republic’s survival

  depended upon defeating such repressive instincts, the genius of our founding

  document is that it placed explicit protections into the text of the Bill of Rights. And,

  importantly, “[o]ur Bill of Rights placed our survival on firmer ground—that of

  freedom, not repression.” Konigsberg v. State Bar of California, 366 U.S. 36, 79 (1961)

  (Black, J., dissenting).

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         12.    During times of national crisis, the very times when we call upon the

   United States Armed Forces heroes most, “the fog of public excitement obscures the

   ancient landmarks set up in our Bill of Rights.” American Communist Ass’n, C.I.O. v.

   Douds, 339 U.S. 382, 453 (1950) (Black, J., dissenting). But, where the fog of public

   excitement is at its apex, “the more imperative is the need to preserve inviolate the

   constitutional rights of [the First Amendment].” De Jonge v. Oregon, 299 U.S. 353, 365

   (1937). Without doubt, “[t]herein lies the security of the Republic, the very foundation

   of constitutional government.” Id.

         13.    Indeed, “[t]imes of crisis take the truest measure of our commitment to

   constitutional values. Constitutional values are only as strong as our willingness to

   reaffirm them when they seem most costly to bear.” Hartness v. Bush, 919 F.2d 170,

   181 (D.C. Cir. 1990) (Edwards, J., dissenting) (emphasis added). Our willingness to

   reaffirm our staunch commitment to our fundamental freedoms is imperative to the

   very survival of the American experiment. Servicemember Plaintiffs have

   demonstrated their staunch commitment, and it is time that we honor ours.

   “History reveals that the initial steps in the erosion of individual rights are usually

   excused on the basis of an ‘emergency’ or threat to the public. But the ultimate

   strength of our constitutional guarantees lies in the unhesitating application in

   times of crisis and tranquility alike.” United States v. Bell, 464 F.2d 667, 676 (2d Cir.

   1972) (Mansfield, J., concurring) (emphasis added). For, “[i]f the provisions of the

   Constitution be not upheld when they pinch as well as when they comfort, they



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   may as well be discarded.” Home Bldg. & Loan Ass’n v. Blaisdell, 290 U.S. 398, 483

   (1934) (Sutherland, J., dissenting) (emphasis added).

         14.    Plaintiffs have demonstrated their commitments to the United States

   Constitution and the Nation’s future comfort, security, and prosperity. The Court

   should demand that the Nation return the favor. Telling Plaintiffs they must accept

   or receive a shot they oppose according to their sincerely held religious beliefs, or face

   court martial, dishonorable discharge, and other life altering disciplinary measures,

   disgraces the sacrifices these heroes have made.

         15.    Indeed, “Our nation asks the men and women in our military to serve,

   suffer, and sacrifice. But we do not ask them to lay aside their citizenry and give up

   the very rights they have sworn to protect.” U.S. Navy Seals v. Biden, No. 4:21-cv-1236-

   O, 2022 WL 34443, at *1 (N.D. Tex. Jan. 3, 2022) (granting preliminary injunction).

         16.    “The Navy provides a religious accommodation process, but by all

   accounts, it is theater. The Navy has not granted a religious exemption to any vaccine

   in recent memory. It merely rubber stamps each denial.” Id. (emphasis added).

         17.    The same is true of every other branch. While there have been many

   requests, Defendants have granted a grand total of 20 religious exemptions—all to

   personnel already slated for separation. For example, one of the Marines whose

   request for a religious exemption was granted has been reported to have been on

   terminal leave and was thus already in the process of separating from service. See

   Jessica Chasmar & Peter Hasson, Marines’ claim of granting 2 religious COVID-19 vaccine



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   exemptions     leads   to    more    questions,    FoxNews    (Jan.    18,    2022),

   www.foxnews.com/politics/marines-claim-2-religious-COVID-19-vaccine-

   exemptions. Another purportedly granted religious exemption was for an individual

   who was also already transitioning out of the Marine Corps and was already within

   180 days of completing his service. See id.

           18.   The United States Army has received 3,253 requests for religious

   exemption from the vaccine mandate and has granted none. The Army has denied

   391 requests, 355 of which included a chaplain’s determination that the applicant’s

   beliefs are sincere.

           19.   The United States Army has granted as many as 2,658 requests for

   medical exemption, both permanent and temporary, and possibly hundreds or

   thousands more because the Army is only able to report the number of active medical

   exemptions at a given time, and is unable to report a total number over a period of

   time.

           20.   The United States Navy had received 4,095 requests for religious

   exemption and has granted 1 to an officer already slated for separation. The Navy has

   denied 3,728 requests and has 1,222 appeals pending. The Navy has adjudicated

   (denied) 81 appeals.

           21.   The Navy has granted as many as 311 requests for medical exemption,

   both permanent and temporary, and possibly hundreds more because the Navy is only

   able to report the number of active medical exemptions at a given time, and is unable

   to report a total number over a period of time.

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         22.    The United States Marine Corps has received 3,539 requests for religious

   exemption and has denied 3,458 requests—all of which after a determination of

   sincerity. The Marine Corps has granted 6 appeals from religious exemption denials,

   all to Marines already slated for separation.

         23.    The Marine Corps has granted as many as 436 requests for medical

   exemption, both permanent and temporary, and possibly hundreds more because the

   Marines are only able to report the number of active medical exemptions at a given

   time, and are unable to report a total number over a period of time.

         24.    The United States Air Force has received 12,623 requests for religious

   exemption and has granted 13, either initially or on appeal, all to personnel already

   slated for separation. It has denied 3,180 requests, and 443 appeals.

         25.    The Air Force has granted as many as 1,723 temporary medical

   exemptions, and possibly hundreds or thousands more because the Air Force is only

   able to report the number of active medical exemptions at a given time, and is unable

   to report a total number over a period of time.

         26.    The United States Coast Guard has received 1,308 requests for religious

   exemption and has granted none. The Coast Guard has denied 578 requests, all of

   which after a determination that the applicant’s religious beliefs are sincere. The Coast

   Guard has granted 6 permanent medical exemptions.

         27.    As the Court recognized in its Order (Doc. 40) on Plaintiffs’ preliminary

   injunction motion over two months ago, Defendants had received 16,643 requests for

   religious exemption and “had granted none” at that time. (Doc. 40 at 1.)

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         28.    The Court noted, it is “quite plausible that each branch’s procedure for

   requesting a religious exemption is a ruse that will result inevitably in the

   undifferentiated (and therefore unlawful under RFRA) denial of each service

   member’s request.” (Doc. 40 at 33.)

         29.    The Court’s foresight proves true in hindsight, as Defendants have still

   failed to grant any meaningful religious exemptions. What was a ruse at the

   commencement of this action is still a ruse today.

         30.    Defendants’ vaccine mandate, ostensibly responding to a public health

   crisis, has created a national emergency of much greater magnitude. The mandate

   attacks the military from within by removing brave servicemembers from defending the

   Nation by land, air, and sea, and from without by eliminating the dedicated civilian

   defense contractors and employees providing everything from boots and uniforms, to

   cyber security, to the world’s most advanced stealth fighter jet—the F-35 Lightning

   II—solely because these protectors of our constitutional freedoms requested

   accommodation of their sincerely held religious beliefs under the same Constitution.

   The crisis created by Defendants’ mandates, applied to two million federal employees,

   is unnecessary and completely avoidable, but nonetheless imminent and real.

         31.    An injunction is needed now to prevent the immediate and irreparable

   injury to Plaintiffs imposed by these unlawful COVID-19 mandates.

                                         PARTIES

         32.    Plaintiff NAVY SEAL 1, United States Navy, is a citizen of the State of

   California and a Navy Seal currently stationed at a United States Naval facility in


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   California. NAVY SEAL 1 has requested an exemption and accommodation of his

   sincerely held religious objections to the mandate that all United States Armed Forces

   personnel accept and receive one of the COVID-19 vaccines as a condition of

   remaining in their sworn posts. NAVY SEAL 1 was relieved of his key operational

   leadership duties on the day he submitted his request for religious exemption and

   accommodation on Sept 7, 2021. The Navy denied the request on November 17, 2021.

   NAVY SEAL 1 has been serving for 13 years, and has completed five deployments,

   three of which were to combat zones. His service in Naval Special Warfare has been

   honorable, and has resulted in high performance marks and 7 personal awards.

   NAVY SEAL 1’s performance has also earned him roles in tactical leadership

   positions that were responsible for developing cutting edge tactics and procedures for

   the Naval Special Warfare community.

         33.    Plaintiff NAVY SEAL 2, United States Navy, is a citizen of the State of

   Texas and is a Navy Seal stationed in the State of Florida. NAVY SEAL 2 has served

   his country honorably and sacrificially for 3 years as a reservist and currently 18.5

   years active duty. NAVY SEAL 2 submitted a request for a religious accommodation

   and exemption from the United States Navy. NAVY SEAL 2’s request for a religious

   exemption and accommodation detailed NAVY SEAL 2’s religious beliefs and

   practices that compel him to abstain receiving any of the currently available COVID-

   19 vaccines. NAVY SEAL 2’s request for a religious accommodation was supported

   by a letter from a religious leader, which demonstrated the sincerity of NAVY SEAL

   2’s personal beliefs. NAVY SEAL 2‘s commander noted that NAVY SEAL 2’s

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   religious beliefs were sincere and strongly held, but recommended that his request be

   disapproved, citing readiness, despite NAVY SEAL 2’s working in a non-deployable

   staff position and receiving natural immunity after a Spring 2020 SARS-CoV-2

   infection and recovery. NAVY SEAL 2’s request for an accommodation has been

   forwarded to the Chief of Naval Personnel who is responsible for making the final

   determination. NAVY SEAL 2 faces potential court martial, General discharge,

   promotion suspension, Warfare pin (“Trident”) removal, and other life-altering

   disciplinary and financial measures for merely requesting an accommodation for his

   sincerely held religious beliefs.

          34.    Plaintiff NAVY SENIOR CHIEF PETTY OFFICER, United States

   Navy, is a 17-year Active Duty Senior Chief Petty Officer stationed with the Marines.

   His career is marked with service primarily within Special Operations Units, with eight

   (8) deployments, high performance marks, and nine (9) personal awards. He holds a

   bachelors from George Washington University in Clinical Health Sciences, and four

   (4) years of military medical, CBRN and advanced medical training with a focus on

   operational medicine in the deployed setting. NAVY SENIOR CHIEF PETTY

   OFFICER obtained his Sub-Investigator Certification in 2017 from the FDA, so he

   could conduct informed consent of EUA Freeze Dried Plasma (FDP) product, track

   its use and report back up the chain of command to the FDA. As part of this informed

   consent, NAVY SENIOR CHIEF PETTY OFFICER was required to conduct an

   hour-long briefing to all eligible personnel of the risks, benefits, and right to refusal of

   the EUA product. The program placed heavy emphasis on the impropriety of coercive

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   tactics to obtain “consent.” Impeccable documentation was required, all personnel had

   to be afforded consent, and all consents had to be legible, contain addresses, and

   contain witnessed signatures, with formatting and dates matching. Audits were

   regularly conducted so any improper documentation that failed to meet this stringent

   standard was returned and required to be immediately resubmitted. In contrast,

   NAVY SENIOR CHIEF PETTY OFFICER’s experience with the COVID-19 vaccine

   has   been    completely     the   opposite,     having   observed     coercion,    public

   shaming, improper documentation, vaccine stacking, and an overall cavalier attitude

   towards new technology that does not have any long term data.

          35.    In Summer 2021, NAVY SENIOR CHIEF PETTY OFFICER was

   infected with SARS-CoV-2 and recovered within two weeks, and now has serological

   evidence of natural immunity that many experts believe to be consistent with or even

   superior to a COVID-19 vaccine, and which is recognized by Navy regulation as a

   basis for exemption from immunization. NAVY SENIOR CHIEF PETTY OFFICER

   has submitted a religious exemption request to the COVID-19 vaccine, on the basis of

   the leading of the Holy Spirit, and his Christian religious beliefs, including beliefs that

   the body is the temple of the Holy Spirit, and the COVID-19 vaccine’s close

   connection to abortion. As of February 7, 2022, the Navy has had 76 days to act upon

   NAVY SENIOR CHIEF PETTY OFFICER’s religious exemption request, but has

   not. Conversely, the Navy has approved a temporary medical waiver for him through

   Fall 2022, and has not removed him from leadership or other responsibilities as a result

   of being unvaccinated under a medical waiver.

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         36.    Plaintiff NAVY CHAPLAIN is a Chaplain in the United States Navy,

   with over 18 years’ honorable service. NAVY CHAPLAIN has personally observed

   the effect the mandatory COVID vaccination orders have had on mental health and

   readiness of multiple Sailors, in the course of his recent deployment with a Carrier

   Strike Group. Based on his own sincerely-held Christian religious beliefs, NAVY

   CHAPLAIN has submitted a religious exemption request for an accommodation from

   the COVID shot mandates. NAVY CHAPLAIN believes accepting any of the

   approved COVID vaccines would be an act of irreverence toward God and would be

   an attempt to alter the embodied image of God within individuals, and therefore a sin

   contrary to historic Judeo-Christian tradition and his Christian faith. NAVY

   CHAPLAIN’s commander has provided a negative recommendation for NAVY

   CHAPLAIN’s religious accommodation request. If his request is not approved,

   NAVY CHAPLAIN fears being forced to choose between his career of service to

   fellow Sailors, which he loves, and his faith in God and God’s commands.

         37.    Plaintiff NAVY EOD OFFICER, United States Navy, is a citizen of the

   State of Florida is an Explosive Ordnance Disposal (EOD) officer in the United States

   Navy, currently stationed in the State of Hawaii. NAVY EOD OFFICER has

   requested an exemption and accommodation of his sincerely held religious objections

   to the mandate that all United States Armed Forces personnel accept and receive one

   of the COVID-19 vaccines as a condition of remaining in their sworn posts. NAVY

   EOD OFFICER’s request for a religious exemption and accommodation was denied,

   and he was immediately removed from his position in the United States Navy. NAVY

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   EOD OFFICER has admirably and honorably served in the United States Navy for

   over 19 years, initially becoming an enlisted Navy salvage diver, following which he

   became an officer specializing in EOD. NAVY EOD OFFICER submitted a request

   for a religious accommodation and exemption from the United States Navy. NAVY

   EOD OFFICER articulated to his command that he has and exercises sincerely held

   religious beliefs that compel him to abstain from receiving any of the currently

   available COVID-19 vaccines. NAVY EOD OFFICER’s request for a religious

   exemption and accommodation was denied. He timely appealed the denial on

   December 8, 2021. Upon denial of his appeal, NAVY EOD OFFICER faces potential

   court martial, dishonorable discharge, and other life-altering disciplinary measures for

   merely requesting an accommodation of his sincerely held religious beliefs.

         38.    Plaintiff COMMANDER SURFACE WARFARE OFFICER, United

   States Navy (“NAVY COMMANDER SURFACE WARFARE OFFICER”), is a

   Surface Warfare Officer in the United States Navy. He is the Commanding Officer of

   a guided missile destroyer. He joined the Navy after completing university in 2004.

   NAVY COMMANDER SURFACE WARFARE OFFICER pursued a commission

   because he wanted to serve his country. NAVY COMMANDER SURFACE

   WARFARE OFFICER took an oath to uphold the Constitution. NAVY

   COMMANDER SURFACE WARFARE OFFICER is proud to defend freedom and

   our republican form of government. NAVY COMMANDER SURFACE

   WARFARE OFFICER now has nearly 18 years in the service. He submitted his

   original Religious Accommodation Request (RAR) on September 13, 2021.              The

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   Chief of Naval Personnel denied his request on October 22, and his direct supervisor

   presented the denial to him on October 26. NAVY COMMANDER SURFACE

   WARFARE OFFICER subsequently submitted his appeal on November 3.

   Additionally, he (as the Commanding Officer of his unit) positively endorsed 16 of the

   17 religious accommodation requests from his command, but all were disapproved by

   the Navy. Even though he specifically stated that he could accommodate the requests

   of these 16 Sailors, the Navy deemed NAVY COMMANDER SURFACE

   WARFARE OFFICER’s endorsement insufficient. The denial of religious

   accommodation letter he received is identical to the denial letters received by all 16

   Sailors in his command who submitted similar requests (1 is still pending). Each of the

   service members under his command submitted distinct, personal accounts of his or

   her religious practices and the method by which receipt of the COVID-19 vaccine

   would violate those belief. The form-like denial letter from the Chief of Naval

   Personnel demonstrates a blanket denial of religious accommodations regardless of

   individually articulated factors. Blanket denial of religious accommodations violates

   military service member religious liberties and the right to case-by-case consideration

   and review as specified in DOD Instruction 1300.17. The Navy denied

   COMMANDER SURFACE WARFARE OFFICER’s appeal seeking a religious

   exemption on January 28, 2022, and ordered him to begin a vaccination series within

   5 days (by February 2), or else report to a Navy immunization clinic for vaccination

   on February 3, and further ordered to meet with his squadron commander the evening

   of 3 February 2022. But for the Court’s temporary restraining order of February 2,

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   2022 (Doc. 67), he fully expected to have been relieved as commander of his ship, due

   to a “loss of confidence” in his ability to lead, simply because he has remained true to

   his faith. COMMANDER SURFACE WARFARE OFFICER has no further rights

   of appeal.

         39.    Plaintiff NAVY CHIEF WARRANT OFFICER, United States Navy

   Reserve, is a citizen of the State of Florida, a Chief Warrant Officer 2 in the United

   States Navy Reserve, and was, until January 31, a civilian employee of a federal

   contractor for the United States Department of Defense. NAVY CHIEF WARRANT

   OFFICER enlisted in the Navy Reserve’s Non-Prior Service and Advance Pay Grade

   (APG) programs in November 2003. After completing basic training in August 2004,

   NAVY CHIEF WARRANT OFFICER was assigned to NR SECGRU Minneapolis

   from 2004 to 2010. From January to December 2008, NAVY CHIEF WARRANT

   OFFICER was mobilized in support of Operation Iraqi Freedom as part of a Joint

   Task Force stationed in Balad, Iraq. Following his mobilization, NAVY CHIEF

   WARRANT OFFICER returned to NR NIOC Texas-Minneapolis and was advanced

   to Chief Petty Officer in September 2009. NAVY CHIEF WARRANT OFFICER’s

   military leadership assignments include Operations Department Leading Chief Petty

   Officer at NR NIOC Minneapolis, Senior Enlisted Leader and then Senior Chief Petty

   Officer in 2015 at NR NIOC Georgia-Orlando, Senior Enlisted Leader at NR Office

   of Naval Intelligence, and Senior Enlisted Leader NR at NIOC Georgia – Pensacola.

   Following his tour at NR NIOC Georgia – Pensacola, he was commissioned as a Chief

   Warrant Officer 2 in 2019. Following his commissioning, he affiliated with NR

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   C10FNIOCGA ORL and was given active duty orders supporting US Special

   Operations Command J24. In addition to his reserve duties, in his civilian career,

   NAVY CHIEF WARRANT OFFICER is an analyst for a federal defense contractor

   in the Office of the Undersecretary of Defense for Intelligence and Security based in

   Washington, D.C. NAVY CHIEF WARRANT OFFICER submitted a request to his

   Naval command for a religious accommodation and exemption from the vaccine

   mandate based on his sincerely held religious objections to receiving one of the

   COVID-19 vaccines because of their connection to aborted fetal cell lines. NAVY

   CHIEF WARRANT OFFICER’s request was supported by a Chaplain’s

   recommendation and his supervisor’s recommendation. The Navy denied NAVY

   CHIEF WARRANT OFFICER’s request on December 12, 2021, and he filed an

   appeal on December 21, 2021. Meanwhile, NAVY CHIEF WARRANT OFFICER’s

   active duty orders expired, returning him to reserve status, and he was advised by his

   command that he cannot be given further active duty orders, though otherwise

   qualified, due to his pending religious accommodation request. Although NAVY

   CHIEF WARRANT OFFICER’s federal contractor employer ostensibly granted the

   religious exemption request he submitted to the employer, he was on an extended leave

   of absence from the employer due to his recent Naval active duty orders, and the

   employer did not offer NAVY CHIEF WARRANT OFFICER a return to

   employment, leaving NAVY CHIEF WARRANT OFFICER with only his

   intermittent (one weekend per month) Navy Reserve employment.




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          40.    Plaintiff COLONEL FINANCIAL MANAGEMENT OFFICER,

   United States Marine Corps (“USMC Financial Management Officer”), served

   honorably for over two decades in the critical billet of Financial Management Officer,

   one of twelve (12) such Colonels in the Marine Corps. During his deployment to

   Afghanistan, he was nominated for and later received the Assistant Secretary of the

   Navy Financial Management and Comptroller Budgeting Award by the Assistant

   Secretary of the Navy (Comptroller) as the Comptroller of the Year. Because of his

   background and multiple advanced degrees, the Marine Corps considers him a Subject

   Matter Expert (SME) in his field of finance. He has worked at the highest levels of

   Headquarters Marine Corps inside the Pentagon, overseeing the development of a

   multibillion-dollar budget, and has personally briefed the Marine Corps Resource

   Oversight Counsel (essentially the Marine Corps’ Board of Directors). He currently

   serves on the principal staff for a 3-star General whose area of responsibility covers

   two-thirds of the Marine Corps’ operating forces, including virtually all of the Marines

   in the Pacific region. If he is forced out due to his sincerely held religious beliefs, his

   local command will have a vacancy in a critical billet for which there are currently no

   replacements available, and its ripple effect will be felt throughout the entire Marine

   Corps. This will exacerbate the current shortage of Colonels and Lieutenant Colonels

   in the field, and with only one Finance Marine selected for Colonel on this year’s most

   recent promotion board, it will be at least 2 years before the Marine Corps can make

   another one, not accounting for pending or inevitable Colonel retirements in his field.

   USMC Financial Management Officer requested a religious accommodation on

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   August 23, 2021 to exempt him from the COVID shot directive. His request was

   denied on September 22. On October 1, he requested a ten (10) business day extension

   to file his appeal, and was permitted to submit his appeal to the Commandant of the

   Marine Corps on October 21. He received a final denial of his appeal from the

   Assistant Commandant of the Marine Corps (ACMC) on December 14, and an order

   on February 7, 2022 to get the COVID vaccine by February 11, 2022. The first denial

   used identical language to others he has seen (minus the names, dates, and a few typos

   that were later corrected in subsequent form letters). The denial did not address issues

   he raised in his request and did not meet the required burden to prove the vaccine is

   the least restrictive means of furthering a compelling government interest. His initial

   request was rubber-stamp denied without giving it the due consideration that is

   required. His final appeal denial contained information that is factually questionable

   and disingenuous at best, and deeply condescending and disrespectful at worst. It

   summarily dismissed his sincerely held religious beliefs. Now, according to the Marine

   Corps, he must be separated as soon as possible, despite the fact that he has had

   COVID and recovered.

         41.    Plaintiff LIEUTENANT COLONEL 1, United States Marine Corps, is

   a citizen of the State of Texas and a Marine Corps Lieutenant Colonel currently

   stationed at a United States military facility in the State of Arizona. LIEUTENANT

   COLONEL 1 is currently an officer and a pilot in the Marine Corps. He has more than

   18 years’ exemplary service in the Marine Corps and wishes to continue serving his

   country for many more. LIEUTENANT COLONEL 1’s duties include service as a

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   senior officer and pilot with his unit. LIEUTENANT COLONEL 1 has served the

   United States on five combat tours and deployments, including one combat

   deployment in support of Operation Iraqi Freedom (OIF) and two combat

   deployments in Operation Enduring Freedom (OEF – Afghanistan). LIEUTENANT

   COLONEL 1 has also served as a TopGun graduate, F/A-18 pilot and instructor,

   Forward Air Controller (ground-based position calling in air strikes in support of

   Marine infantry), and in many other billets. Close Air Support and Forward Air

   Control involves responsibility for dropping ordnance (bombs), firing rockets, and

   aerial gunnery on enemy targets in close proximity to Marine infantry. An error in

   judgment or calculation can result in the deaths of Americans and allies in who are in

   close proximity to the enemy. LIEUTENANT COLONEL 1’s skill at both has saved

   countless American lives and has destroyed America’s enemies. LIEUTENANT

   COLONEL 1, United States Marine Corps, submitted a request for a religious

   accommodation     and    exemption    from    the   United   States   Marine   Corps.

   LIEUTENANT COLONEL 1 articulated to his command that he has and exercises

   sincerely held religious beliefs that compel him to abstain from receiving any of the

   currently available COVID-19 vaccines. LIEUTENANT COLONEL 1 met with his

   unit’s Chaplain, who reviewed his request for a religious exemption and

   accommodation and who found that LIEUTENANT COLONEL 1’s request was

   made from a position of “absolute sincerity.” On December 22, 2021, the Marine

   Corps denied LIEUTENANT COLONEL 1’s religious exemption request by typical

   form letter. He timely appealed the denial on January 12, 2022. Prior to his timely

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   appeal, however, on January 4, 2022, the Marine Corps removed LIEUTENANT

   COLONEL 1 from his position as Executive Officer of his squadron. Upon denial of

   his appeal, LIEUTENANT COLONEL 1 faces potential court martial, dishonorable

   discharge, and other life-altering disciplinary measures for merely requesting an

   accommodation for his sincerely held religious beliefs.

         42.    Plaintiff LIEUTENANT COLONEL 2, United States Marine Corps, is

   a FY 22 Command Selected Logistics Officer in the Marine Corps and a native of

   Queens, New York. She enlisted in the Marine Corps in June of 1997 and served as

   an Administrative Clerk after completing the Unit Diary Clerks Course in the top ten

   percent of the class. She served in the reserves and volunteered for active duty

   following the attacks on September 11th. In 2003, LIEUTENANT COLONEL 2

   wanted to be a role model for other women and completed Officer Candidate School

   where she received her commission as a Second Lieutenant in the Marine Corps. As

   a Company Grade Officer, she served in several leadership roles including duties as a

   Platoon Commander in garrison and during Operation Iraqi Freedom. She also served

   as a Series Commander at Marine Corps Recruit Training, Parris Island and staff jobs

   at several O5 level commands. She also deployed as a staff officer in support of

   Operation Enduring Freedom (Afghanistan). As a Field Grade Officer, she served as

   a Department of Defense Legislative Fellow to Congressman Joe Wilson (R-SC). She

   also served as the Legislative Assistant to the Marine Corps Force Innovation Office

   conducting research to integrate women into ground combat arms jobs. After serving

   as the Logistics Policy and Capabilities Division Operations Officer for Deputy

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   Commandant, Installations and Logistic she earned her Master’s Degree through the

   Advanced Studies Program at Command and Staff College. Next, she served as a

   Company Commander, Battalion Executive officer for 2d Maintenance Battalion, and

   G4 Operations Officer at U.S. Marine Corps Forces Special Operations Command

   (she later assumed an additional role as the Diversity and Inclusion Officer). After

   initially issuing to LIEUTENANT COLONEL 2 permanent change of station orders

   to NAVCENT, Bahrain, and then issuing four separate modifications to those orders

   in the last five months postponing her move—because she submitted a religious

   accommodation request—the Marine Corps has now canceled her orders. During this

   time of modifications and postponements, LIEUTENANT COLONEL 2 had to store

   her extra household goods at her own expense, change travel plans multiple times, and

   serve at her current unit without a job commensurate with her skills as a logistics

   officer. LIEUTENANT COLONEL 2 does not currently have a billet identification

   code (official job) at her current command, which may adversely affect her career

   advancement. Like many others, LIEUTENANT COLONEL 2’s faith journey has

   several blemishes that she does not typically discuss unless she is moved by the Holy

   Spirit to share personal aspects of her life story to help someone in need. One of the

   concerns that contributes to her decision not to receive the COVID 19 shot is because

   of her strong opposition to abortion and how God forgave and healed her from her

   own abortion. Specifically, in 1995, active duty LIEUTENANT COLONEL 2 became

   pregnant after being raped. The anger and humiliation of the sexual assault led her to

   have an abortion which made her even more ashamed. In fact, after her abortion,

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   LIEUTENANT COLONEL 2 felt like a murderer, and punished herself because she

   felt unworthy. This behavior only stopped after her husband caught her punishing

   herself, and helped her realize that God had truly forgiven her for the abortion. The

   COVID shot mandate, given the use of aborted fetal cell lines in testing and

   development, places LIEUTENANT COLONEL 2 in the position of reliving her rape

   and subsequent abortion, by being forcibly injected with a product tested on or made

   with aborted fetal cells, or being dismissed from the service she loves. LIEUTENANT

   COLONEL 2’s religious accommodation request has been denied, and she timely

   appealed. The Marine Corps denied LIEUTENANT COLONEL 2’s appeal seeking a

   religious exemption on January 26, 2022 and ordered her to begin a vaccination series

   within 5 business days (by February 2). But for the Court’s temporary restraining order

   of February 2, 2022 (Doc. 67), she would have been added to the Officer Disciplinary

   Notebook as of that date, and her command selection would have been withdrawn,

   irreparably damaging her career and leading to involuntary separation.

         43.    Plaintiff RESERVE LIEUTENANT COLONEL, United States Marine

   Corps, is a lieutenant colonel in the United States Marine Corps Reserves (USMCR).

   She is a cradle Catholic who swore an oath to support and defend the United States

   Constitution at the age of 17 when she entered the United States Naval Academy.

   With each promotion during her time in service, she has re-affirmed that oath. Her

   grandfather was a World War II veteran who landed in Normandy on D-Day and who

   inspired RESERVE LIEUTENANT COLONEL to pursue an appointment to the

   Naval Academy. She was a recruited Division 1 athlete and chose the Naval Academy

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   so she would be immersed in the military culture with like-minded patriots with whom

   she would establish a bond that would extend beyond their time in Annapolis.

   RESERVE LIEUTENANT COLONEL was a senior at the Naval Academy on

   September 11, 2001. RESERVE LIEUTENANT COLONEL service selected the

   United States Marine Corps because she was called to its traditions and challenges,

   and she wanted to serve with some of the most inspirational officers and senior enlisted

   leaders who had influenced her while at the Naval Academy. On September 3, 2021,

   and in accordance with Marine Corps Order 1730.9, RESERVE LIEUTENANT

   COLONEL submitted a request for religious accommodation (RA) from the

   COVID-19 shot mandate to the Deputy Commandant, Manpower and Reserve

   Affairs (D/C, M&RA), a three-star general, based on RESERVE LIEUTENANT

   COLONEL’s sincerely held Catholic religious beliefs that all life is sacred from

   conception to natural death, and receiving the COVID shot would constitute a

   violation of her conscience before God. Her RA request included a letter from her

   parish priest among other required documents. On October 1, RESERVE

   LIEUTENANT COLONEL received a denial of her RA request from D/C, M&RA,

   Lt. Gen. David Ottignon, USMC, stating that COVID-19 vaccination was the “least

   restrictive means of furthering the government’s compelling interest.” The letter

   provided her the opportunity to appeal to the Commandant of the Marine Corps

   (CMC), and on October 13, 2021, RESERVE LIEUTENANT COLONEL did appeal

   the denial to the CMC. On December 10, 2021, General Eric M. Smith, Assistant

   Commandant of the Marine Corps (ACMC) denied the appeal, giving as a reason that

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   “the COVID-19 vaccination requirement does not substantially burden your sincerely

   held religious belief because fetal stem cells are neither used in the manufacture of the

   Pfizer COVID-19 vaccines nor are they present in the vaccine itself.” The ACMC's

   denial brazenly presupposes authority over RESERVE LIEUENTANT COLONEL's

   religious beliefs and her consciousness before God. Additionally, the ACMC's

   statement that “fetal stem cells are [not] used in the manufacture of the Pfizer COVID-

   19 vaccines” is in direct contradiction to the Archbishop of the Military Diocese’s

   Statement on Coronavirus Vaccines and the Sanctity of Conscience of October 12, 2021. The

   Marine Corps on December 23, 2021, offered RESERVE LIEUTENANT

   COLONEL the “choice” of “voluntarily” dropping to “Inactive Ready Reserve”

   status, or facing administrative separation. Now, she is not able to work for the Marine

   Corps, losing income and service years toward retirement, because she cannot take

   vaccine in direct contradiction to her sincerely held religious beliefs and was trying to

   avoid defying a direct order.

         44.    Plaintiff MAJOR, United States Marine Corps (“USMC MAJOR”) is

   stationed in North Carolina. He is a patriotic American who believes that Jesus Christ

   is the virgin-born, incarnate Deity: the King over all kings and the LORD of all lords,

   Whose shed blood is the sole hope for human redemption from sin and eternal

   judgment, Whose death and resurrection testify to His preeminence over all creation,

   and at Whose name alone every knee shall bow. Desiring to serve his country, and

   follow God’s leading for his life, USMC MAJOR took the oath of conditional

   enlistment in 2004 and was commissioned a second lieutenant upon completion of the

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   Officer Candidate Course in August 2005. After graduating from The Basic School,

   he attended the Military Police Officer Basic Course, and spent his first tour of duty in

   Okinawa, Japan, where he served as Officer in Charge (OIC) for two districts,

   including an Air Station, off-base jurisdiction areas, and three military camps. He also

   performed duties as the Antiterrorism and Force Protection officer for two

   multinational exercises in Korea. USMC MAJOR then deployed to Iraq, where as a

   platoon commander and convoy commander he led Marines across Al Anbar and

   Diyala Provinces. Thereafter, as a Provost Marshal’s Office Operations Officer, he

   directed law enforcement operations at the Marine Corps’ largest training base for

   several years; went to Headquarters United States Marine Corps and worked as a staff

   officer in the Pentagon for several more. USMC MAJOR received additional

   specialized training and deployed a second time to Iraq, advising and assisting Iraqi

   Security Forces in counterpropaganda efforts to defeat ISIS terrorists. Subsequently,

   he commanded Headquarters Company in a Law Enforcement Battalion; served as

   Force Protection Officer for a Marine Logistics Group (Forward) in Norway; and

   deployed to Afghanistan as an advisor to several military, police, and governmental

   organizations. USMC MAJOR submitted a religious exemption request, and the

   Marine Corps denied it on October 26, 2021. USMC MAJOR timely appealed the

   denial on November 10, 2021. Upon denial of his appeal, which could come at any

   time, the Marine Corps will begin the separation process. USMC MAJOR desires to

   continue serving in the Marine Corps, consistent with his deep personal faith in the

   Bible as the Word of God, and consistent with his conscience and the personal leading

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   of Jesus Christ regarding what he admits into his body (which is the temple of the Holy

   Spirit). These require him to reject any involvement with the destruction of innocent

   human life as exemplified by the use of human fetal cell lines derived from abortions.

         45.    Plaintiff CAPTAIN, United States Marine Corps, is a citizen of the State

   of South Carolina and a patriotic American whose faith is Islam. Desiring to serve his

   country, he enlisted in the United States Marine Corps in 2014, graduating from recruit

   training in March 2015. After serving with a Law Enforcement Battalion and earning

   his undergraduate degree, he was selected for Officer Candidate School, and

   commissioned as a second lieutenant in 2016. After graduating from The Basic School,

   he attended the Military Police Basic Officer Course, with his first duty assignment at

   a Marine Corps Law Enforcement Battalion as a Platoon Commander. He attended

   courses in Norway and commanded a Military Police Integrated Company during a

   NATO Exercise. He has been deployed in several locations, including Africa.

   CAPTAIN desires to continue serving in the Marine Corps, consistent with his Islamic

   religious beliefs that require him to abstain from participation in that which is haram—

   forbidden—including the destruction and commoditization of innocent human life as

   exemplified by the use of human fetal cell lines derived from abortions. CAPTAIN

   desires to exercise “complete reliance on God” rather than in what he believes to be

   morally tainted COVID shots. The Marine Corps denied CAPTAIN’s religious

   accommodation request on October 27, 2021, which denial he timely appealed on

   November 11, 2021. Upon denial of his appeal, the Marine Corps will begin the

   separation process.

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         46.    Plaintiff, CAPTAIN 2, United States Marine Corps is a captain in the

   United States Marine Corps. He loves America and wanted to serve and protect his

   fellow citizens in giving back to the Country that God has blessed, which has blessed

   his family. He comes from a rich line of those who have served their Country in the

   military, selflessly, since World War I. He enlisted in the Marine Corps in December

   of 2011 and graduated from the Recruit Training Depot in San Diego March of 2012

   as the most physically fit recruit, winning the Iron Man award. He was the honor

   graduate for the bulk fuel course at the quartermaster schoolhouse and was

   meritoriously promoted to the rank of Corporal prior to being selected to go to Officer

   Candidate School (OCS). He subsequently attended and graduated from OCS and The

   Basic School (TBS) for officers, where he learned about leading Marines as an infantry

   officer. His current responsibility with the Marine Corps is a command and control

   (C2) officer (COMMO) 0602. His job is critical to mission success because it is a vital

   warfighting function. CAPTAIN 2 enables the commander to effectively C2 his or her

   units on the battlefield. Without C2, there is no feedback mechanism from the units

   on the ground regarding new developments to adapt to the situation and no method

   for commanders to issue orders to the units (division, regiment, battalion, company)

   under their charge. He has also been trained as a 0603 Marine Air Ground Task Force

   (MAGTF) Communications Planner and has received training within the information

   domain, the newest warfighting function for both the Marine Corps and joint services.

   He is currently enrolled at the Marine Corps Expeditionary Warfare School (EWS).

   As one of the top ten percent of captains, CAPTAIN 2 was hand-selected by the

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   Marine Corps to attend the resident course. The school focuses on educating and

   training company grade officers, to prepare them mentally, morally, and physically,

   for billets of increased leadership responsibility across the Fleet Marine Force and the

   Joint Force. The training provided by EWS emphasizes the warfighting capabilities of

   a MAGTF operating within a complex and distributed naval expeditionary

   environment. By meeting the challenges of the future through a Professional Military

   Education (PME) program, the Marine Corps is ensuring its leaders are the best

   prepared of any military organization in the world. In his career, he has served

   stateside and overseas. CAPTAIN 2 has now honorably served approximately ten

   years for the United States Marine Corps, both as active duty and in the reserve.

   CAPTAIN 2 never thought he would be placed in the position of conflict between his

   faith and a military order and have to decide whether to remain true to what God

   wants him to do or be kicked out of the service. CAPTAIN 2 submitted his Religious

   Accommodation (RA) waiver request on September 15, 2021. When he received an

   initial denial on September 30, he timely appealed on October 7. The denial did not

   address his specific request. He found out later that other Marines had received the

   same exact rubber stamp denial letter in response to their RAs. He learned that the

   Religious Accommodation Review Board unanimously voted that he was sincere in

   his faith, but the Board still denied CAPTAIN 2’s request. After he submitted his

   appeal, he received a final denial on December 7. On December 13, 2021, Brigadier

   General Field, Commanding General of Education Command, ordered CAPTAIN 2

   to take the vaccine within 10 days or face an administrative separation. CAPTAIN 2

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   had to sign an acknowledgement of the order. Because of his sincerely held religious

   objection to the vaccination, CAPTAIN 2 was unable to get the vaccine, and the

   Marine Corps considers him in violation of the order. On February 2, 2022, the Marine

   Corps charged CAPTAIN 2 with an Article 92 UCMJ violation, starting the

   administrative process to separate CAPTAIN 2 from the Marine Corps, which is

   currently proceeding as fast as the Marine Corps can prosecute it.

         47.    Plaintiff, CAPTAIN 3, United States Marine Corps, is a Captain in the

   United States Marine Corps. Shortly after turning 18, in June of 2009, he enlisted in

   the Marine Corps through the Delayed Entry Program (DEP). While in the DEP prior

   to going to boot camp, he was awarded the Naval Reserve Officer Training Corps

   (NROTC) Scholarship to the Virginia Military Institute (VMI). Upon graduating VMI

   with a degree in international studies, he was commissioned as an active duty Marine

   officer in May of 2014. Following The Basic School (TBS), CAPTAIN 3 was assigned

   the military occupational specialty (MOS) of Military Police (MP). While at the

   Military Police Basic Officer Leadership Course (MPBOLC), he was awarded the

   leadership award by the faculty and earned a gold medal for the German Armed

   Forces Proficiency Badge. He served approximately two years and ten months

   overseas while stationed on Okinawa, Japan and later completed a successful

   recruiting tour on the east coast. While in the fleet, he became an instructor of non-

   lethal weapons and tactics (INWIC), as well as an instructor of combat water survival

   (MCIWS). His job as an MP officer (5803 MOS designation) is of vital importance to

   the overall mission readiness of the Marine Corps. Force Protection—one of the seven

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   warfighting functions according to US military doctrine—plays an integral role in the

   military’s ability to protect the nation and our interests abroad. MP’s are included in

   every branch of service and have throughout their history provided essential

   capabilities, especially during times of war. He is a devout Christian who stands firmly

   in his beliefs in Jesus Christ and the Bible. CAPTAIN 3 submitted a Religious

   Accommodation (RA) waiver request on September 10, 2021. The Deputy

   Commandant for Manpower and Reserve Affairs denied the RA on October 1. The

   denial was identical to nearly every other RA denial across the Navy and Marine

   Corps. CAPTAIN 3 submitted his appeal package to the Commandant of the Marine

   Corps on October 13, fulfilling all procedural guidelines and timelines, and proposing

   numerous viable accommodations of his religious convictions that would achieve the

   same end state of protection against the virus backed by 20 citations of clinical studies

   and research materials. The appeal was denied on December 7, 2021, without

   providing a single source or citation backing the claims that the vaccine is the most

   efficient means of protection against the COVID-19 virus. On December 13, 2021,

   Brigadier General Field, Commanding General of Education Command, ordered

   CAPTAIN 3 to take the vaccine within 10 days or face an administrative separation.

   CAPTAIN 3 had to sign an acknowledgement of the order. Because of his faith,

   CAPTAIN 3 was unable to get the vaccine, and the Marine Corps considers him in

   violation of the order. On January 14, 2022, the Marine Corps charged CAPTAIN 3

   with an Article 92 UCMJ violation, starting the administrative process to separate




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   CAPTAIN 3 from the Marine Corps, which is currently proceeding as fast as the

   Marine Corps can prosecute it.

         48.    Plaintiff, FIRST LIEUTENANT, United States Marine Corps, is a

   Supply Officer (SUPO) with the First Marine Expeditionary Force (MEF). His job is

   critical to mission success because it focuses on maintaining the battle tempo and

   winning battles via supply chain and logistic functions. His role at the Supply

   Management Unit (SMU) provides for the demands of consumable repair parts to

   maintain readiness of equipment stateside and abroad. As a SUPO, he keeps track of

   a multimillion-dollar account and the fiscal obligations of I MEF to the SMU. His

   section works in coordination with Marines of the General Account section to

   communicate how much money is available to replenish stocks within the SMU to

   support the MEF’s missions. Since the start of COVID, all of the units with which

   FIRST LIEUTENANT has been associated have been fully mission capable. FIRST

   LIEUTENANT received an initial denial of his Religious Accommodation (RA)

   request on September 30, 2021, and timely appealed on October 7. The denial did not

   address his specific request, and he found out later that other Marine had received the

   same exact rubber stamp denial letter in response to their RAs. To this date, no RA

   within his personal knowledge has been approved in the USMC. He has since found

   out that the Religious Accommodation Review Board unanimously voted that he was

   sincere in his faith, but the Board still denied his request for accommodation. FIRST

   LIEUTENANT received a final denial of his RA request on December 27, 2021, and

   consequences have already occurred. He received the order to get the COVID shots

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   on December 28, stating that if he did not comply within 2 calendar days, he would

   be subjected to discipline, and the process will begin to kick him out of the Marine

   Corps. On December 30, 2021 FIRST LIEUTENANT was required to sign a Form

   3005 written counseling, stating he was in violation of Article 92—failure to obey a

   lawful order—by not receiving the COVID shot. There was no mention of his RA

   request or appeal on this form, which will go into his personnel file. Another Form

   3005 written counseling came on January 5, 2022, relieving FIRST LIEUTENANT

   of his duties for cause, and he was entered into the Officer Disciplinary Notebook. He

   attended a “Transition Readiness Seminar” initial counseling on January 10, 2022 and

   a pre-separation brief the following day to schedule the week-long seminar starting on

   February 28. FIRST LIEUTENANT completed his final physical paperwork on the

   afternoon of February 7 to fulfill the requirements for routing his package up to I

   Marine Expeditionary Force for processing of his administrative separation, which

   will occur immediately after the final physical paperwork is turned into his command.

   Following that, the only remaining step prior to FIRST LIEUTENANT’s separation

   from the Marine Corps will be completion of the Transition Readiness Seminar on

   March 4. While FIRST LIEUTENANT is being out-processed because he has not

   received a COVID vaccination, more than 100 “fully vaccinated” members of his unit

   were required to quarantine in January 2022.

         49.    Plaintiff SECOND LIEUTENANT, United States Marine Corps, is a

   citizen of the State of Alabama who graduated from the United States Naval Academy

   (USNA) in 2021 and is now currently at The Basic School (TBS). Prior to the Naval

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   Academy, he attended Marion Military Institute (MMI) for two years. His six years of

   military college were deliberate, as he has spared no expense in preparing himself to

   serve as the caliber of leader that United States Marines deserve. He has maintained a

   flawless conduct record throughout his time in college and in service, as he believes

   setting such an example is paramount. He has sought out every opportunity for

   leadership positions requiring ironclad integrity and a dedication to the Profession of

   Arms, including the MMI Cadet Honor Board and USNA Brigade of Midshipman

   Honor Investigation System. His professional education and mentorship has focused

   extensively on the nuances of military law, good order and discipline, the concept of

   “immediate obedience to orders,” and the invaluable obligation that a commissioned

   officer holds to honor his or her Oath of Office. He is well known by his peers to be

   exceptionally disciplined in his conduct and dedicated to his Oath of Office, even in

   facing the potential loss of his livelihood and lifelong dream of serving and leading

   Marines.    SECOND       LIEUTENANT          submitted    a   request   for   a religious

   accommodation from the COVID shot mandate, on multiple grounds, including his

   sincerely-held religious belief “that, first and foremost, a Christian's body is the Temple

   of the Holy Spirit and should be protected from deliberate or reckless injury or

   violation,” and second, that “deceit pursuant to personnel compliance and/or

   financial gain, is morally objectionable before God.” Upon submitting his religious

   exemption request, he was immediately removed from his training company, and

   placed in Mike Company, a non-training company reserved for 2nd Lieutenants who

   are either injured and unable to complete training, or are pending punitive legal action,

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   while his religious accommodation request is routed up his Chain of Command for a

   final decision from the Deputy Commandant of the Marine Corps. SECOND

   LIEUTENANT should have been kept in his training company while his request was

   pending, as he has not violated any DoD or Marine Corps orders in doing so, and is

   administratively exempt from all pertinent orders for the duration of time awaiting a

   final decision. His placement in Mike Company and removal from active training does

   not protect the force from COVID, as SECOND LIEUTENANT is required to

   provide administrative and labor assistance to the command, in support of his

   colleagues in the field and elsewhere. He is required to physically interact with his

   peers in all current Basic Officer Course classes in the execution of his support role

   duties. In other words, he remains active around base, working to help his former

   colleagues graduate from training, while his own training has been placed on hold

   indefinitely despite no legal or administrative misconduct. This is punitive and an

   improper response to a religious exemption request. SECOND LIEUTENANT

   deeply desires to continue training for service to the Nation in the United States

   Marine Corps, without the profound conflict between his religious beliefs and the

   COVID shot directives, and without discrimination. As of January 20, 2022,

   SECOND LIEUTENANT remains out of the training cycle because of his fidelity to

   his religious beliefs, despite the outstanding personal and professional reviews from

   his command, and has continued, daily full contact responsibilities in the support

   program for the same training cycle from which he was removed. On January 25,

   2022, the Marine Corps Deputy Commandant for Manpower and Reserve Affairs

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   denied SECOND LIEUTENANT’s request for religious accommodation, and

   SECOND LIEUTENANT appealed the denial on February 4, 2022. During his 10-

   day window to appeal the denial, and after he had notified his Chain of Command in

   writing of his intent to appeal the denial, the TBS Chain of Command directed

   SECOND        LIEUTENANT          to    preemptively     conduct     his    terminal

   separation/retirement physical examination. If SECOND LIEUTENANT’s appeal is

   denied, the Marine Corps will immediately begin the separation process.

         50.    Plaintiff CHIEF WARRANT OFFICER 3, United States Marine Corps,

   is a Christian who swore an oath to support and defend the United States Constitution

   at the age of 20 when he entered the United States Marine Corps. With each

   reenlistment during his time in service, he has reaffirmed that oath, which he has

   committed to memory because of its importance. CHIEF WARRANT OFFICER 3

   has served in Naval Aviation for nearly two decades where he has deployed on 9

   separate occasions, with several being in support of Operation Iraqi Freedom and

   Operation Enduring Freedom. He has spent more than 6 years of his 20 years of service

   away from his family and loved ones in service to his Nation. Despite COVID-19’s

   impact on our Nation beginning in March of 2020, his command has been able to

   accomplish its mission. He received the prestigious Advanced Aircraft Maintenance

   Officer Course during Weapons Tactics Instructor training over several weeks in

   Yuma, Arizona without interruption under the COVID protocols in place at the time.

   After this course, he received an additional MOS making his knowledge and

   experience essential to combat command as it applies to Marine Corps Aviation

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   abilities. On August 17, 2021, he submitted a Religious Accommodation (RA) request

   to the Deputy Commandant, Manpower and Reserve Affairs (D/C, M&RA), based

   on his sincere religious beliefs. It was denied on September 22. He later discovered that

   the denial letter was virtually identical to other RA denials, without consideration for

   the uniqueness of his request. He timely appealed on October 2, 2021, and his appeal

   received its final denial on November 24. CHIEF WARRANT OFFICER 3 was given

   a January 7, 2022 deadline for being fully vaccinated, despite his religious beliefs. His

   faith did not allow him to receive a COVID vaccination Now, nothing stands between

   him and immediate punitive consequences, except the Court's intervention.

         51.    Plaintiff LANCE CORPORAL 1, United States Marine Corps, is a

   citizen of the State of California currently stationed at a United States Marine Corps

   facility in California. LANCE CORPORAL 1 is currently serving in the United States

   Marine Corps in the 1st Radio Battalion, I Marine Expeditionary Force Information

   Group with the I Marine Expeditionary Force. LANCE CORPORAL 1 was raised in

   a Christian home where his father always told him that he had the choice of going to

   college or joining the military. Once he decided to join the military, LANCE

   CORPORAL 1 instantly chose the Marines because he believed they are the best of

   the bunch. LANCE CORPORAL 1 started dedicating his life to physical fitness to

   prepare for the difficult journey he chose. LANCE CORPORAL 1 has discovered a

   talent and passion for Electrical Maintenance and intends to pursue it as a civilian

   career post-military. LANCE CORPORAL 1 signed a 5-year contract, and he plans

   on serving his country for 5 years. LANCE CORPORAL 1 submitted a request for

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   religious exemption from the vaccine mandate, articulating to his command that he

   has and exercises sincerely held religious beliefs that compel him to abstain from

   receiving any of the currently available COVID-19 vaccines. The Marine Corps denied

   the request on November 9, 2021, and LANCE CORPORAL 1 timely appealed the

   denial. Upon denial of his appeal, LANCE CORPORAL 1 faces potential court

   martial, dishonorable discharge, and other life-altering disciplinary measures for

   merely requesting an accommodation of his sincerely held religious beliefs.

         52.    Plaintiff LANCE CORPORAL 2 is a citizen of the Commonwealth of

   Virginia, currently stationed in North Carolina. LANCE CORPORAL 2 joined the

   Marine Corps in 2018 out of a desire to serve his Country. He graduated Boot Camp,

   Marine Corps Combat Training, and MOS School, and became a Combat Engineer.

   LANCE CORPORAL 2 has a strong faith in God and his Son Jesus Christ. He

   submitted a religious exemption request to the COVID shot orders based on his sincere

   Christian religious beliefs. He feels the strong conviction of God’s Holy Spirit upon

   his heart that he must not get the COVID shot, and that if he were to get the COVID

   shot, it would be sin as a violation of the Holy Spirit’s leading and direction, and also

   that it would be sinful complicity in the murder of innocent unborn humans. He

   believes that all people, born and unborn, are created in God’s image, and that life

   should be respected. He believes it is disrespectful to innocent human life to be

   associated with or take into his body products derived from abortion. Lance Corporal

   2 has been told by several non-commissioned officers that “it is unlikely your religious

   exemption request will be approved,” and that “they’re just going to deny them all.”

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   If these superiors are correct, he faces involuntary administrative separation at best,

   and at worst, dishonorable discharge and other life-altering punishment. LANCE

   CORPORAL 2’s Religious Accommodation (RA) request was denied on December

   7, 2021, and he appealed the denial on December 18. On or about December 21,

   LANCE CORPORAL 2 received a phone call from a mental health counselor. The

   counselor called him to check on his mental health in the wake of the suicide of

   LANCE CORPORAL 2’s platoon mate, because the platoon mate was “being

   Administratively Separated for refusing the COVID vaccine.” LANCE CORPORAL

   2 expects his appeal and his RA to be denied and remains resolute in his trust in God,

   but is deeply grieved over the suicide of his friend.

         53.    Plaintiff CHAPLAIN, United States Air Force (“AIR FORCE

   CHAPLAIN”), joined the Arizona Air National Guard (AZ ANG) in February 2008,

   and the active-duty Air Force in September 2012. He joined the Chaplain Corps

   because he loves God and loves America and wanted to serve both by supporting and

   defending the Constitution. Being a USAF chaplain has been a great highlight of his

   life, and he has been honored to be invited into some of life’s most sacred moments

   for great Americans from all branches of our Armed Forces. CHAPLAIN has now

   honorably served as a USAF chaplain approximately fourteen years. During his

   service with the AZ ANG in 2010, he was mobilized in support of the Southwest

   Border Mission, Operation Copper Cactus, serving as chaplain for the Arizona

   National Guard and Air National Guard members serving along the Arizona/Mexico

   border. In the USAF he has deployed to: Afghanistan (2014) in support of Operation

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   Enduring Freedom; Turkey (2017) in support of Operation Inherent Resolve; and an

   undisclosed location in Southwest Asia (2020) in support of Operation Inherent

   Resolve. He spent three years stationed overseas during which time he supported

   Theater Security Packages across Europe in support of Operation Atlantic Resolve.

   CHAPLAIN submitted a 4-page RAR on September 17, 2021 outlining his religious

   objections to mandatory COVID-19 vaccination. After his RAR was denied,

   CHAPLAIN timely submitted an 18-page appeal on November 16, expounding

   further on his religious convictions, which flow out of a Christian worldview

   developed over forty years. Since 1980 he has been in church virtually weekly. He

   completed 21 years of Christian education at the elementary, secondary, collegiate,

   masters and doctoral levels and has been in professional religious work for the past 23

   years, including 14 years as a USAF chaplain. CHAPLAIN received notice of the final

   denial of his RAR on December 3, 2021 and was ordered to provide proof of receiving

   a COVID shot by December 13. On December 15, 2021, CHAPLAIN received a

   Letter of Counseling (LOC) for Failure to Obey Order to Receive COVID-19 Vaccine,

   which was sustained on January 4, 2022. On January 12, 2022, CHAPLAIN received

   a Letter of Reprimand (LOR) for the same. The LOR was sustained on January 24,

   2022, and placed in an Unfavorable Information File (UIF), erasing CHAPLAIN’s 14

   years of honorable and outstanding service and effectively ending his career by

   eliminating any possibility of promotion, and setting him up for discharge.

   CHAPLAIN’s record of service will have been moved from the top of his career field

   to the bottom. CHAPLAIN has never experienced the kind of singling out that has

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   accompanied the Religious Accommodation Request (RAR) process and the hostility

   directed at him by his chain of command because of his submission of an RAR.

   Chaplain submitted his RAR in good faith, and the USAF has not followed its own

   procedures in denying his request.

          54.    Plaintiff RESERVE LIEUTENANT COLONEL 1, United States Air

   Force (“AIR FORCE RESERVE LIEUTENANT COLONEL 1”), is a pilot in the

   United States Air Force (USAF) Reserve currently serving as a subject matter expert

   in C-5M Super Galaxy, and Readiness and Training for Air Force Reserve Command

   (AFRC) at Fourth Air Force (4AF) under the Director of Air Operations and Planning.

   She has served for over 19 years in the Air Force Reserve. RESERVE LIEUTENANT

   COLONEL 1 submitted her Religious Accommodation Request (RAR) on October 3,

   2021 and received the initial denial of her request on October 27. She timely submitted

   an appeal, and received a final denial on December 7, 2021, which ordered her to (a)

   take the vaccine, (b) submit retirement request if eligible or (c) refuse vaccine in writing

   within 3 days of receiving the denial. The denial memo went on to say that refusal of

   the vaccine would result in termination by removal from Ready Reserve service. The

   3-day timeline that was provided is contrary to the 5-day guidance set forth by the

   Secretary of the Air Force. On January 5, 2022, RESERVE LIEUTENANT

   COLONEL 1 received a 30-day medical exemption for an allergy to a substance in the

   COVID-19 vaccine, but later that same day, the medical exemption was revoked by

   the Air Force, “because [she] likely was not allergic;” because the Air Force “could

   not accept documentation from a ‘community’ allergist;” and because she “had

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   already refused the vaccine” because of her lack of vaccination as of December 7, 2021,

   the date of her appeal denial, which the Air Force now considers the date of her

   “refusal.” On January 6, 2022, RESERVE LIEUTENANT COLONEL 1 received a

   Letter of Reprimand and notice that her commanding general has initiated the process

   to involuntarily transfer her to the Inactive Ready Reserve, depriving the taxpayers of

   her service to her Country, and depriving her of a living. RESERVE LIEUTENANT

   COLONEL 1 now faces immediate and irreparable consequences of having to choose

   between accepting the vaccine in violation of her religious beliefs or violating a direct

   order and being separated.

         55.    Plaintiff RESERVE LIEUTENANT COLONEL 2, United States Air

   Force (“AIR FORCE RESERVE LIEUTENANT COLONEL 2”), is a pilot in the

   United States Air Force Reserve currently managing Program Flight Training (PFT)

   for aerial refueling tankers (KC-135’s, KC-10’s, KC-46’s), heavy transports (C-17’s, C-

   5’s) and tactical airlifts (C-130’s). He joined the Air National Guard and graduated

   from the Academy of Military Science in 2001. He joined the Air Force Reserve in

   2015 and currently serves at the HQ for Air Force Reserve Command. He has now

   honorably served approximately 14 years, 2 months in the Air National Guard, and 6

   years, 9 months in the Air Force Reserve. RESERVE LIEUTENANT COLONEL 2

   submitted his Religious Accommodation Request (RAR) on October 7, 2021. (E-mails

   from a higher-level Air Force Reserve General demanded that all RARs be turned in

   by October 15, 2021—13 days prior to the October 28 deadline in the written order to

   receive the vaccine). RESERVE LIEUTENANT COLONEL 2’s General non-

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   recommended the RAR, falsely stating he had received RESERVE LIEUTENANT

   COLONEL 2’s “division chief’s counseling and endorsement” to non-recommend the

   RAR. After receiving the initial denial of his RAR on October 28, 2021, RESERVE

   LIEUTENANT COLONEL 2 timely appealed the denial, noting the many

   inconsistencies and false statements in his commander’s non-recommendation of the

   initial RAR and in the denial. RESERVE LIEUTENANT COLONEL 2 received a

   final denial on December 9, 2021, which ordered him to provide proof of receiving the

   first COVID shot by December 14. RESERVE LIEUTENANT COLONEL 2’s faith

   prohibited him from getting a COVID shot. The Air Force issued RESERVE

   LIEUTENANT COLONEL 2 a Letter of Reprimand (LOR) dated February 3, 2022,

   for failure to obey a lawful order, and he is expecting at any time a notice of his

   commander’s intent to transfer him to the Inactive Ready Reserve as a result. If

   RESERVE LIEUTENANT COLONEL 2 is administratively separated, he will lose

   not only his military position, but will also lose his civilian technician job because it is

   dependent upon him retaining military employment. As of January 20, 2022, there are

   a number of “fully-vaccinated” coworkers who are out sick with COVID-19 or

   teleworking. RESERVE LIEUTENANT COLONEL 2 is one of few workers

   continuing in-person work at this time, despite being unvaccinated, and he remains

   healthy in part due to his naturally-acquired COVID immunity.

          56.    Plaintiff MASTER SERGEANT SERE SPECIALIST, United States Air

   Force (“AIR FORCE MSgt SERE SPECIALIST”), has been entrusted with the lives

   and training of new aircrew and special operators as an instructor at the Air Force

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   Basic Survival School. He instructs personnel in Survival, Evasion, Resistance and

   Escape (SERE). His current responsibility with the Air Force is as the Superintendent,

   Wing SERE Operations, as an Air Force Special Operations Command (AFSOC)

   SERE Specialist (J1T071), where he is charged with leading six SERE Specialists in

   the training and preparation of 2,500 AFSOC personnel and deployment in support of

   United States Special Operations Command (USSOCOM) Personnel Recovery (PR)

   operations. His job is critical to mission success because it is a vital warfighting

   function. Before operations can be conducted, Personnel Recovery considerations

   have to be addressed and plans put into place. AIR FORCE MSgt SERE

   SPECIALIST advises the commander on SERE and Personnel Recovery matters in

   preparation to support contingency operations across the globe in any environmental

   conditions, directs missions in support of Personnel Recovery operations for the

   commander’s units on the battlefield, and conducts Personnel Recovery battlefield

   preparation. Without SERE training, military personnel who become isolated in

   enemy territory would be at significantly higher risk of death or capture. Without

   Personnel Recovery contingency plans, American warfighters, particularly those in the

   Special Operations and Aviation communities, would be placed at increased physical

   and psychological risk. There are fewer than 600 Air Force SERE Specialists across

   the Department of Defense (DoD) due to the demanding training and requirements

   necessary to carry out the mission. Air Force SERE Specialists are the only DoD

   personnel trained, equipped, organized, and tasked to report, locate, support, and

   reintegrate any and all DoD personnel who experience an isolating event, such as

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   being shot down or cut off behind enemy lines. As an experienced and highly trained

   Senior Non-Commissioned Officer (SNCO), AIR FORCE MSgt SERE SPECIALIST

   has served in joint and coalition environments, to include Chief of Operations

   (CHOPS) and Senior Enlisted Leader (SEL). AIR FORCE MSgt SERE SPECIALIST

   submitted a Religious Accommodation (RA) request which was processed by the Air

   Force. He received a final denial of his RA on December 27, 2021 and was notified

   that his options were to comply or “voluntarily separate.” As of January 3, 2022, AIR

   FORCE MSgt SERE SPECIALIST became subject to discipline and the process began

   to remove him from the Air Force. He consulted with the Area Defense Council

   (ADC), and was informed that as a Senior NCO, the Air Force would make an

   example of him. It was explained that he will face demotion, court martial with

   possible felony conviction, and involuntary separation. On January 7, 2022, the Air

   Force removed MSgt SERE SPECIALIST from his leadership position. On January

   24, 2022, the Air Force issued MSgt SERE SPECIALIST a Letter of Reprimand

   (LOR) for failure to obey a lawful order.

         57.    Plaintiff TECHNICAL SERGEANT, United States Air Force (“AIR

   FORCE TECHNICAL SERGEANT”), is a citizen of the State of Oklahoma and has

   spent 15 years in service to her country in the United States Air Force. She felt the call

   to serve after high school, after being so emotionally affected by the events that

   transpired on September 11, 2001. TECHNICAL SERGEANT wanted to become a

   part of something much bigger than herself, and the Air Force offered her a wonderful

   opportunity. During her time in the Air Force, TECHNICAL SERGEANT felt

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   privileged to serve with so many selfless and inspirational people all around the world.

   She spent time in Texas, Mississippi, Illinois, Hawaii, and South Korea. She has been

   deployed to Kandahar Air Base, Afghanistan, spending six months supporting

   Operation Enduring Freedom. TECHNICAL SERGEANT submitted a request for a

   religious accommodation and exemption from the United States Air Force outlining

   her sincerely held religious objections to receiving one of the COVID-19 vaccines, and

   the Air Force has denied the request. TECHNICAL SERGEANT was under a

   temporary medical exemption due to being pregnant, which expired as of January 15,

   2022. TECHNICAL SERGEANT has been informed that when she returns from

   maternity leave she will face court martial, dishonorable discharge, and other

   disciplinary measures if she does not accept the COVID-19 vaccine.

         58.    Plaintiff CADET, United States Air Force Academy (“AIR FORCE

   CAEDET”), is a citizen of Oklahoma residing in Colorado while he attends the United

   States Air Force Academy (USAFA). CADET worked extremely hard to get into the

   Academy and has continued his hard work and excellence since entering, so much so

   that he was selected by leadership to receive the “Outstanding [Cadet 4th Class] of the

   Semester” award for the most impactful contribution in his class to the mission at

   USAFA for the Fall 2021 Semester. Since March 2020, unvaccinated Cadets,

   including Plaintiff CADET, have been able to fully and safely perform the mission of

   USAFA. Moreover, Cadets are non-deployable anywhere else until graduation from

   the Academy, which for CADET is over three years away. Despite, however, the

   ability of unvaccinated Cadets to fully and safely perform the mission of the Academy

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   since the beginning of the pandemic and prior to the availability of vaccines, and the

   non-deployability of any Cadet before graduation, the Academy has demanded that

   all Cadets receive a COVID vaccination pursuant to the Federal COVID-19 Vaccine

   Mandate. Because receiving any of the available COVID-19 vaccines would violate

   CADET’s sincerely held religious beliefs, CADET submitted a religious

   accommodation request (RAR) for exemption from the vaccine mandate. The

   USAFA Commander formally denied CADET’S RAR by Memorandum dated

   December 22, 2021. The denial Memorandum generically cited “compelling

   governmental interest of mission accomplishment, including military readiness, unit

   cohesion, good order and discipline, and the health and safety of all cadets” as reasons

   for denial, but did not give any reasoning that pertained to CADET’s individual

   request. The denial Memorandum also stated, generically, that “mission requirements

   cannot be fully accomplished without frequent exposure to other people,” and,

   “Cadets that remain unvaccinated are unable to perform the mission at USAFA. This

   places additional stress on vaccinated members and impacts mission accomplishment.

   As a result, unit cohesion and morale are affected.” A comparison of the denial

   Memorandum to the denial of another Cadet’s RAR revealed the denial language and

   reasoning to be identical. The boilerplate denial language ignores the AY 21-22

   CADET WING COVID-19 ROEs guidance, which treats vaccinated and

   unvaccinated Cadets virtually identically for purposes of mission accomplishment,

   requiring 5 days’ isolation or quarantine, and either 5 or 10 days of wearing a mask

   after quarantine or exposure. The boilerplate denials also ignore the fact that USAFA

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   immunization goals have already been met, with over 95% of the USAFA population

   having already been vaccinated. Finally, the denial Memorandum states, “Remaining

   unvaccinated poses a threat to all exposed.” On January 6, 2022, however, USAFA

   Commandant of Cadets, Brigadier General Paul Moga, announced to the Cadets at a

   lunch assembly, regarding USAFA’s posturing for the Omicron variant, “there is very

   little danger to the force.” CADET believes he has been subjected to a sham process,

   as evidenced by the denial Memorandum’s inclusion of the same boilerplate, non-

   specific denial reasons that the Air Force has offered in denying every other Air Force

   RAR, and that he faces the imminent dismissal from the Academy.

         59.    Plaintiff COLONEL, United States Army (“ARMY COLONEL”), is a

   citizen of the State of Texas and has served as a health care provider in the United

   States Army for 22 years. He has been deployed twice to Bosnia for six-months, and

   to Iraq for one year. COLONEL has treated countless numbers of Soldier patients over

   his career, and his family has sacrificed, as a military families do, for him to be able to

   serve Soldiers and other members of the military. COLONEL hoped to retire with the

   United States Army, but as a result of the COVID-19 mandate, he faces discipline for

   the mere exercise of his sincerely held religious beliefs. COLONEL submitted a

   request for a religious accommodation and exemption from the United States Army.

   COLONEL articulated to his command that he has and exercises sincerely held

   religious beliefs that compel him to abstain from receiving any of the currently

   available COVID-19 vaccines. COLONEL met with his unit’s Chaplain, who

   reviewed his request for a religious exemption and accommodation and found that

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   COLONEL’s request was sincere. COLONEL’s request for a religious exemption and

   accommodation has not been approved, and he faces potential court martial,

   dishonorable discharge, and other life-altering disciplinary measures for merely

   requesting an accommodation of his sincerely held religious beliefs.

         60.    Plaintiff ARMY RANGER, United States Army, is a citizen of the State

   of Missouri currently stationed at a United States military facility in the State of

   Washington. ARMY RANGER has requested an exemption and accommodation for

   his sincerely held religious objections to the Secretary’s mandate that all United States

   Military personnel accept and receive one of the COVID-19 vaccines as a condition of

   remaining in their sworn posts. ARMY RANGER has submitted a request for a

   religious exemption and accommodation, but he has been told by a superior the

   superior is concerned that the request will “put a target on him” as he is one of two

   men in the company who have requested a religious exemption from getting the

   COVID shot. Nonetheless, this superior supports his request for a religious exemption.

   ARMY RANGER entered active duty in 2015 as an Infantryman (11B). He was

   selected for Ranger Assessment Selection Program (RASP) in 2015, and graduated

   Ranger School in 2017, earning his Ranger Tab. He has deployed twice in support of

   Operation Freedom Sentinel. He is committed to serving the Nation and desires to

   continue, so long as he is not forced to violate his own religious beliefs and what he

   believes God requires of him.

         61.    Plaintiff NATIONAL GUARDSMAN, Virginia Army National Guard,

   a citizen of the Commonwealth of Virginia, entered service with the Virginia Army

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   National Guard in 1987. He graduated Fort Benning Infantry school and became an

   Infantryman. His unit attended and graduated Jungle Expert school and pulled guard

   duty in 1988 before the Invasion of Panama. He is an expert rifleman more times than

   not. He was selected as the Soldier of the Year for his company and went on to win

   the board for the Battalion Soldier of the year in 1989. He was promoted to SGT in

   June of 1990. NATIONAL GUARDSMAN was employed by a Textile Mill in

   Virginia where he quickly rose to Production Supervisor where he served until June

   2001 when NAFTA was taking a toll on the economy. He made a career change and

   enlisted into the Active Guard Reserve (AGR) program 2001. From May 2001-2005,

   he’s served as Readiness/Training NCO and deployed to Guantanamo Bay, Cuba

   where he performed Force Protection Duties along with being the Sergeant of the

   Guard of Camp Delta Detainment Center. Upon returning to the United States, he

   earned another MOS in Logistics. In 2007, NATIONAL GUARDSMAN was

   promoted to Sergeant First Class. With his new unit, he served as the Senior Logistics

   NCO in charge and in May of 2010, NATIONAL GUARDSMAN deployed to the

   austere Shindand, Afghanistan during the 2010 Surge, and it was there that he earned

   the Bronze Star (without V Device). He deployed as the Senior BN Logistics NCO

   with the 1-116th IN to Doha, Qatar for a Force Protection mission. NATIONAL

   GUARDSMAN served or trained in 7 countries and has over 50 awards / Impact

   awards. He has served as an Infantryman Squad Leader, Platoon SGT, First SGT and

   a Logistics NCO, has two additional skill identifiers of Battle Staff NCO and DoD

   Contracting Specialist. He is currently Number 2 on the State of Virginia Army

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   National Guard. NATIONAL GUARDSMAN submitted a request for a religious

   accommodation and exemption from the Virginia Army National Guard in October

   2021. NATIONAL GUARDSMAN articulated to his command that he has and

   exercises sincerely held religious beliefs that compel him to abstain from receiving any

   of the currently available COVID-19 vaccines. Because of his religious convictions,

   NATIONAL GUARDSMAN cannot support or justify participating with the

   abortion of a human life in hopes that his taking a vaccine might keep someone from

   getting sick. NATIONAL GUARDSMAN’s request for a religious exemption and

   accommodation has not been approved, and he has been told that he would potentially

   face a General Officer’s Memorandum of Reprimand (GOMOR), court martial, other

   than honorable discharge or a dishonorable discharge, and other life-altering

   disciplinary measures for merely requesting an accommodation for his sincerely held

   religious beliefs. NATIONAL GUARDSMAN has been refrained from travelling to

   attend any training, pre-requisite promotion schools or any school to maintain

   certifications for his position. NATIONAL GUARDSMAN is currently #2 on the

   promotion list for his job field. Under normal conditions he would be able to apply

   for and travel to the required training. He has been told that he, and others will be

   flagged and barred from re-enlistment. He has also been REMOVED from his

   scheduled deployment because of his request for an accommodation and exemption.

   National Guardsman submitted his Religious Exemption in October of 2021 and was

   told on February 4, 2022 that he had to resubmit since his Religious Exemption request

   was lost. NATIONAL GUARDSMAN has resubmitted his request.

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         62.    Plaintiff PILOT, United States Coast Guard (“COAST GUARD

   PILOT”), is a fixed-wing aircraft pilot in the United States Coast Guard. He is

   qualified in the HC-144B aircraft and estimates the cost of his training borne by the

   taxpayers as at least $1,400,000. He commissioned in the Coast Guard in 2018. He

   has served the people of the United States for over 3 years, enforcing the law and

   keeping people safe. PILOT participated in many search and rescue operations and

   has been critical in locating and coordinating aid for many distressed mariners and

   persons in the water. He has flown countless law enforcement patrols of our nation’s

   southern border and has aided in the detection and interdiction of illegal immigrants

   and fishing vessels. The command climate where he is stationed is hostile to any

   religious beliefs and requests for religious accommodation that conflict with the

   vaccine mandate. On August 26, 2021, PILOT first learned about the vaccine

   mandate, and was compelled by his faith to submit a religious accommodation request

   (RAR). On September 27, 2021, PILOT submitted an RAR on the grounds that there

   are fetal cell lines used in the production and/or testing of all the currently available

   vaccines which is contrary to his understanding of the sanctity of human life, and that

   the status of his body as a temple of the Holy Spirit makes it a sin to accept medicines

   or treatments with unknown long term effects and numerous adverse events

   documented in only the first 12 months of use. After submitting his RAR, Pilot

   experienced retaliation and discrimination from his command in the form of

   restriction to a 50 mile radius from his home and duty station because he had merely

   submitted an RAR. PILOT’s Commanding Officer stated, regarding the purpose of

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   the increased restrictions on PILOT as a result of submitting an RAR, “It’s not to just

   keep you from being infected, because if that was the case then we would maintain

   what we did before, which was early on, Admiral Netto, D8, said, you know, people

   go to locations where it’s a reduced infection rate in the area, then they’re permitted

   to do so. . . . That was what we were able to do in order to make sure everybody

   maintained a healthy mentality, and then when the vaccine was available, things did

   shift.” PILOT’s Commanding Officer has vocally supported the Coast Guard’s

   creating policy specifically intended to “make things difficult” for those seeking to

   obtain religious accommodation from the vaccine mandate, not for the purposes of

   “health and safety” or mitigating infection risk.

         63.    Plaintiff LCDR PILOT, United States Coast Guard (“COAST GUARD

   LCDR PILOT”), is a commissioned officer and aviator in the United States Coast

   Guard, having served honorably on active duty for over 12 years. LCDR PILOT has

   flown the HC-130J fixed-wing aircraft for nearly 2 years, and previously flew the

   MH-65C/D helicopter for 8 years. He has 2,932 military flight hours along with 218

   simulator hours and has served in operational tours in Louisiana, Puerto Rico, and

   Alaska. He has served as the HC-130J Engineering Officer and the unit’s Assistant

   Engineering Officer. He estimates the cost of his training to exceed $10 million over

   12 years of military aviation. The vaccine mandate has placed LCDR PILOT in a

   position of conflict between his faith and a military order and must decide whether

   to remain faithful to his conscience and God or be separated from service. Based on


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   his Roman Catholic Christian faith and absolute opposition to abortion, he cannot

   accept a vaccine that has been manufactured, or whose efficacy has been tested and

   proved, using aborted fetal cells. LCDR PILOT submitted a Religious

   Accommodation Request (RAR) on September 24, 2021, which was denied on

   January 20, 2022. LCDR PILOT submitted an appeal from the denial on February

   2, 2022. On February 4, 2022, one of the Coast Guard’s highest ranking officers,

   Vice Admiral Michael F. McAllister, stated to an assembly of Coast Guard officers,

   “If you are unvaccinated, you are not suited for service in the Coast Guard or any

   other military service.”

         64.    Plaintiff LIEUTENANT, United States Coast Guard (“COAST

   GUARD LIEUTENANT”), is a citizen of the State of Florida and a Lieutenant in the

   United States Coast Guard. She has spent 14 years in service to her country, and is

   currently stationed along the Gulf Coast. Following in the footsteps of two generations

   of her family, she felt the call to serve as a young child. COAST GUARD

   LIEUTENANT had a desire to serve the people of this nation and steward its natural

   resources and the Coast Guard's missions had been a perfect fit. During her time in

   the Coast Guard, COAST GUARD LIEUTENANT has felt privileged to serve

   alongside a diverse group of people from all around the world, including the Naval

   and Coast Guard members of other nations. COAST GUARD LIEUTENANT

   submitted a request for a religious accommodation and exemption from the vaccine

   mandate, outlining her sincerely held religious objections to receiving one of the


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   COVID-19 vaccines. While breastfeeding her child born earlier this year, she is

   currently under a temporary medical exemption to allow testing for allergies to vaccine

   components, but military medical providers have refused to conduct any testing.

   Though her immediate supervisor supports her requests, COAST GUARD

   LIEUTENANT has been informed that should her medical exemption expire or be

   revoked, she may face an other-than-honorable discharge, loss of benefits, and other

   disciplinary measures if she does not accept the COVID-19 vaccine. COAST GUARD

   LIEUTENANT has also been informed that even if the medical waivers are approved,

   she may be determined medically unfit for service and discharged.

         65.    Defendant LLOYD AUSTIN, in his official capacity as the Secretary of

   the United States Department of Defense (DoD), is responsible for enacting,

   implementing, and enforcing the federal COVID-19 vaccine mandate for members of

   the United States Armed Forces under DoD authority. Specifically, Secretary Austin

   issued the August 24 Memorandum for Senior Pentagon Leadership and other officials

   mandating that all military servicemembers under Department of Defense authority

   receive a COVID-19 vaccine. Secretary Austin is sued in his official capacity.

         66.    Defendant CHRISTINE WORMUTH, in her official capacity as

   Secretary of the United States Army, is responsible for enacting, implementing, and

   enforcing the Federal COVID-19 Vaccine Mandate for members of the United States

   Army. Defendant Wormuth is sued in her official capacity.

         67.    Defendant CARLOS DEL TORO, in his official capacity as Secretary of

   the United Sates Navy, is responsible for enacting, implementing, and enforcing the

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   Federal COVID-19 Vaccine Mandate for members of the United States Navy.

   Defendant Del Toro is sued in his official capacity.

         68.    Defendant GEN. DAVID H. BERGER, in his official capacity as

   Commandant of the United States Marine Corps, is responsible for enacting,

   implementing, and enforcing the Federal COVID-19 Vaccine Mandate for members

   of the United States Marine Corps. Defendant Gen. Berger is sued in his official

   capacity.

         69.    Defendant FRANK KENDALL, in his official capacity as Secretary of

   the United States Air Force, is responsible for enacting, implementing, and enforcing

   the Federal COVID-19 Vaccine Mandate for members of the United States Air Force

   and is responsible for overseeing the mandate for members of the United States Space

   Force. Defendant Kendall is sued in his official capacity.

         70.    Defendant ALEJANDRO MAYORKAS, in his official capacity as

   Secretary of the Department of Homeland Security, is responsible for enacting,

   implementing, and enforcing the Federal COVID-19 Vaccine Mandate for members

   of the United States Coast Guard and other civilian federal employees and contractors.

   Secretary Austin issued a directive, in accordance with President Biden’s September 6

   Executive Orders, mandating that all Department of Homeland Security employees,

   including United States Coast Guard servicemembers, receive a COVID-19 vaccine.

   Secretary Mayorkas is sued in his official capacity.




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                                JURISDICTION AND VENUE

          71.       This action arises under the First Amendment to the United States

   Constitution. This action also arises under federal statutory law, namely the Religious

   Freedom Restoration Act, 42 U.S.C. §§ 2000bb to 2000bb-4, and the Emergency Use

   Authorization provisions of the Federal Food Drug and Cosmetic Act, 21 U.S.C.

   § 360bbb-3, as applied by 10 U.S.C. §§ 1107 and 1107a.

          72.       This Court has jurisdiction over this action pursuant to 28 U.S.C.

   §§ 1331, 1343, and 1367.

          73.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because

   a substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in

   this district.

          74.       This Court has the authority to grant the requested declaratory relief

   under the Declaratory Judgment Act, 28 U.S.C. §§ 2201–2202, implemented through

   Rule 57, Federal Rules of Civil Procedure, and the requested injunctive relief under 28

   U.S.C. § 2202 and Rule 65, Federal Rules of Civil Procedure.

          75.       This Court has the authority to award the requested costs and attorney’s

   fees under 28 U.S.C. §§ 1920 and 2412 and 42 U.S.C. § 1988.

                                  GENERAL ALLEGATIONS

          A.        THE FEDERAL COVID-19 VACCINE MANDATE.

          76.       On September 9, 2021, President Biden issued Executive Order 14043,

   Requiring Coronavirus Disease 2019 Vaccination for Federal Employees, requiring all

   federal employees to receive one of the COVID-19 vaccines as a condition of


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   employment. (A true and correct copy of Executive Order 14043 is attached hereto as

   EXHIBIT A and incorporated herein.)

          77.    In Executive Order 14043, President Biden stated: “I have determined

   that to promote the health and safety of the Federal workforce and the efficiency of

   the civil service, it is necessary to require COVID-19 vaccination for all Federal

   employees . . . .” (Ex. A at 2.)

          78.    Consistent with that determination, Executive Order 14043 states: “Each

   agency shall implement, to the extent consistent with applicable law, a program to

   require COVID-19 vaccination for all of its Federal employees . . . .” (Ex. A at 2.)

          79.    Also on September 9, 2021, President Biden issued Executive Order

   14042, Ensuring Adequate COVID Safety Protocols for Federal Contractors, requiring

   that all federal contractors and subcontractors “comply with all guidance for

   contractor or subcontractor workplace locations published by the Safer Federal

   Workforce Task Force.” (A true and correct copy of Executive Order 14042 is attached

   hereto as EXHIBIT B and incorporated herein.) Pursuant to Executive Order 14042,

   the Safer Federal Workforce Task Force issued its Guidance for Federal Contractors and

   Subcontractors on September 24, 2021, requiring that all employees of federal

   contractors and subcontractors receive one of the COVID-19 vaccines as a condition

   of performing any contract for work for the Federal Government. (A true and correct

   copy of the Guidance is attached hereto as Exhibit C and incorporated herein.)




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         80.    On August 24, 2021, Secretary Austin issued a Memorandum for Senior

   Pentagon Leadership, Commanders of the Combatant Commands, and Defense

   Agency and DoD Field Activity Directors, Subject: Mandatory Coronavirus Disease

   2019 Vaccination of Department of Defense Service Members, mandating that all

   military servicemembers under DoD authority receive the COVID-19 vaccine. (A true

   and correct copy of the Secretary’s August 24 Memorandum is attached hereto as

   EXHIBIT D and incorporated herein.)

         81.    In his Memorandum, Secretary Austin stated: “After careful consultation

   with medical experts and military leadership, and with the support of the President, I

   have determined that mandatory vaccination against coronavirus disease 2019

   (COVID-19) is necessary to protect the Force and defend the American people.”

   (Exhibit C at 1.)

         82.    Secretary Austin further stated: “I therefore direct the Secretaries of the

   Military Departments to immediately begin full vaccination of all members of the

   Armed Forces under DoD authority on active duty or in the Ready Reserve, including

   the National Guard, who are not fully vaccinated against COVID-19.” (Exhibit C at

   1.)

         83.    Though not even possible right now (see infra), the Secretary stated that

   mandatory vaccination “will only use COVID-19 vaccines that receive full licensure

   from the Food and Drug Administration (FDA), in accordance with FDA-approved

   labeling and guidance.” (Ex. C at 1.)




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         84.     President Biden’s Executive Orders, Secretary Austin’s Memorandum,

   and all related, resulting, subsequent, amended, or superseding federal orders or

   directives mandating the vaccination of United States Armed Forces servicemembers,

   federal civilian employees, or federal civilian contractors, are sometimes collectively

   referred to herein as the “Federal COVID-19 Vaccine Mandate.”

         B.      PLAINTIFFS’ SINCERELY HELD RELIGIOUS BELIEFS.

         85.     Plaintiffs all have sincerely held religious beliefs, rooted in Scripture, that

   preclude them from complying with the Federal COVID-19 Vaccine Mandate because

   of the connections between the various COVID-19 vaccines and the cell lines of

   aborted fetuses, whether in the vaccines’ origination, production, development,

   testing, or other inputs. Plaintiffs also have sincerely held religious beliefs, rooted in

   Scripture, that their bodies are temples of the Holy Spirit and that they cannot place

   anything into their Temples without confirmation and conviction from the Holy Spirit.

         86.     A fundamental component of Plaintiffs’ sincerely held religious beliefs is

   that all life is sacred, from the moment of conception to natural death, and that

   abortion is the murder of an innocent life and a grave sin against God.

         87.     Plaintiffs’ sincerely held religious beliefs are rooted in Scripture’s

   teachings that “[a]ll Scripture is given by inspiration of God, and is profitable for

   doctrine, for reproof, for correction, [and] for instruction in righteousness.” 2 Timothy

   3:16 (KJV).




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         88.    Because of that sincerely held religious belief, Plaintiffs believe that they

   must conform their lives, including their decisions relating to medical care, to the

   commands and teaching of Scripture.

         89.    Plaintiffs have sincerely held religious beliefs that God forms children in

   the womb and knows them prior to birth, and that because of this, life is sacred from

   the moment of conception to natural death. See Psalm 139:13–14 (ESV) (“For you

   formed my inward parts; you knitted me together in my mother’s womb. I praise you,

   for I am fearfully and wonderfully made.”); Psalm 139:16 (ESV) (“Your eyes saw my

   unformed substance; in your book were written, every one of them, the days that were

   formed for me, when as yet there was none of them.”); Isaiah 44:2 (ESV) (“Thus says

   the LORD who made you, who formed you from the womb . . . .”); Isaiah 44:24 (ESV)

   (“Thus says the LORD, your Redeemer, who formed you from the womb: ‘I am the

   Lord, who made all things . . . .’”); Isaiah 49:1b (ESV) (“The LORD called me from the

   womb, from the body of my mother he named my name.”); Isaiah 49:5 (ESV) (“And

   now the LORD says, he who formed me from the womb to be his servant . . . .”);

   Jeremiah 1:5 (ESV) (“‘Before I formed you in the womb I knew you, and before you

   were born I consecrated you; I appointed you a prophet to the nations.’”).

         90.    Plaintiffs also have sincerely held religious beliefs that every child’s life is

   sacred because each is made in the image of God. See Genesis 1:26–27 (ESV) (“Then

   God said, ‘Let us make man in our image, after our likeness. . . . So God created man

   in his own image, in the image of God he created him; male and female he created

   them.’” (footnote omitted)).

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         91.    Plaintiffs have sincerely held religious beliefs that because life is sacred

   from the moment of conception, the killing of that innocent life is the murder of an

   innocent human in violation of Scripture. See, e.g., Exodus 20:13 (ESV) (“‘You shall

   not murder.’”); Exodus 21:22–23 (ESV) (imposing death penalty for killing of an

   unborn child); Exodus 23:7 (ESV) (“‘[D]o not kill the innocent and righteous . . . .’”);

   Genesis 9:6 (ESV) (“‘Whoever sheds the blood of man, by man shall his blood be shed,

   for God made man in his own image.’”); Deuteronomy 27:25 (ESV) (“Cursed be anyone

   who takes a bribe to shed innocent blood.” (internal quotation marks omitted));

   Proverbs 6:16–17 (ESV) (“There are six things that the LORD hates, seven that are an

   abomination to him: . . . hands that shed innocent blood . . . .”).

         92.    The Hebrew word for “abomination” in the text above is ‫( תֹו ֵע ָבה‬to`eba).

   The verbal form is “abhor,” “loath,” “detest,” and “exclude.” Twelve times the Book

   of Proverbs uses ‫ תֹו ֵע ָבה‬in reference to an “abomination to the LORD.” (‫ יהוה‬or

   Yahweh). The word is also used in conjunction with the Ammonites and the

   Ashtoreth, the Sidonians, Chemosth, and Moab. Some of these nations sacrificed their

   children to Baal. Indeed, Jeremiah 19:4–9, refers to the shedding of innocent blood by

   sacrificing children as the reason for judgement against Judah. Abortion is the modern-

   day sacrifice of children made in the image of God. Plaintiffs do not want to be part

   of such an “abomination.” They do not want indirectly or directly to be in any way

   associated with abortion. To do so is abhorrent, loathsome, detestable, abominable to

   God. In short, to require these employees to inject a substance into their bodies that




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   has any association (no matter how near or remote to abortion) is a sin against their

   Creator, their Lord, and their Savior.

          93.    Plaintiffs also have sincerely held religious beliefs that it would be better

   to tie millstones around their necks and be drowned in the sea than to bring harm to

   an innocent child. See Matthew 18:6; Luke 17:2 (ESV).

          94.    Plaintiffs also have sincerely held religious beliefs that their bodies are

   temples of the Holy Spirit, and that to inject medical products that have any

   connection whatsoever to aborted fetal cell lines would be defiling the temple of the

   Holy Spirit. (See 1 Corinthians 6:15–20 (ESV) (“Do you not know that your bodies are

   members of Christ? . . . Or do you not know that your body is a temple of the Holy

   Spirit within you, whom you have from God? You are not your own, for you were

   bought with a price. So glorify God in your body.”).

          95.    Plaintiffs’ religious beliefs compel them to not condone, support, justify,

   or benefit (directly or indirectly) from the taking of innocent human life via abortion,

   and that to do so is sinning against God.

          96.    Plaintiffs’ sincerely held religious beliefs preclude them from accepting

   any one of the three currently available COVID-19 vaccines derived from, produced

   or manufactured by, tested on, developed with, or otherwise connected to aborted fetal

   cell lines.

          97.    As reported by the North Dakota Department of Health, in its handout

   literature for those considering one of the COVID-19 vaccines, “[t]he non-replicating

   viral vector vaccine produced by Johnson & Johnson did require the use of fetal cell

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   cultures, specifically PER.C6, in order to produce and manufacture the vaccine.”

   See North Dakota Health, COVID-19 Vaccines & Fetal Cell Lines (Apr. 20, 2021),

   https://www.health.nd.gov/sites/www/files/documents/COVID%20Vaccine%20P

   age/COVID-19_Vaccine_Fetal_Cell_Handout.pdf.

         98.    The Louisiana Department of Health likewise confirms that the Johnson

   & Johnson COVID-19 vaccine used the PER.C6 fetal cell line, which “is a retinal cell

   line that was isolated from a terminated fetus in 1985.” La. Dep’t of Public Health,

   You Have Questions, We Have Answers: COVID-19 Vaccine FAQ (Dec. 21, 2020),

   https://ldh.la.gov/assets/oph/Center-PHCH/Center-PH/immunizations/

   You_Have_Qs_COVID-19_Vaccine_FAQ.pdf (emphasis added).

         99.    Scientists at the American Association for the Advancement of Science

   have likewise published research showing that the Johnson & Johnson vaccine used

   aborted fetal cell lines in the development and production phases of the vaccine.

   Meredith Wadman, Vaccines that use human fetal cells draw fire, Science (June 12, 2020),

   available at https://science.sciencemag.org/content/368/6496/1170.full.

         100. The same is true of the Moderna and Pfizer-BioNTech mRNA vaccines.

   The Louisiana Department of Health’s publications again confirm that aborted fetal

   cells lines were used in the “proof of concept” phase of the development of their

   mRNA vaccines. See La. Dep’t of Public Health, supra.

         101. The North Dakota Department of Health likewise confirms: “Early in

   the development of mRNA vaccine technology, fetal cells were used for ‘proof of




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   concept’ (to demonstrate how a cell could take up mRNA and produce the SARS-

   CoV-2 spike protein) or to characterize the SARS-CoV-2 spike protein.” N.D.

   Health, supra (emphasis added).

         102. The Chief Scientific Officer and Senior Director of Worldwide Research

   for Pfizer have also been reported to demonstrate that its COVID-19 vaccine is derived

   from aborted fetal cells and have made statements that they wanted to keep that

   information from the public. See PFIZER LEAKS: Whistleblower Goes On Record, Reveals

   Internal Emails from Chief Scientific Officer & Senior Director of Worldwide Research

   Discussing COVID Vaccine ... ‘We Want to Avoid Having the Information on the Fetal Cells

   Floating       Out       There’,       ProjectVeritas        (Oct.      6,       2021),

   https://www.projectveritas.com/news/pfizer-leaks-whistleblower-goes-on-record-

   reveals-internal-emails-from-chief/.

         103. Specifically, Vanessa Gelman, Pfizer Senior Director of Worldwide

   Research: “From the perspective of corporate affairs, we want to avoid having the

   information on fetal cells floating out there…The risk of communicating this right now

   outweighs any potential benefit we could see, particularly with general members of the

   public who may take this information and use it in ways we may not want out there.

   We have not received any questions from policy makers or media on this issue in the

   last few weeks, so we want to avoid raising this if possible.” Id.

         104. And, Philip Dormitzer, Pfizer’s Chief Scientific Officer is reported as

   saying that he wanted to keep the information secret because of the objections that

   pro-life individuals, such as Plaintiffs in this action, would have: “HEK293T cells,

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   used for the IVE assay, are ultimately derived from an aborted fetus. On the other

   hand, the Vatican doctrinal committee has confirmed that they consider it acceptable

   for Pro-Life believers to be immunized. Pfizer’s official statement couches the answer

   well and is what should be provided in response to an outside inquiry.” Id.

         105. Because all three of the currently available COVID-19 vaccines are

   developed and produced from, tested with, researched on, or otherwise connected with

   the aborted fetal cell lines HEK-293 and PER.C6, Plaintiffs’ sincerely held religious

   beliefs compel them to abstain from obtaining or injecting any of these products into

   their body, regardless of the perceived benefit or rationale.

         106. Plaintiffs have sincerely held religious beliefs that their bodies are temples

   of the Holy Spirit, and that to inject medical products that have any connection

   whatsoever to aborted fetal cell lines would be defiling the temple of the Holy Spirit.

         107. Plaintiffs sincerely religious beliefs that their bodies are temples of the

   Holy Spirit and that they are to glorify God with their bodies lays the foundation for

   everything they do, consume, or inject into their bodies. From this foundation they

   make studied and reasonable decisions about what is good and what is not good or

   may not be good for their bodies. To knowingly abuse their bodies by engaging in a

   dishonorable act, or consuming or injecting a substance that will or may produce

   adverse consequences, is a sin against God. Based on this foundation, Plaintiffs would

   consume pure water over a similarly clear liquid they know or reasonably conclude is

   harmful to the body. This belief and other sincerely held religious beliefs are




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   foundational to all their decisions and actions and are not limited to aborted fetal cell

   lines.

              108. Plaintiffs have sincerely held religious beliefs that the Holy Spirit—

   through prayer and the revelation of Scripture—guide them in all decisions they make

   in life.

              109. Plaintiffs have sincerely held religious beliefs that Jesus Christ came to

   this earth, died on the cross for their sins, was resurrected three days later, and that

   when He ascended to Heaven, He sent the Holy Spirit to indwell His believers and to

   guide them in all aspects of their lives. See John 16:7 (ESV) (“Nevertheless, I tell you

   the truth: it is to your advantage that I go away, for if I do not go away, the Helper

   will not come to you. But if I go, I will send him to you.”); John 14:26 (ESV) (“But the

   Helper, the Holy Spirit, whom the Father will send in my name, he will teach you all

   things and bring to your remembrance all that I have said to you.”).

              110. Plaintiffs have sincerely held religious beliefs that the Holy Spirit was

   given to them by God to reprove them of righteousness and sin and to guide them into

   all truth. See John 16:8–13 (ESV) (“And when he comes, he will convict the world

   concerning sin and righteousness and judgment . . . . When the Spirit of truth comes,

   he will guide you into all the truth, for he will not speak on his own authority, but

   whatever he hears he will speak, and he will declare to you the things that are to

   come.”).

              111. Plaintiffs also have sincerely held religious beliefs that they will receive

   answers to their questions through prayer and supplication, including for decisions

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   governing their medical health. See James 1:5 (ESV) (“If any of you lacks wisdom, let

   him ask God, who gives generously to all without reproach, and it will be given him.”);

   Mark 11:24 (ESV) (“Therefore I tell you, whatever you ask in prayer, believe that you

   have received it, and it will be yours.”); Philippians 4:6–7 (ESV) (“[D]o not be anxious

   about anything, but in everything by prayer and supplication with thanksgiving let

   your requests be made known to God. And the peace of God, which surpasses all

   understanding, will guard your hearts and your minds in Christ Jesus.”); 1 John 4:14–

   15 (ESV) (“And we have seen and testify that the Father has sent his Son to be the

   Savior of the world. Whoever confesses that Jesus is the Son of God, God abides in

   him, and he in God.”).

         112. Through much prayer and reflection, Plaintiffs have sought wisdom,

   understanding, and guidance on the proper decisions to make concerning these

   COVID-19 vaccines, and Plaintiffs have been convicted by the Holy Spirit that

   accepting any of the three currently available vaccines is against the teachings of

   Scripture and would be a sin.

         113. Plaintiffs have sincerely held religious beliefs that compel them to follow

   the teachings of the Holy Spirit, who has not given them peace, comfort, or

   admonition to accept any of the three currently available COVID-19 vaccines.

         114. Plaintiffs have sincerely held religious beliefs that they are being guided

   and instructed by the Holy Spirit not to accept any of the three currently available

   COVID-19 vaccines and that it would be a sin against God to do so.




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         115. Plaintiff CAPTAIN, United States Marine Corps, is of the Islamic faith

   whose sincerely held religious beliefs that require him to abstain from participation in

   that which is haram—forbidden—including the destruction and commoditization of

   innocent human life as exemplified by the use of human fetal cell lines derived from

   abortions. CAPTAIN desires to exercise “complete reliance on God” rather than in

   what he believes to be morally-tainted COVID shots

         C.     PLAINTIFFS’ WILLINGNESS TO COMPLY WITH SAFE AND
                TESTED ALTERNATIVES TO UNIVERSAL VACCINATION AS
                ACCOMMODATION      OF   THEIR  SINCERELY   HELD
                RELIGIOUS BELIEFS.

         116. Plaintiffs have offered, and are ready, willing, and able to comply with

   all reasonable health and safety requirements to facilitate their religious exemption and

   accommodation from the Federal COVID-19 Vaccine Mandate.

         117. Plaintiffs have all informed their respective commanding officers that

   they are willing to comply with reasonable conditions that were sufficient for nearly

   two years, permitting them to fulfill their sworn duties and faithful service to their

   employers and a grateful nation, and which reasonable conditions continued from the

   FDA’s Emergency Use Authorization (EUA) of the first COVID-19 vaccine in

   December 2020, until August 24, 2021 for military servicemembers. Nothing has

   changed except for the Vaccine Mandate, and thus the past proves a good example of

   present and future reasonable accommodations.

         118. The accommodations which have been ongoing for nearly two years are

   certainly reasonable under the accumulating scientific evidence. Indeed,


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             A preliminary study has shown that in the case of a breakthrough
             infection, the Delta variant is able to grow in the noses of vaccinated
             people to the same degree as if they were not vaccinated at all. The
             virus that grows is just as infectious as that in unvaccinated people,
             meaning vaccinated people can transmit the virus and infect others.

   Sanjay Mishra, Evidence mounts that people with breakthrough infections can spread Delta

   easily,          National          Geographic          (Aug.           20,          2021),

   https://www.nationalgeographic.com/science/article/evidence-mounts-that-people-

   with-breakthrough-infections-can-spread-delta-easily (emphasis added); see also

   Statement from CDC Director Rochelle P. Walensky, MD, MPH on Today’s MMWR (July

   30, 2021), https://www.cdc.gov/media/releases/2021/s0730-mmwr-covid-19.html

   (noting “the Delta infection resulted in similarly high SARS-CoV-2 viral loads in

   vaccinated and unvaccinated people” (emphasis added).)

             119. The CDC Director also admitted that the currently available COVID-19

   vaccines do not prevent transmission. See Tim Hains, CDC Director: Vaccines No Longer

   Prevent        You      From       Spreading        COVID      (Aug.         6,     2021),

   https://www.realclearpolitics.com/video/2021/08/06/cdc_director_vaccines_no_lo

   nger_prevent_you_from_spreading_covid.html#!.

             120. Other reasonable protocols beyond the currently-available COVID

   vaccines remain sufficient to prevent the spread of COVID-19 among military

   servicemembers, and constitute a reasonable alternative to mandatory, universal

   vaccination as an accommodation of sincerely held religious beliefs.




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            121. The United States District Court for the Western District of Louisiana

   recently issued a TRO against a medical school for the school’s failure to grant

   religious exemptions when other reasonable accommodations were available and

   mandatory vaccination was not the least restrictive means of achieving the school’s

   interest in protecting the school’s student body. See Magliulo v. Edward Via College of

   Osteopathic Medicine, No. 3:21-CV-2304, 2021 WL 36799227 (W.D. La. Aug. 17,

   2021).

            122. The United States District Court for the Western District of Michigan

   issued a TRO against a university for its failure to allow students with religious

   objections to vaccination to participate in athletics and other extracurricular activities

   when other reasonable alternatives were available as a reasonable accommodation for

   their religious beliefs. See Dahl v. Bd. of Trustees of W. Mich. Univ., No. 1:21-cv-757, 2021

   WL 3891620, *2 (W.D. Mich. Aug. 31, 2021). The Sixth Circuit Court of Appeals

   affirmed that preliminary injunction in its order refusing to stay the preliminary

   injunction. See Dahl v. Bd. of Trustees of W. Mich. Univ., No. 21-2945, 2021 WL 4618519

   (6th Cir. Oct. 7, 2021).

            123. In U.S. Navy Seals v. Biden, No. 4:21-cv-1236-O, 2022 WL 34443 (N.D.

   Tex. Jan. 3, 2022), the United States District Court for the Northern District of Texas

   entered a preliminary injunction against the United States Navy’s sham process for

   requesting and receiving a religious exemption and accommodation. Indeed, the Court

   there noted that “The Navy provides a religious accommodation process, but by all




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   accounts, it is theater. The Navy has not granted a religious exemption to any vaccine

   in recent memory. It merely rubber stamps each denial.” Id. at *1 (emphasis added).

         124. In State v. Nelson, No. 8:21-cv-2524-SDM-TGW, 2021 WL 6108948, *11

   (M.D. Fla. Dec. 22, 2021) (Merryday, J.), this Court held that Defendants’ COVID-

   19 vaccine mandate on federal contractors was also unlawful and issued a preliminary

   injunction. This Court held that the mandate was issued in excess of the statutory

   jurisdiction provided to Defendants.

         125. The Sixth Circuit, too, has held that the President and the agencies to

   whom he purportedly delegated authority for the vaccine mandate on federal

   contractors lacked authority to issue a mandate on federal contractors. See Kentucky v.

   Biden, No. 21-6147, 2022 WL 43178 (6th Cir. Jan. 5, 2022). Indeed, “if the President

   can order medical interventions in the name of reducing absenteeism, what is the

   logical stopping point of that power?” Id. at *15. Defendants’ vaccine mandate on

   federal contractors “requires vaccination everywhere and all the time. It is not

   ‘anchored’ to the statutory text, not is it even ‘anchored’ to the work of federal

   contractors.” Id. (emphasis added). “We thus conclude that the federal government is

   unlikely to prevail on its argument that the Property Act authorizes imposition of the

   contractor mandate.” Id. at 16.

         126. The United States Military Health System allows three different types of

   permanent medical exemptions from compulsory immunizations: (1) “Determination

   by a medical provider that further vaccination will seriously endanger patient's



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   health;” (2) “Medical, Reactive exemption: Previously severe reaction after specific

   vaccine;” and (3) “Medical, Immune exemption: Evidence of existing immunity (e.g.,

   by serologic antibody test, documentation of previous infection or natural infection

   presumed).” See Military Health System, Immunization Exemption Guidance,

   Health.mil,                 https://www.health.mil/Military-Health-Topics/Health-

   Readiness/Immunization-Healthcare/Clinical-Consultation-Services/Exemption-

   Guidance (last visited October 14, 2021).

         127. Several Plaintiffs and countless other class members were previously

   infected with COVID-19, have serologic test results demonstrating natural antibodies

   and immunity to COVID-19, and otherwise qualify for the exemptions ostensibly

   available for servicemembers. Plaintiffs, however, have been denied the ability to even

   requests the officially available exemptions.

         D.      PLAINTIFFS’ REQUESTS FOR AN ACCOMMODATION FROM
                 THE MANDATORY COVID-19 VACCINE POLICY.

         128. On September 7, 2021, NAVY SEAL 1 submitted to the United States

   Navy a request for religious exemption from the Federal COVID-19 Vaccine Mandate

   as an accommodation of his sincerely held beliefs. NAVY SEAL 1 articulated to his

   command that he has and exercises sincerely held religious beliefs that compel him to

   abstain from receiving any of the currently available COVID-19 vaccines. NAVY

   SEAL 1 met with his unit’s Chaplain, who reviewed his request for a religious

   exemption and accommodation and found that NAVY SEAL 1’s request was sincere.

   NAVY SEAL 1’s Chaplain forwarded NAVY SEAL 1’s request to the command.



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   NAVY SEAL 1 was relieved of his key operational leadership duties on the day he

   submitted his request for religious exemption and accommodation on Sept 7, 2021.

   The Navy denied the request on November 17, 2021. NAVY SEAL 1 faces potential

   court martial, dishonorable discharge, and other life-altering disciplinary measures for

   exercising and seeking accommodation of his sincerely held religious beliefs against

   COVID-19 vaccination.

         129. On September 14, 2021, NAVY SEAL 2 submitted to the United States

   Navy a request for religious exemption from the Federal COVID-19 Vaccine Mandate

   as an accommodation of his sincerely held beliefs. NAVY SEAL 2’s request for a

   religious exemption and accommodation detailed NAVY SEAL 2’s religious beliefs

   and practices that compel him to abstain from receiving any of the currently available

   COVID-19 vaccines. NAVY SEAL 2’s request for a religious accommodation was

   supported by a letter from a religious leader, which demonstrated the sincerity of

   NAVY SEAL 2’s personal beliefs. NAVY SEAL 2‘s commander noted that NAVY

   SEAL 2’s religious beliefs were sincere and strongly held, but recommended that his

   request be disapproved, citing readiness, despite NAVY SEAL 2’s working in a non-

   deployable staff position and receiving natural immunity after a Spring 2020 SARS-

   CoV-2 infection and recovery. NAVY SEAL 2’s request for an accommodation has

   been forwarded to the officers responsible for making the final determination, but he

   has been informed that his request will not be approved because of his direct

   commander’s recommendation of denial. NAVY SEAL 2 faces potential court

   martial, General discharge, promotion suspension, Warfare pin (“Trident”) removal,

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   and other life-altering disciplinary and financial measures for exercising and seeking

   accommodation of his sincerely held religious beliefs against COVID-19 vaccination.

         130. NAVY SENIOR CHIEF PETTY OFFICER has submitted a religious

   exemption request to the COVID-19 vaccine, on the basis of the leading of the Holy

   Spirit, and his Christian religious beliefs, including beliefs that the body is the temple

   of the Holy Spirit, and the COVID-19 vaccine’s close connection to abortion. His

   request has not been granted, and he has been subject to coercion and shaming for

   requesting an exemption for his religious beliefs. As of February 7, 2022, the Navy has

   had 76 days to act upon NAVY SENIOR CHIEF PETTY OFFICER’s religious

   exemption request, but has not. Conversely, the Navy has approved a temporary

   medical waiver for him through Fall 2022, and has not removed him from leadership

   or other responsibilities as a result of being unvaccinated under a medical waiver.

         131. NAVY CHAPLAIN submitted a request for a religious exemption based

   upon his sincerely held religious beliefs that accepting any of the approved COVID

   vaccines would be an act of irreverence toward God and would be an attempt to alter

   the embodied image of God within individuals, and therefore a sin contrary to historic

   Judeo-Christian tradition and his Christian faith. His request was given a negative

   recommendation from his commander, and he has not been approved for a religious

   exemption.

         132. On September 15, 2021, NAVY EOD OFFICER submitted to the United

   States Navy a request for religious exemption from the Federal COVID-19 Vaccine

   Mandate as an accommodation of his sincerely held beliefs. NAVY EOD OFFICER

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   articulated to his command that he has and exercises sincerely held religious beliefs

   that compel him to abstain from receiving any of the currently available COVID-19

   vaccines. NAVY EOD OFFICER’s request for a religious exemption and

   accommodation was denied. He timely appealed the denial on December 8, 2021.

   Upon denial of his appeal, NAVY EOD OFFICER faces potential court martial,

   dishonorable discharge, and other life-altering disciplinary measures for exercising and

   seeking accommodation of his sincerely held religious beliefs against COVID-19

   vaccination.

         133. NAVY COMMANDER SURFACE WARFARE OFFICER submitted

   a request for a religious exemption and accommodation on September 13, 2021 and

   received his initial denial on October 26. The Navy denied COMMANDER

   SURFACE WARFARE OFFICER’s appeal seeking a religious exemption on

   January 28, 2022, and ordered him to begin a vaccination series within 5 days (by

   February 2), or else report to a Navy immunization clinic for vaccination on February

   3, and further ordered to meet with his squadron commander the evening of 3

   February 2022. But for the Court’s temporary restraining order of February 2, 2022

   (Doc. 67), he fully expected to have been relieved as commander of his ship, due to a

   “loss of confidence” in his ability to lead, simply because he has remained true to his

   faith. COMMANDER SURFACE WARFARE OFFICER has no further rights of

   appeal.

         134. On October 2, 2021, NAVY CHIEF WARRANT OFFICER submitted

   to his Naval command a request for religious exemption from the Federal COVID-19

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   Vaccine Mandate as an accommodation of his sincerely held beliefs. NAVY CHIEF

   WARRANT OFFICER’s request for a religious accommodation and exemption

   outlined his sincerely held religious objections to receiving any of the COVID-19

   vaccines because of their connections to aborted fetal cell lines. NAVY CHIEF

   WARRANT OFFICER’s request was supported by a Chaplain’s and supervisor’s

   recommendations. The Navy denied NAVY CHIEF WARRANT OFFICER’s

   request on December 12, 2021, and he filed an appeal on December 21, 2021.

   Meanwhile, NAVY CHIEF WARRANT OFFICER’s active duty orders expired,

   returning him to reserve status, and he was advised by his command that he cannot be

   given further active duty orders, though otherwise qualified, due to his pending

   religious   accommodation     request.   Although     NAVY      CHIEF     WARRANT

   OFFICER’s federal contractor employer ostensibly granted the religious exemption

   request he submitted to the employer, he was on an extended leave of absence from

   the employer due to his recent Naval active duty orders, and the employer did not offer

   NAVY CHIEF WARRANT OFFICER a return to employment, leaving NAVY

   CHIEF WARRANT OFFICER with only his intermittent (one weekend per month)

   Navy Reserve employment. NAVY CHIEF WARRANT OFFICER faces potential

   court martial, dishonorable discharge, and other life-altering disciplinary measures for

   exercising and seeking accommodation of his sincerely held religious beliefs against

   COVID-19 vaccination.

         135. USMC COLONEL FINANCIAL MANAGEMENT OFFICER has

   submitted a request for a religious exemption on August 23, 2021 to exempt him from

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   the COVID shot directive. His request was denied on September 22. On October 1, he

   requested a ten (10) business day extension to file his appeal, and was permitted to

   submit his appeal to the Commandant of the Marine Corps on October 21. He received

   a final denial of his appeal from the Assistant Commandant of the Marine Corps

   (ACMC) on December 14, and an order on February 7, 2022 to get the COVID

   vaccine by February 11, 2022, after which the Marine Corps will place him on the

   Officer Disciplinary Notebook and initiate separation process.

         136. On November 24, 2021, USMC LIEUTENANT COLONEL 1

   submitted to the United States Marine Corps a request for religious exemption from

   the Federal COVID-19 Vaccine Mandate as an accommodation of his sincerely held

   beliefs. LIEUTENANT COLONEL 1 articulated to his command that he has and

   exercises sincerely held religious beliefs that compel him to abstain from receiving any

   of the currently available COVID-19 vaccines. LIEUTENANT COLONEL 1 met

   with his unit’s Chaplain, who reviewed his request for a religious exemption and

   accommodation and found that LIEUTENANT COLONEL’s request was made from

   a position of “absolute sincerity.” On December 22, 2021, the Marine Corps denied

   LIEUTENANT COLONEL 1’s religious exemption request by typical form letter. He

   timely appealed the denial on January 12, 2022. Prior to his timely appeal, however,

   on January 4, 2022, the Marine Corps removed LIEUTENANT COLONEL 1 him

   from his position as Executive Officer of his squadron. Upon denial of his appeal,

   LIEUTENANT COLONEL 1 faces potential court martial, dishonorable discharge,




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   and other life-altering disciplinary measures for merely requesting an accommodation

   for his sincerely held religious beliefs.

          137. USMC LIEUTENANT COLONEL 2 submitted to the United States

   Marine Corps a request for religious exemption from the Federal COVID-19 Vaccine

   Mandate as an accommodation of her sincerely held beliefs. LIEUTENANT

   COLONEL 2 articulated to her command that she has and exercises sincerely held

   religious beliefs that compel her to abstain from receiving any of the currently available

   COVID-19 vaccines. LIEUTENANT COLONEL 2’s religious accommodation

   request has been denied, and she timely appealed. The Marine Corps denied

   LIEUTENANT COLONEL 2’s appeal seeking a religious exemption on January 26,

   2022 and ordered her to begin a vaccination series within 5 business days (by February

   2). But for the Court’s temporary restraining order of February 2, 2022 (Doc. 67), she

   would have been added to the Officer Disciplinary Notebook as of that date, and her

   command selection would have been withdrawn, irreparably damaging her career and

   leading to involuntary separation.

          138. USMC RESERVE LIEUTENANT COLONEL submitted a request for

   religious exemption and received her initial denial of October 1, 2021. She timely

   submitted an appeal, and received a final appeal denial on December 10. The Marine

   Corps on December 23, 2021, offered RESERVE LIEUTENANT COLONEL the

   “choice” of “voluntarily” dropping to “Inactive Ready Reserve” status, or facing

   administrative separation. Now, she is not able to work for the Marine Corps, losing

   income and service years toward retirement, because she cannot take vaccine in direct

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   contradiction to her sincerely held religious beliefs and was trying to avoid defying a

   direct order.

         139. USMC MAJOR submitted a religious exemption request, and the

   Marine Corps denied it on October 26, 2021. USMC MAJOR timely appealed the

   denial on November 10, 2021. Upon denial of his appeal, which could come at any

   time, the Marine Corps will begin the separation process.

         140. USMC CAPTAIN submitted a request for a religious exemption because

   of his Islamic religious beliefs that require him to abstain from participation in that

   which is haram—forbidden—including the destruction and commoditization of

   innocent human life as exemplified by the use of human fetal cell lines derived from

   abortions. CAPTAIN desires to exercise “complete reliance on God” rather than in

   what he believes to be morally-tainted COVID shots. The Marine Corps denied

   CAPTAIN’s religious accommodation request on October 27, 2021, which denial he

   timely appealed on November 11, 2021. Upon denial of his appeal, the Marine Corps

   will begin the separation process.

         141. USMC CAPTAIN 2 submitted a request for a religious exemption on

   September 15, 2021. When he received an initial denial on September 30, he timely

   appealed on October 7. The denial did not address his specific request. He found out

   later that other Marines had received the same exact rubber stamp denial letter in

   response to their RAs. To date, no RA within CAPTAIN 2’s personal knowledge has

   been approved. He learned that the Religious Accommodation Review Board

   unanimously voted that he was sincere in his faith, but the Board still denied

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   CAPTAIN 2’s request. After he submitted his appeal, he received a final denial on

   December 7, and consequences have begun to flow. On December 13, 2021, Brigadier

   General Field, Commanding General of Education Command, ordered CAPTAIN 2

   to take the vaccine within 10 days or face an administrative separation. CAPTAIN 2

   had to sign an acknowledgement of the order. Because of his faith in Jesus, CAPTAIN

   2 was unable to get the vaccine, and the Marine Corps considers him in violation of

   the order. On February 2, 2022, the Marine Corps charged CAPTAIN 2 with an

   Article 92 UCMJ violation, starting the administrative process to separate CAPTAIN

   2 from the Marine Corps, which is currently proceeding as fast as the Marine Corps

   can prosecute it.

         142. USMC CAPTAIN 3 submitted a Religious Accommodation (RA)

   waiver request on September 10, 2021. The Deputy Commandant for Manpower and

   Reserve Affairs denied the RA on October 1, and his final appeal of his denial was

   issued on December 7. On December 13, 2021, Brigadier General Field, Commanding

   General of Education Command, ordered CAPTAIN 3 to take the vaccine within 10

   days or face an administrative separation. CAPTAIN 3 had to sign an

   acknowledgement of the order. Because of his faith, CAPTAIN 3 was unable to get

   the vaccine, and the Marine Corps considers him in violation of the order. On January

   14, 2022, the Marine Corps charged CAPTAIN 3 with an Article 92 UCMJ violation,

   starting the administrative process to separate CAPTAIN 3 from the Marine Corps,

   which is currently proceeding as fast as the Marine Corps can prosecute it.




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         143. USMC FIRST LIEUTENANT received an initial denial of his Religious

   Accommodation (RA) request on September 30, 2021, and timely appealed on

   October 7. The denial did not address his specific request, and he found out later that

   other Marine had received the same exact rubber stamp denial letter in response to

   their RAs. To this date, no RA within his personal knowledge has been approved in

   the USMC. He has since found out that the Religious Accommodation Review Board

   unanimously voted that he was sincere in his faith, but the Board still denied his

   request for accommodation. FIRST LIEUTENANT received a final denial of his RA

   request on December 27, 2021, and consequences have already occurred. He received

   the order to get the COVID shots on December 28, stating that if he did not comply

   within 2 calendar days, he would be subjected to discipline, and the process will begin

   to kick him out of the Marine Corps. On December 30, 2021 FIRST LIEUTENANT

   was required to sign a Form 3005 written counseling, stating he was in violation of

   Article 92—failure to obey a lawful order—by not receiving the COVID shot. There

   was no mention of his RA request or appeal on this form, which will go into his

   personnel file. He received another Form 3005 written counseling on January 5, 2022,

   relieving FIRST LIEUTENANT of his duties for cause, and he was entered into the

   Officer Disciplinary Notebook. He attended a “Transition Readiness Seminar” initial

   counseling on January 10, 2022 and a pre-separation brief the following day to

   schedule the week-long seminar starting on February 28. FIRST LIEUTENANT

   completed his final physical paperwork on the afternoon of February 7 to fulfill the

   requirements for routing his package up to I Marine Expeditionary Force for

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   processing of his administrative separation, which will occur immediately after the

   final physical paperwork is turned into his command. Following that, the only

   remaining step prior to FIRST LIEUTENANT’s separation from the Marine Corps

   will be completion of the Transition Readiness Seminar on March 4.

          144. USMC SECOND LIEUTENANT submitted a request for a religious

   exemption from the COVID shot mandate, on multiple grounds, including his

   sincerely-held religious belief “that, first and foremost, a Christian's body is the Temple

   of the Holy Spirit and should be protected from deliberate or reckless injury or

   violation,” and second, that “deceit pursuant to personnel compliance and/or

   financial gain, is morally objectionable before God.” Upon submitting his religious

   exemption request, he was immediately removed from his training company, and

   placed in Mike Company, a non-training company reserved for 2nd Lieutenants who

   are either injured and unable to complete training, or are pending punitive legal action,

   while his religious accommodation request is routed up his Chain of Command for a

   final decision from the Deputy Commandant of the Marine Corps. SECOND

   LIEUTENANT should have been kept in his training company while his request was

   pending, as he has not violated any DoD or Marine Corps orders in doing so, and is

   administratively exempt from all pertinent orders for the duration of time awaiting a

   final decision. As of January 20, 2022, SECOND LIEUTENANT remains out of the

   training cycle because of his fidelity to his religious beliefs, despite the outstanding

   personal and professional reviews from his command, and has continued, daily full




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   contact responsibilities in the support program for the same training cycle from which

   he was removed.

          145. USMC CHIEF WARRANT OFFICER 3 submitted his request for a

   religious exemption on August 17, 2021, which was denied on September 22. He

   timely appealed on October 2, 2021, and his appeal received its final denial on

   November 24. CHIEF WARRANT OFFICER 3 has been given a January 7, 2022

   deadline for being fully vaccinated, despite his religious beliefs. Now, nothing stands

   between him and immediate punitive consequences, except the Court's intervention.

          146. On September 9, 2016, USMC LANCE CORPORAL 1 submitted to the

   United States Marine Corps a request for religious exemption from the Federal

   COVID-19 Vaccine Mandate as an accommodation of his sincerely held beliefs.

   LANCE CORPORAL articulated to his command that he has and exercises sincerely

   held religious beliefs that compel him to abstain from receiving any of the currently

   available COVID-19 vaccines. The Marine Corps denied the request on November 9,

   2021, and LANCE CORPORAL 1 timely appealed the denial. Upon denial of his

   appeal, LANCE CORPORAL 1 faces potential court martial, dishonorable discharge,

   and other life-altering disciplinary measures for merely requesting an accommodation

   of his sincerely held religious beliefs.

          147. USMC LANCE CORPORAL 2’s request for a religious exemption was

   denied on December 7, 2021, and he appealed the denial on December 18. On or about

   December 21, LANCE CORPORAL 2 received a phone call from a mental health

   counselor. The counselor called him to check on his mental health in the wake of the

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   suicide of LANCE CORPORAL 2’s platoon mate, because the platoon mate was

   “being Administratively Separated for refusing the COVID vaccine.” LANCE

   CORPORAL 2 expects his appeal and his RA to be denied and remains resolute in his

   trust in God, but is deeply grieved over the suicide of his friend.

         148. AIR      FORCE        CHAPLAIN       submitted    a   request    for   religious

   accommodation on September 17, 2021 outlining his religious objections to

   mandatory COVID-19 vaccination. After his RAR was denied, CHAPLAIN timely

   submitted an 18-page appeal on November 16, expounding further on his religious

   convictions, which flow out of a Christian worldview developed over forty years. Since

   1980 he has been in church virtually weekly. He completed 21 years of Christian

   education at the elementary, secondary, collegiate, masters and doctoral levels and has

   been in professional religious work for the past 23 years, including 14 years as a USAF

   chaplain. CHAPLAIN received notice of the final denial of his RAR on December 3,

   2021 and was ordered to provide proof of receiving a COVID shot by December 13.

   On   December      15,   2021,   CHAPLAIN        received   a    Letter    of   Counseling

   (LOC) for Failure to Obey Order to Receive COVID-19 Vaccine, which was sustained on

   January 4, 2022. On January 12, 2022, CHAPLAIN received a Letter of Reprimand

   (LOR) for the same. The LOR was sustained on January 24, 2022, and placed in an

   Unfavorable Information File (UIF), erasing CHAPLAIN’s 14 years of honorable and

   outstanding service and effectively ending his career by eliminating any possibility of

   promotion, and setting him up for discharge.




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         149. AIR FORCE RESERVE LIEUTENANT COLONEL 1 submitted a

   request for religious exemption on October 3, 2021 and received the initial denial of

   her request on October 27. She timely submitted an appeal, and received a final denial

   on December 7, 2021, which ordered her to (a) take the vaccine, (b) submit retirement

   request if eligible or (c) refuse vaccine in writing within 3 days of receiving the denial.

   The denial memo went on to say that refusal of the vaccine would result in termination

   by removal from Ready Reserve service. On January 6, 2022, RESERVE

   LIEUTENANT COLONEL 1 received a Letter of Reprimand and notice that her

   commanding general has initiated the process to involuntarily transfer her to the

   Inactive Ready Reserve, depriving the taxpayers of her service to her Country, and

   depriving her of a living. RESERVE LIEUTENANT COLONEL 1 now faces

   immediate and irreparable consequences of having to choose between accepting the

   vaccine in violation of her religious beliefs or violating a direct order and being

   separated.

         150. AIR FORCE RESERVE LIEUTENANT COLONEL 2 submitted his

   Religious Accommodation Request (RAR) on October 7, 2021. (E-mails from a

   higher-level Air Force Reserve General demanded that all RARs be turned in by

   October 15, 2021—13 days prior to the October 28 deadline in the written order to

   receive the vaccine). RESERVE LIEUTENANT COLONEL 2’s General non-

   recommended the RAR, falsely stating he had received RESERVE LIEUTENANT

   COLONEL 2’s “division chief’s counseling and endorsement” to non-recommend the

   RAR. After receiving the initial denial of his RAR on October 28, 2021, RESERVE

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   LIEUTENANT COLONEL 2 timely appealed the denial, noting the many

   inconsistencies and false statements in his commander’s non-recommendation of the

   initial RAR and in the denial. RESERVE LIEUTENANT COLONEL 2 received a

   final denial on December 9, 2021, which ordered him to provide proof of receiving the

   first COVID shot by December 14. RESERVE LIEUTENANT COLONEL 2’s faith

   prohibited him from getting a COVID shot. The Air Force issued RESERVE

   LIEUTENANT COLONEL 2 a Letter of Reprimand (LOR) dated February 3, 2022,

   for failure to obey a lawful order, and he is expecting at any time a notice of his

   commander’s intent to transfer him to the Inactive Ready Reserve as a result. If

   RESERVE LIEUTENANT COLONEL 2 is administratively separated, he will lose

   not only his military position, but will also lose his civilian technician job because it is

   dependent upon him retaining military employment. As of January 20, 2022, there are

   a number of “fully-vaccinated” coworkers who are out sick with COVID-19 or

   teleworking. RESERVE LIEUTENANT COLONEL 2 is one of few workers

   continuing in-person work at this time, despite being unvaccinated, and he remains

   healthy in part due to his naturally-acquired COVID immunity.

          151. AIR FORCE MSgt SERE SPECIALIST submitted a Religious

   Accommodation (RA) request which was processed by the Air Force. He received a

   final denial of his RA on December 27, 2021 and was notified that his options were to

   comply or “voluntarily separate.” As of January 3, 2022, AIR FORCE MSgt SERE

   SPECIALIST became subject to discipline and the process began to remove him from

   the Air Force. He consulted with the Area Defense Council (ADC), and was informed

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   that as a Senior NCO, the Air Force would make an example of him. It was explained

   that he will face demotion, court martial with possible felony conviction, and

   involuntary separation. On January 7, 2022, the Air Force removed MSgt SERE

   SPECIALIST from his leadership position. On January 24, 2022, the Air Force issued

   MSgt SERE SPECIALIST a Letter of Reprimand (LOR) for failure to obey a lawful

   order.

            152. AIR FORCE TECHNICAL SERGEANT submitted a request for a

   religious accommodation and exemption from the United States Air Force articulating

   her sincerely held religious objections to receiving one of the COVID-19 vaccines, and

   the Air Force has denied the request. TECHNICAL SERGEANT was under a

   temporary medical exemption due to being pregnant, which expired as of January 15,

   2022. TECHNICAL SERGEANT has been informed that when she returns from

   maternity leave she will face court martial, dishonorable discharge, and other

   disciplinary measures if she does not accept the COVID-19 vaccine.

            153. AIR FORCE CADET submitted a religious accommodation request

   (RAR) for exemption from the vaccine mandate because receiving any of the available

   COVID-19 vaccines would violate CADET’s sincerely held religious beliefs. The

   USAFA Commander formally denied CADET’S RAR by Memorandum dated

   December 22, 2021. As a result of the denial, AIR FORCE CADET faces imminent

   dismissal from the USAF Academy.

            154. On September 28, 2021, ARMY COLONEL submitted to the United

   States Army a request for religious exemption from the Federal COVID-19 Vaccine

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   Mandate as an accommodation of his sincerely held beliefs. COLONEL articulated to

   his command that he has and exercises sincerely held religious beliefs that compel him

   to abstain from receiving any of the currently available COVID-19 vaccines.

   COLONEL met with his unit’s Chaplain, who reviewed his request for a religious

   exemption and accommodation and found that COLONEL’s request was sincere.

   COLONEL’s request for a religious exemption and accommodation has not been

   approved, and he faces potential court martial, dishonorable discharge, and other life-

   altering disciplinary measures for exercising and seeking accommodation of his

   sincerely held religious beliefs against COVID-19 vaccination.

         155. On September 16, 2021, ARMY RANGER submitted to the United

   States Army a request for religious exemption from the Federal COVID-19 Vaccine

   Mandate as an accommodation of his sincerely held beliefs. ARMY RANGER

   articulated to his command that he has and exercises sincerely held religious beliefs

   that compel him to abstain from receiving any of the currently available COVID-19

   vaccines. ARMY RANGER met with his unit’s Chaplain, who reviewed his request

   for a religious exemption and accommodation and who found that ARMY

   RANGER’s request was sincere. ARMY RANGER also submitted a pastor’s

   verification letter with his request. ARMY RANGER’s request for a religious

   exemption and accommodation has not been approved, and he faces potential court

   martial, dishonorable discharge, and other life-altering disciplinary measures for

   exercising and seeking accommodation of his sincerely held religious beliefs against

   COVID-19 vaccination. Since December 13, 2021, ARMY RANGER has been

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   subjected to weekly COVID-19 testing for being an unvaccinated service member

   within his unit.

         156. On October 4, 2021, NATIONAL GUARDSMAN submitted to the

   Virginia Army National Guard a request for religious exemption from the Federal

   COVID-19 Vaccine Mandate as an accommodation of his sincerely held beliefs.

   NATIONAL GUARDSMAN articulated to his command that he has and exercises

   sincerely held religious beliefs that compel him to abstain from receiving any of the

   currently available COVID-19 vaccines. NATIONAL GUARDSMAN’s request for a

   religious exemption and accommodation has not been approved, and he has already

   been removed from his scheduled deployment because of his request. NATIONAL

   GUARDSMAN additionally faces potential court martial, dishonorable discharge,

   and   other   life-altering   disciplinary   measures   for   exercising   and   seeking

   accommodation of his sincerely held religious beliefs against COVID-19 vaccination.

   NATIONAL GUARDSMAN has also been removed from his scheduled deployment

   because of his request for an accommodation and exemption.

         157. On September 27, 2021, COAST GUARD PILOT submitted a religious

   accommodation request (RAR) on the grounds that there are fetal cell lines used in the

   production and/or testing of all the currently available vaccines which is contrary to

   his understanding of the sanctity of human life, and that the status of his body as a

   temple of the Holy Spirit makes it a sin to accept medicines or treatments with

   unknown long term effects and numerous adverse events documented in only the first

   12 months of use. After submitting his RAR, Pilot experienced retaliation and

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   discrimination from his command in the form of restriction to a 50 mile radius from

   his home and duty station because he had merely submitted an RAR.

         158. COAST         GUARD       LCDR       PILOT     submitted     a    Religious

   Accommodation Request (RAR) on September 24, 2021, based on his Roman

   Catholic Christian faith and absolute opposition to abortion, under which he cannot

   accept a vaccine that has been manufactured, or whose efficacy has been tested and

   proved, using aborted fetal cells. The Coast Guard denied LCDR PILOT’s RAR on

   January 20, 2022. LCDR PILOT submitted an appeal from the denial on February

   2, 2022.

         159. COAST GUARD LIEUTENANT submitted a request for a religious

   accommodation and exemption from the United States Coast Guard outlining her

   sincerely held religious objections to receiving one of the COVID-19 vaccines, which

   has not been granted. While breastfeeding her child born earlier this year, she is

   currently under a temporary medical exemption to allow testing for allergies to vaccine

   components, but military medical providers have refused to conduct any testing. In

   any event, LIEUTENANT has been informed that should her medical exemption

   expire or be revoked, she may face dishonorable discharge, loss of benefits, and other

   disciplinary measures if she does not accept the COVID-19 vaccine.

         160. While many Plaintiffs’ and class members’ religious exemption requests

   have already been denied, the still pending requests have been effectively denied, as

   Plaintiffs and class members with pending requests have been threatened with



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   dishonorable discharge, court martial, termination, or other life-altering disciplinary

   measures for merely seeking accommodation of their sincerely held religious beliefs,

   and some of these Plaintiffs have been informed by their superiors that no religious

   exemption or accommodation will be given so there is no point in even making a

   request.

         161. For example, on October 14, 2021, Vice Admiral William Galinis,

   Commander, Naval Sea Systems Command (NAVSEA), sent a warning to his entire

   command, comprising more than 85,000 civilian and military personnel: “The

   Executive Order mandating vaccinations for all federal employees has provided clear

   direction. We are moving quickly toward a workforce where vaccinations are a

   condition of employment. Frankly, if you are not vaccinated, you will not work for

   the U.S. Navy.”

         E.     THE ONLY COVID-19 VACCINES AVAILABLE IN THE UNITED
                STATES ARE ADMINISTERED UNDER EMERGENCY USE
                AUTHORIZATION BECAUSE THERE IS NO FDA APPROVED
                COVID-19 VACCINE CURRENTLY AVAILABLE IN THE
                UNITED STATES.

         162. Despite the misreporting, there is no COVID-19 vaccine available in the

   United States that has received full FDA licensing and approval.

         163. On August 23, 2021, the United States Food and Drug Administration

   issued two separate letters pertaining to two separate COVID-19 vaccines. See Letter,

   United States Food and Drug Administration to BioNTech Manufacturing GmbH

   (Aug. 23, 2021), https://www.fda.gov/media/151710/download (“BioNTech



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   Letter”); Letter, United States Food and Drug Administration to Pfizer, Inc. (Aug. 23,

   2021), https://www.fda.gov/media/150386/download (“Pfizer Letter”). (A true and

   correct copy of the BioNTech Letter is attached hereto as EXHIBIT E and

   incorporated herein. A true and correct copy of the Pfizer Letter is attached hereto as

   EXHIBIT F and incorporated herein.)

          164. In the Pfizer Letter, the FDA confirms that, on December 11, 2020, it

   granted Emergency Use Authorization (EUA) for the Pfizer-BioNTech COVID-19

   Vaccine. (Pfizer Letter at 1.) It also notes that the EUA was continued on December

   23, 2020, February 25, 2020, May 10, 2021, June 25, 2021, and August 12, 2021.

   (Pfizer Letter at 1-2.)

          165. The Pfizer Letter also makes clear that there are scientific,

   manufacturing, and legal differences between the Pfizer-BioNTech COVID-19

   Vaccine and the newly approved BioNTech COMIRNATY, COVID-19 Vaccine,

   mRNA. (Pfizer Letter at 2 n.9, 3 n.10.)

          166. Specifically, the FDA stated that although COMIRNATY was granted

   full approval by the FDA, the Pfizer-BioNTech COVID-19 Vaccine was still only

   authorized under the EUA. (Pfizer Letter at 2 n.9 (“In the August 23, 2021 revision,

   FDA clarified that, subsequent to the FDA approval of COMIRNATY (COVID-19

   Vaccine, mRNA) for the prevention of COVID-19 for individuals 16 years of age and

   older, this EUA would remain in place for the Pfizer-BioNTech COVID-19 vaccine

   for the previously-authorized indication and uses. It also authorized COMIRNATY




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   (COVID-19 Vaccine, mRNA) under this EUA for certain uses that are not included in

   the approved biologics license application (BLA).” (emphasis added).

         167. All existing vials of the Pfizer-BioNTech COVID-19 Vaccine remain

   available only under the authorization of the EUA. (Pfizer Letter at 2 n.9.)

         168. On information and belief, the existing vials of Pfizer-BioNTech

   COVID-19 Vaccine in the United States number in the millions, and that all of these

   EUA vaccine doses will be administered before any does of the fully approved

   COMIRNATY, meaning the fully approved COMIRNATY will not be available for

   administration in the United States in the near future.

         169. There are currently no available doses of COMIRNATY in the United

   States, and COMIRNATY is not being manufactured for production or distribution

   in the United States at this time.

         170. In fact, the FDA Pfizer Letter plainly states that COMIRNATY is not

   available in the United States: “Although COMIRNATY (COVID-19 Vaccine,

   mRNA) is approved to prevent COVID-19 in individuals 16 years of age and older,

   there is no sufficient approved vaccine for distribution to the population.” (Pfizer

   Letter at 6 n.12 (emphasis added).)

         171. Thus, the FDA has admitted and acknowledged that COMIRNATY is

   not available for the population in the United States, and thus extended the EUA for

   the Pfizer-BioNTech Covid-19 Vaccine. (Id.)




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         172. Indeed, in order for the FDA to have extended the EUA for the Pfizer-

   BioNTech Covid-19 Vaccine, it was required to find that there were no alternatives

   available for the Pfizer-BioNTech Vaccine. (See Pfizer Letter at 6 (“There is no

   adequate, approved, and available alternative to the Pfizer-BioNTech COVID-19

   Vaccine to prevent COVID-19.” (emphasis added).)

         173. Moreover, though Secretary Austin stated that the Federal COVID-19

   Vaccine Mandate “will only use COVID-19 vaccines that receive full licensure from

   the Food and Drug Administration (FDA), in accordance with FDA-approved

   labeling and guidance,” (Ex. D at 1), additional military documents reveal that the

   Department of Defense is not following its own directive and is, instead, using EUA

   vaccines because there is no FDA approved vaccine available. In a Memorandum for

   Assistant Secretary of the Army (Manpower and Reserve Affairs), Assistant Secretary

   of the Navy (Manpower and Reserve Affairs), Assistant Secretary of the Air Force

   (Manpower and Reserve Affairs), and the Director of the Defense Health Agency,

   Terry Adirim, Acting Assistant Secretary of Defense for Health Affairs, admitted that

   the Department of Defense was not administering a fully licensed and approved

   vaccine to the heroes in the United States Armed Forces, but was instead skirting

   federal law by mandating an EUA vaccine instead. (A true and correct copy of Acting

   Assistant Secretary Adirim’s Memorandum is attached hereto as EXHIBIT G and

   incorporated herein.)




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         174. Specifically, the Memorandum stated that Department of Defense health

   care providers “should use doses distributed under the EUA to administer the

   vaccination series as if the doses were the licensed vaccine.” (Ex. G at 1 (emphasis

   added).)

         175. Thus, the only currently available COVID-19 vaccines are authorized

   under EUA only, and therefore cannot be mandated by Secretary Austin. (See infra

   Count I.)

         176. The Federal Food, Drug, And Cosmetic Act provides that

         subject to the provisions of this section, the Secretary (of the
         Department of Health and Human Services) may authorize the
         introduction into interstate commerce, during the effective period of a
         declaration under subsection (b), of a drug, device, or biological product
         intended for use in an actual or potential emergency (referred to in this
         section as an “emergency use.”

   21 U.S.C. § 360bbb-3(a)(1) (emphasis added) [hereinafter EUA Statute].

         177. As an essential part of the explicit statutory conditions for EUA, the

   EUA Statute mandates that all individuals to whom the EUA product may be

   administered be given the option to accept or refuse administration of the product:

         With respect to the emergency use of an unapproved product, the
         Secretary, to the extent practicable given the applicable circumstances
         described in subsection (b)(1), shall, for a person who carries out any
         activity for which the authorization is issued, establish such conditions
         on an authorization under this section as the Secretary finds necessary or
         appropriate to protect the public health, including the following:

               ....

               (ii) Appropriate conditions designed to ensure that individuals to
               whom the product is administered are informed—


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                (I) that the Secretary has authorized the emergency use of the
                product;

                (II) of the significant known and potential benefits and risks of
                such use, and of the extent to which such benefits and risks are
                unknown; and

                (III) of the option to accept or refuse administration of the
                product, of the consequences, if any, of refusing administration of
                the product, and of the alternatives to the product that are available
                and of their benefits and risks.

   21 U.S.C. § 360bbb-3(e)(1)(A)(ii)(I)–(III) (emphasis added).

         178. The statutorily required Fact Sheets for each of the EUA COVID-19

   vaccines acknowledge that individuals cannot be compelled to accept or receive the

   vaccine. See, e.g., Pfizer-BioNTech, Fact Sheet for Recipients and Caregivers (June 25,

   2021), https://www.fda.gov/media/144414/download (“It is your choice to receive

   or not to receive the Pfizer-BioNTech COVID-19 Vaccine. Should you decide not

   to receive it, it will not change your standard medical care.” (emphasis added)).

         179. Because all COVID-19 vaccines available in the United States are subject

   to the EUA Statute restrictions and limitations, all individuals—including military

   servicemembers, federal employees, and federal civilian contractors—have the

   explicit right under the EUA Statute to accept or refuse administration of the products.

         F.     IRREPARABLE HARM TO PLAINTIFFS.

         180. Because of Defendants’ refusal to grant Plaintiffs merited religious

   exemptions from the Federal COVID-19 Vaccine Mandate, Plaintiff servicemembers

   face the unconscionable choice of violating their sincerely held religious beliefs or


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   facing court martial and dishonorable discharge from their faithful service to the

   Nation.

          181. As a result of the Federal COVID-19 Vaccine Mandate, Plaintiffs have

   suffered and are suffering irreparable injury by being prohibited from engaging in their

   constitutionally and statutorily protected rights to the free exercise of their sincerely

   held religious beliefs.

          182. As a result of the Federal COVID-19 Vaccine Mandate, Plaintiffs have

   suffered and are suffering irreparable injury by being forced to choose between

   maintaining the ability to feed their families and the free exercise of their sincerely held

   religious beliefs.

          183. As a result of the Federal COVID-19 Vaccine Mandate, Plaintiffs have

   suffered and are suffering irreparable injury by being stripped of their rights to equal

   protection of the law and being subjected to disfavored class status in the United States

   Armed Forces.

          184. Servicemember Plaintiffs also face the prospect of irreparable medical

   injury as a result of the Federal COVID-19 Vaccine Mandate. A recent study

   conducted by the Department of Defense found “higher than expected rates of heart

   inflammation following receipt of COVID-19 vaccines” among military

   servicemembers. See Patricia Kime, DoD Confirms: Rare Heart Inflammation Cases Linked

   to        COVID-19        Vaccines,      Military.com         (June        30,       2021),

   https://www.military.com/daily-news/2021/06/30/dod-confirms-rare-heart-

   inflammation-cases-linked-covid-19-vaccines.html (emphasis added).

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          In fact, on or about June 29, 2021, Defendants knew that the mRNA
          vaccines would causing myocarditis/pericarditis (a potentially serious
          and deadly heart inflammation) in certain members of the military,
          particularly in males 30 and under. In a study conducted by United States
          Army, Navy, and Air Force physicians specifically found: A total of 23
          male patients (22 currently serving in the military and 1 retiree; median
          [range] age, 25 [20-51] years) presented with acute onset of marked
          chest pain within 4 days after receipt of an mRNA COVID-19 vaccine.
          All military members were previously healthy with a high level of
          fitness. Seven received the BNT162b2-mRNA vaccine and 16 received
          the mRNA-1273 vaccine. A total of 20 patients had symptom onset
          following the second dose of an appropriately spaced 2-dose series. All
          patients had significantly elevated cardiac troponin levels. Among 8
          patients who underwent cardiac magnetic resonance imaging within the
          acute phase of illness, all had findings consistent with the clinical
          diagnosis of myocarditis. . . . While the observed number of myocarditis
          cases was small, the number was higher than expected among male
          military members after a second vaccine dose.

   Jay Montgomery, et al., Myocarditis Following Immunization With mRNA COVID-19

   Vaccines in Members of the US Military, Journal of American Medical Association

   Network             (June          29,             2021),         available            at

   https://jamanetwork.com/journals/jamacardiology/fullarticle/2781601            (emphasis

   added).

          185. Dr. Matthew Oster, a member of the President’s COVID-19 Task Force,

   confirmed the link between the COVID-19 vaccines and myocarditis, stating: “It does

   appear that mRNA vaccines may be a new trigger for myocarditis yet it does have

   some different characteristics.” Jackie Salo, COVID-19 mRNA vaccines likely linked to

   rare      heart   condition   in   kids:     CDC      panel,   (June     23,       2021),

   https://nypost.com/2021/06/23/covid-19-vaccines-from-pfizer-moderna-likely-

   linked-to-rare-heart-condition-cdc-panel/.


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         186. Indeed, it is now well confirmed by the CDC and other studies that males

   30 and under have an unacceptable risk of developing myocarditis as a result of the

   COVID-19 vaccines. See EXHIBIT H, Declaration of Dr. Peter McCullough.

         187. The COVID-19 genetic vaccines (Pfizer, Moderna, J&J) skipped testing

   for genotoxicity, mutagenicity, teratogenicity, and oncogenicity. In other words, it is

   unknown whether or not these products will change human genetic material, cause

   birth defects, reduce fertility, or cause cancer. (Ex. H, McCullough Decl. ¶ 16.)

         188. The Pfizer, Moderna, and JNJ vaccines are considered “genetic

   vaccines”, or vaccines produced from gene therapy molecular platforms which

   according to US FDA regulatory guidance are classified as gene delivery therapies and

   should be under a 15-year regulatory cycle with annual visits for safety evaluation by

   the research sponsors. FDA. Food and Drug Administration. (Id. ¶ 17.)

         189. The FDA has “advised sponsors to observe subjects for delayed adverse

   events for as long as 15 years following exposure to the investigational gene therapy

   product, specifying that the long-term follow-up observation should include a

   minimum of five years of annual examinations, followed by ten years of annual queries

   of study subjects, either in person or by questionnaire.” (emphasis added) Thus, the

   administration of the Moderna, Pfizer, and JNJ vaccines should not be undertaken

   without the proper consent and arrangements for long-term follow-up which are

   currently not offered in the US. (See, EUA briefing documents for commitments as to

   follow up: Moderna , Pfizer , J&J ). They have a dangerous mechanism of action in

   that they all cause the body to make an uncontrolled quantity of the pathogenic wild-

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   type spike protein from the SARS-CoV-2 virus for at least two weeks probably a longer

   period based on the late emergence of vaccine injury reports. This is unlike all other

   vaccines where there is a set amount of antigen or live-attenuated virus. This means

   for Pfizer, Moderna, and J&J vaccines it is not predictable among patients who will

   produce more or less of the spike protein. The Pfizer, Moderna, and JNJ vaccines

   because they are different, are expected to produce different libraries of limited

   antibodies to the now extinct wild-type spike protein. We know the spike protein

   produced by the vaccines is obsolete because the 17th UK Technical Report on SARS-

   CoV-2 Variants issued June 25, 2021, and the CDC June 19, 2021, Variant Report

   both indicate the SARS-CoV-2 wild type virus to which all the vaccines were

   developed is now extinct. (Id. ¶ 18.)

         190. The spike protein itself has been demonstrated to injure vital organs such

   as the brain, heart, lungs, as well as damage blood vessels and directly cause blood

   clots. Additionally, because these vaccines infect cells within these organs, the

   generation of spike protein within heart and brain cells, in particular, causes the body's

   own immune system to attach to these organs. This is abundantly apparent with the

   burgeoning number of cases of myocarditis or heart inflammation among individuals

   below age 30 years. (Id.)

         191. Because the US FDA and CDC have offered no interpretation of overall

   safety of the COVID-19 vaccines according to the manufacturer or as a group, nor

   have they offered methods of risk mitigation for these serious adverse effects which

   can lead to permanent disability or death, no one should be pressured, coerced, receive

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   the threat or reprisal, or be mandated to receive one of these investigational products

   against their will. Because the vaccine centers, CDC, FDA, and the vaccine

   manufacturers ask for the vaccine recipient to grant indemnification on the consent

   form before injection, all injuries incurred by the person are at their own cost which

   can be prohibitive depending on the needed procedures, hospitalizations,

   rehabilitation, and medications. (Id.)

            192. The COVID-19 public vaccination program operated by the CDC and

   the FDA is a clinical investigation and under no circumstance can any person receive

   pressure, coercion, or threat of reprisal on their free choice of participation. Violation

   of this principle of autonomy by any entity constitutes reckless endangerment with a

   reasonable expectation of causing personal injury resulting in damages. (Id. ¶ 21.)

            193.   The total safety reports in VAERS for all vaccines per year up to 2019

   was 16,320. The total safety reports in VAERS for COVID-19 Vaccines alone through

   October 1, 2021, is 778,683. Based on VAERS as of October 1, 2021, there were 16,310

   COVID-19 vaccine deaths reported and 75,605 hospitalizations reported for the

   COVID-19 vaccines (Pfizer, Moderna, JNJ). By comparison, from 1999, until

   December 31, 2019, VAERS received 3167 death reports (158 per year) adult death

   reports for all vaccines combined. Thus, the COVID-19 mass vaccination is associated

   with at least a 39-fold increase in annualized vaccine deaths reported to VAERS. (Id.

   ¶ 28.)

            194. COVID-19 vaccine adverse events account for 98% of all vaccine-related

   AEs from December 2020 through the present in VAERS. (Id. ¶ 29.)

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          195. The COVID-19 vaccines are not safe for general use and cannot be

   deployed indiscriminately or supported, recommended, or mandated among any

   group. (Id. ¶ 30.)

          196. There are emerging trends showing that the vaccine is especially risky for

   those 12- 29 in Dr. McCullough’s expert medical opinion with complications in the

   cardiovascular, neurological, hematologic, and immune systems. (See, Rose J, et al).

   Increasingly the medical community is acknowledging the possible risks and side

   effects including myocarditis, Bell’s Palsy, Pulmonary Embolus, Pulmonary

   Immunopathology, and severe allergic reaction causing anaphylactic shock. See

   Chien-Te Tseng, Elena Sbrana, Naoko Iwata- Yoshikawa, Patrick C Newman, Tania

   Garron, Robert L Atmar, Clarence J Peters, Robert B Couch, Immunization with

   SARS coronavirus vaccines leads to pulmonary immunopathology on challenge with

   the SARS virus, https://pubmed.ncbi.nlm.nih.gov/22536382/ (last visited June 21,

   2021); Centers for Disease Control and Prevention, Allergic Reactions Including

   Anaphylaxis After Receipt of the First Dose of Pfizer-BioNTech COVID-19

   Vaccine—United States, December 14– 23, 2020 (Jan 15, 2021). (Id. ¶ 31.)

          197. The Centers for Disease Control has held emergency meetings on this

   issue and the medical community is responding to the crisis. It is known that

   myocarditis causes injury to heart muscle cells and may result in permanent heart

   damage resulting in heart failure, arrhythmias, and cardiac death. These conditions

   could call for a lifetime need for multiple medications, implantable cardio

   defibrillators, and heart transplantation. Heart failure has a five-year 50% survival and

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   would markedly reduce the lifespan of a child or young adult who develops this

   complication after vaccine-induced myocarditis. (Id. ¶ 32.)

         198. COVID-19 vaccine-induced myocarditis has a predilection for young

   males below age 30 years. The Centers for Disease Control has held emergency

   meetings on this issue and the medical community is responding to the crisis and the

   US FDA has issued a warning on the Pfizer and Moderna vaccines for myocarditis.

   In the cases reviewed by the CDC and FDA, 90% of children with COVID-19 induced

   myocarditis developed symptoms and clinical findings sufficiently severe to warrant

   hospitalization. Because this risk is not predictable and the early reports may represent

   just the tip of the iceberg, no individual under age 30 under any set of circumstances

   should feel obliged to take this risk with the current genetic vaccines particularly the

   Pfizer and Moderna products. (Id. ¶ 33.)

         199. Multiple recent studies and news reports detail people 18-29 dying from

   myocarditis after receiving the COVID-19 vaccine. According to the CDC, 475 cases

   of pericarditis and myocarditis have been identified in vaccinated citizens aged 30 and

   younger. See FDA, Vaccines and Related Biological Products Advisory Committee

   June 10, 2021, Meeting Presentation. The FDA found that people 12-24 account for

   8.8% of the vaccines administrated, but 52% of the cases of myocarditis and

   pericarditis were reported. (Id. ¶¶ 34-35.)

         200. The CDC recently released data stating that there have been 267 cases of

   myocarditis or pericarditis reported after receiving one dose of the COVID-19 vaccines

   and 827 reported cases after two doses through June 11. There are 132 additional cases

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   where the number of doses received is unknown. Id. There have been 2466 reported

   cases of myocarditis that have occurred, and the median age is thirty. (Id. ¶ 37.) And,

   the CDC just announced that the vaccine is “likely linked” to myocarditis. Advisory

   Board, CDC panel reports ‘likely association’ of heart inflammation and mRNA

   COVID-19 vaccines in young people. (Id. ¶ 36.)

         201. The irreparable harm to Plaintiffs and the class members they represent

   is incalculable, unconscionable, and unconstitutional.

                                 CLASS ALLEGATIONS

         202. Plaintiffs satisfy the requirements Fed. R. Civ. P. 23(a) because the class

   is so numerous that joinder of all members is impracticable, each member’s claims

   involve common questions of law and fact, the claims of the representatives are typical

   of and identical to the claims of the other members of the class, and the representatives

   here will fairly and adequately protect the interests of the class in having the primarily

   legal questions addressed by the Court in an expeditious manner. Between Active

   Duty Military and Reserves, the United States Armed Forces comprise almost 2.3

   million individuals.

         203. Plaintiffs have typicality with the other members of the class of military

   servicemembers who have been denied religious exemption from the Federal

   COVID-19 Vaccine Mandate, estimated to number in the thousands or even tens of

   thousands, and who are threatened with the unconscionable choice between

   conformance with their sincerely held religious convictions adverse employment

   action.


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         204. Plaintiffs have commonality with the other members of the class because

   they are all members of the United States Armed Forces subject to the Federal

   COVID-19 Vaccine Mandate.

         205. Plaintiffs’ claims in the Court are representative of the claims of other

   class members and involve questions of fact and law that are common to all class

   members, including, inter alia,

         (a) whether the EUA Statute requires that Plaintiffs be given the option to refuse

   a COVID-19 vaccine because there is currently no FDA approved COVID-19 vaccine

   available;

         (b) whether Defendants violate the First Amendment to the United States

   Constitution by mandating that Plaintiffs accept and receive a COVID-19 vaccine

   regardless of whether Plaintiffs’ and the other class members’ sincerely held religious

   beliefs compel them to abstain from acceptance or receipt of the three currently

   available COVID-19 vaccines; and

         (c) whether the federal Religious Freedom Restoration Act (RFRA) requires

   Defendants and all those in active concert with them to provide accommodations and

   exemptions to those Plaintiffs with sincerely held religious convictions that compel

   them to abstain from receiving one of the three currently available COVID-19

   vaccines.

         206. Plaintiffs’ claims are representative and common among all class

   members because the injury sustained—Defendants’ refusals to grant exemption and

   accommodation for sincerely held religious objections to the COVID-19 vaccines and

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   the resulting adverse employment actions—are categorically identical. Indeed,

   Plaintiffs and the other members of the class “have suffered the same injury.” Wal-

   Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011).

         207. Plaintiffs will fairly and adequately protect the interests of the class

   because they are seeking a temporary restraining order, preliminary and permanent

   injunctive relief, and declaratory relief against enforcement of the Federal COVID-19

   Vaccine Mandate and Defendants’ refusals to entertain or grant religious exemptions

   and accommodations which will provide relief to all class members.

         208. Plaintiffs likewise satisfy the requirements of Fed. R. Civ. P. 23(b)

   because Defendants have acted in a manner that applies to all members of the class

   with respect to the Federal COVID-19 Vaccine Mandate, and have refused to grant

   religious accommodations to the entire group of class members who have sincerely

   held religious objections to receiving a COVID-19 vaccine under the Mandate. Fed.

   R. Civ. P. 23(b)(2).

         209. Additionally, Plaintiffs’ requested injunctive and declaratory relief would

   appropriately protect of the entire class as a whole. Fed. R. Civ. P. 23(b)(2).

         210. Moreover, Plaintiffs satisfy the requirements of Fed. R. Civ. P. 23(b)

   because the common questions of law and fact applicable to the class members’ claims

   predominate over individualized questions pertaining to individual class members.

   Fed. R. Civ. P. 23(b)(3).

         211. Adjudication of Plaintiffs and the other class members’ claims are more

   fairly and efficiently adjudicated by a class action, as the claims for religious

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   accommodation and exemption from the Federal COVID-19 Vaccine Mandate are

   virtually identical among all class members, the relevant facts applicable to each

   individual class member are substantially similar, and the applicable substantive law

   for the class members’ claims is identical in all respects. Fed. R. Civ. P. 23(b)(3).

     COUNT I – VIOLATION OF THE EMERGENCY USE AUTHORIZATION
     PROVISIONS OF THE FEDERAL FOOD, DRUG, AND COSMETIC ACT,
       21 U.S.C. § 360bbb-3, AS APPLIED BY 10 U.S.C. §§ 1107 AND 1107a

         212. Plaintiffs hereby reallege and adopt each and every allegation in

   paragraphs 1–211 as if fully set forth herein.

         213. The Federal Food, Drug, And Cosmetic Act provides that

         subject to the provisions of this section, the Secretary (of the
         Department of Health and Human Services) may authorize the
         introduction into interstate commerce, during the effective period of a
         declaration under subsection (b), of a drug, device, or biological product
         intended for use in an actual or potential emergency (referred to in this
         section as an “emergency use.”

         21 U.S.C. § 360bbb-3(a)(1) (emphasis added).

         214. For ease of reference, Plaintiffs will refer to the general provisions of 21

   U.S.C. §360bbb-3 as the “Emergency Use Authorization Statute” or “EUA Statute.”

         215. The Emergency Use Authorization Statute further provides the

   limitations on when the Secretary may authorize the emergency use of an unapproved

   product for use in interstate commerce, and specifically limits such authorization to

   circumstances where the Secretary of Homeland Security has determined certain

   emergencies exits, where the Secretary of Defense has determined that certain military

   emergencies exist, where the Secretary of the Department of Health and Human



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   services has determined that certain public health emergencies exist, and where there

   has been some identification of a material threat pursuant to other provisions of the

   United States Code. See 21 U.S.C. § 360bbb-3(b)(1)(A)-(D).

         216. The Secretary’s Emergency Use Authorization terminates whenever the

   circumstances described in 21 U.S.C. § 360bbb-3(b)(1)(A)-(D) cease to exist or where

   the product approved for Emergency Use under the statute receives a change in

   approval status. 21 U.S.C. § 360bbb-3(b)(2)(A)(i)-(ii).

         217. As an essential part of the explicit statutory conditions for EUA, the

   EUA Statute mandates that all individuals to whom the EUA product may be

   administered be given the option to accept or refuse administration of the product:

         With respect to the emergency use of an unapproved product, the
         Secretary, to the extent practicable given the applicable circumstances
         described in subsection (b)(1), shall, for a person who carries out any
         activity for which the authorization is issued, establish such conditions
         on an authorization under this section as the Secretary finds necessary or
         appropriate to protect the public health, including the following:

             ....

             (ii) Appropriate conditions designed to ensure that individuals to
             whom the product is administered are informed—

                (I) that the Secretary has authorized the emergency use of the
                product;

                (II) of the significant known and potential benefits and risks of
                such use, and of the extent to which such benefits and risks are
                unknown; and

                (III) of the option to accept or refuse administration of the
                product, of the consequences, if any, of refusing administration of




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                the product, and of the alternatives to the product that are available
                and of their benefits and risks.

   21 U.S.C. § 360bbb-3(e)(1)(A)(ii)(I)–(III) (emphasis added).

         218. Consistent with the requirement in the Emergency Use Authorization

   statute that all potential recipients of the COVID-19 vaccine be informed of the option

   to accept or refuse the vaccine, the Emergency Use Authorization Fact Sheet for all

   three of the currently available COVID-19 vaccines specifically states—as required by

   the Emergency Use Authorization Statute—that individuals have the right to refuse

   administration of the COVID-19 vaccine. A true and correct copy of the Emergency

   Use Authorization Fact Sheet for the Moderna COVID-19 Vaccine is attached hereto

   as EXHIBIT ## and incorporated herein. A true and correct copy of the Emergency

   Use Authorization Fact Sheet for the Pfizer- BioNTech COVID-19 Vaccine is attached

   hereto as EXHIBIT ## and incorporated herein. A true and correct copy of the

   Emergency Use Authorization Fact Sheet for the Janssen (Johnson & Johnson)

   COVID-19 Vaccine is attached hereto as EXHIBIT ## and incorporated herein.

         219. Specifically, the Emergency Use Authorization Fact Sheets for all three

   COVID-19 vaccines state that it is the individual’s right to refuse administration of the

   vaccine. (See Exhibit H at 4 (“It is your choice to receive or not to receive the

   Moderna COVID-19 Vaccine. Should you decide not to receive it, it will not change

   your standard medical care.” (emphasis added)); Exhibit I at 5 (“It is your choice to

   receive or not to receive the Pfizer-BioNTech COVID-19 Vaccine. Should you

   decide not to receive it, it will not change your standard medical care.” (emphasis


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   added)); Exhibit J at 5 (“It is your choice to receive or not to receive the Janssen

   COVID-19 Vaccine. Should you decide not to receive it, it will not change your

   standard medical care.” (emphasis added))).)

            220.   “Congress has prohibited the administration of investigational drugs to

   service members without their consent.” Doe v. Rumsfeld, 341 F. Supp. 2d 1, 19 (D.D.C.

   2004).

            221. There is a very strict mechanism under which any military exception to

   the EUA statute may be deployed, and neither have occurred here.

            222. First, the President can waive the informed consent requirement, but that

   Presidential waiver must be in writing and demonstrate that the President has

   determined “that obtaining consent is not in the interests of national security,” 10

   U.S.C. § 1107(f), or “that complying with such requirement is not in the interests of

   national security,” 10 U.S.C. § 1107a(a).

            223. The strict criteria laid out in the statutory framework demonstrate the

   limited scope of the exceptions to the informed consent requirement. To start, the

   initial emergency declaration by the HHS Secretary must be based on one of four

   statutorily listed justifications—none of which apply here. The first requires the

   Secretary of Defense to find a domestic emergency, or significant potential for a

   domestic emergency, based on heightened risk of attack with a biological, chemical,

   radiological, or nuclear agent. 21 U.S.C. § 360bbb–3(b)(1)(A) (“A “determination by

   the Secretary of Homeland Security that there is a domestic emergency, or a significant



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   potential for a domestic emergency, involving a heightened risk of attack with a

   biological, chemical, radiological, or nuclear agent or agents.”).

         224. The second requires a finding that there is a military emergency

   involving a heightened risk to US military forces of an attack with a biological,

   chemical, radiological, or nuclear agent, or an agent that may cause an imminently

   life-threatening and specific risk to US military forces. 21 U.S.C. § 360bbb-3(b)(1)(B)

   (“A “determination by the Secretary of Defense that there is a military emergency, or

   a significant potential for a military emergency, involving a heightened risk to United

   States military forces, including personnel operating under the authority of title 10 or

   title 50, of attack with a biological, chemical, radiological, or nuclear agent or

   agents; or an agent or agents that may cause, or are otherwise associated with, an

   imminently life-threatening and specific risk to United States military forces.”

   (emphasis added)).

         225. The third requires a finding that there is a public health emergency, or

   significant potential for a public health emergency that affects national security or the

   health and security of US citizens abroad that involves a biological, chemical,

   radiological, or nuclear agent or a disease or condition attributable to one of those

   agents. 21 U.S.C. §360bbb-3(b)(1)(C) (A “determination by the Secretary that there is

   a public health emergency, or a significant potential for a public health emergency,

   that affects, or has a significant potential to affect, national security or the health and

   security of United States citizens living abroad, and that involves a biological,



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   chemical, radiological, or nuclear agent or agents, or a disease or condition that

   may be attributable to such agent or agents.” (emphasis added)).

         226. The fourth requires the identification of a material threat involving

   chemical, biological, radiological, and nuclear agents sufficient to affect national

   security or the health and security of US citizens living abroad. 21 U.S.C.

   § 360bbb-3(b)(1)(D) (“The “identification of a material threat [involving chemical,

   biological, radiological, and nuclear agents] pursuant to section 319F–2 of the Public

   Health Service Act [42 U.S.C. § 247d–6b] sufficient to affect national security or the

   health and security of United States citizens living abroad.” (emphasis added)).

         227. Under the above statute, there is no legal basis on which the President

   may waive consent for the COVID-19 vaccines for the military. Indeed, he has not

   done so because he has no statutory authority under these facts to waive the EUA

   requirements for the military.

         228. Even after the HHS Secretary establishes that one of the four criteria are

   satisfied, then under § 360bbb–3 the HHS Secretary then must make a separate

   determination that an “agent” referred to in the declaration can cause a serious or life-

   threatening disease or condition and that based on the scientific evidence available for

   the product authorized under the EUA (i) it may be effective in diagnosing, treating,

   or preventing the disease or serious life-threatening disease, (ii) the known and

   potential benefits outweigh the risks; (iii) there is no adequate, approved, and available

   alternative to the product authorized under the EUA; (iv) in the case of a military



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   emergency based on a biological, chemical, radiological, or nuclear agent, the

   Secretary of Defense made the emergency use request; and (v) other criteria

   established by regulation are satisfied.

         229. None of the foregoing criteria has been satisfied.

         230. Defendants have ignored their obligations under the EUA Statute.

         231. There has been no Presidential declaration sufficient to invoke the

   consent exceptions of the EUA statute.

         232. There has been no domestic emergency, military emergency, public

   health emergency, or material threat of a biological, chemical, radiological, or nuclear

   agent, or a disease attributable to one of those conditions.

         233. As such, Defendants are prohibited by the EUA statute from mandating

   that any Plaintiffs or similarly situated military servicemembers receive or accept one

   of the COVID-19 vaccines.

         234. Put simply, the Emergency Use Authorization Statute provides that, as

   a condition of receiving authorization for emergency use, ALL individuals to whom

   the EUA product may be administered are given the right to accept or refuse

   administration of the product—and this includes members of the military. And, of

   course, the EUA right to accept or refuse applies and cannot be waived respecting

   the federal employees and federal civilian contractor Plaintiffs.

         235. The only currently available COVID-19 vaccines (Janssen/Johnson &

   Johnson, Moderna, and Pfizer/BioNTech) are only authorized for use under the



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   Emergency Use Authorization statute and have no general approval under the United

   States Code.

          236. Because all three of the currently available COVID-19 vaccines are

   subject only to Emergency Use under the Emergency Use Authorization statute, the

   Emergency Use Authorization statute mandates that all individuals to whom the

   product may be administered, including Plaintiffs, be given the right to accept or

   refuse administration of the product.

          237. Put simply, because all three of the currently available COVID-19

   vaccines are subject only to Emergency Use under the Emergency Use Authorization

   statute, the Emergency Use Authorization statute prohibits Defendants from making

   the COVID-19 vaccines mandatory.

          238. The Federal COVID-19 Vaccine Mandate, on its face and as applied, has

   caused, is causing, and will continue to cause irreparable harm and actual and undue

   hardship on Plaintiffs’ sincerely held religious beliefs.

          239. Plaintiffs have no adequate remedy at law for the continuing deprivation

   of their most cherished constitutional liberties and sincerely held religious beliefs.

          WHEREFORE, Plaintiffs respectfully pray for relief against Defendants as

   hereinafter set forth in their prayer for relief.

               COUNT II – VIOLATION OF THE FIRST AMENDMENT
                   TO THE UNITED STATES CONSTITUTION

          240. Plaintiffs hereby reallege and adopt each and every allegation in

   paragraphs 1–211 above as if fully set forth herein.



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          241. The Free Exercise Clause of the First Amendment to the United States

   Constitution prohibits the government from abridging Plaintiffs’ rights to free exercise

   of religion.

          242. Plaintiffs have sincerely held religious beliefs that Scripture is the

   infallible, inerrant word of the Lord Jesus Christ, and that they are to follow its

   teachings.

          243. Plaintiffs have and exercise sincerely held religious beliefs (articulated in

   Section B, supra) which compel them to abstain from receiving or accepting any of the

   currently available COVID-19 vaccines.

          244. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   targets Plaintiffs’ sincerely held religious beliefs by prohibiting Plaintiffs from seeking

   and receiving exemption and accommodation for their sincerely held religious beliefs

   against the COVID-19 vaccines.

          245. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   impermissibly burdens Plaintiffs’ sincerely held religious beliefs, compels Plaintiffs to

   either change those beliefs or act in contradiction to them, and forces Plaintiffs to

   choose between the teachings and requirements of their sincerely held religious beliefs

   in the commands of Scripture and the government’s imposed value system.

          246. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   places Plaintiffs in an irresolvable conflict between compliance with the mandate and

   their sincerely held religious beliefs.




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          247. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   puts substantial pressure on Plaintiffs to violate their sincerely held religious beliefs or

   face loss of their ability to feed their families.

          248. The Federal COVID-19 Vaccine Mandate, on its face and as applied, is

   neither neutral nor generally applicable.

          249. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   specifically targets Plaintiffs’ religious beliefs for disparate and discriminatory

   treatment.

          250. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   creates a system of individualized exemptions for preferred exemption requests while

   discriminating against requests for exemption and accommodation based on sincerely

   held religious beliefs.

          251. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   constitutes a religious gerrymander by unconstitutionally orphaning exemption and

   accommodation requests based solely on sincerely held religious beliefs of Plaintiffs

   while permitting the more favored medical exemptions to be granted.

          252. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   constitutes a substantial burden on Plaintiffs’ exercise of their sincerely held religious

   beliefs.

          253. The Federal COVID-19 Vaccine Mandate, on its face and as applied, fails

   to accommodate Plaintiffs’ sincerely held religious beliefs.




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          254. There is no legitimate, rational, or compelling interest in the Federal

   COVID-19 Vaccine Mandate’s exclusion of exemptions and accommodations for

   sincerely held religious beliefs.

          255. The Federal COVID-19 Vaccine Mandate is not the least restrictive

   means of achieving an otherwise permissible government interest.

          256. The Federal COVID-19 Vaccine Mandate, on its face and as applied, has

   caused, is causing, and will continue to cause irreparable harm and actual and undue

   hardship on Plaintiffs’ sincerely held religious beliefs.

          257. Plaintiffs have no adequate remedy at law to protect the continuing

   deprivation of their most cherished constitutional liberties and sincerely held religious

   beliefs.

          WHEREFORE, Plaintiffs respectfully pray for relief against Defendants as

   hereinafter set forth in their prayer for relief.

    COUNT III - VIOLATION OF THE RELIGIOUS FREEDOM RESTORATION
                     ACT, 42 U.S.C. §§ 2000bb to 2000bb-4

          258. Plaintiffs hereby reallege and adopt each and every allegation in

   paragraphs 1–211 above as if fully set forth herein.

          259. The Religious Freedom Restoration Act (RFRA), 42 U.S.C. §§ 2000bb

   to 2000bb-4, provides that “Government shall not substantially burden a person’s

   exercise of religion even if the burden results from a rule of general applicability.” 42

   U.S.C. § 2000bb-1(a).




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         260. RFRA also demands that, should the government substantially burden a

   person’s free exercise of religion, it bears the burden of demonstrating that its burden

   on religious exercise furthers a compelling government interest and is the least

   restrictive means of achieving that compelling government interest. 42 U.S.C.

   § 2000bb-1(b).

         261. RFRA plainly applies to Defendants, as they constitute a “branch,

   department, agency, instrumentality, and official of the United States.” 42 U.S.C.

   § 2000bb-2(1).

         262. Congress enacted RFRA “to provide very broad protection for religious

   liberty,” going “far beyond what [the Supreme Court] has held is constitutionally

   required” under the First Amendment. Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682,

   693, 706 (2014) (emphasis added).

         263. As such, RFRA encompasses a very broad definition of “exercise of

   religion,” which includes “‘any exercise of religion, whether or not compelled by, or

   central to, a system of religious belief.’” Hobby Lobby, 573 U.S. at 696 (quoting 42

   U.S.C. § 2000bb—5(7)(A)).

         264. Congress has mandated that RFRA “‘be construed in favor of a broad

   protection of religious exercise, to the maximum extent permitted by the terms of this

   chapter and the Constitution.’” Hobby Lobby, 573 U.S. at 696 (quoting 42 U.S.C.

   § 2000cc-3(g)).

         265. “RFRA operates as a kind of super statute, displacing the normal

   operation of other federal laws.” Bostock v. Clayton Cnty., 140 S. Ct. 1731, 1754 (2020).

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          266. Plaintiffs have sincerely held religious beliefs that Scripture is the

   infallible, inerrant word of the Lord Jesus Christ, and that they are to follow its

   teachings.

          267. Plaintiffs have and exercise sincerely held religious beliefs (articulated

   supra Section B) which compel them to abstain from receiving or accepting any of the

   currently available COVID-19 vaccines.

          268. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   targets Plaintiffs’ sincerely held religious beliefs by prohibiting Plaintiffs from seeking

   and receiving exemption and accommodation for their sincerely held religious beliefs

   against the COVID-19 vaccines.

          269. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   impermissibly burdens Plaintiffs’ sincerely held religious beliefs, compels Plaintiffs to

   either change those beliefs or act in contradiction to them, and forces Plaintiffs to

   choose between the teachings and requirements of their sincerely held religious beliefs

   in the commands of Scripture and the government’s imposed value system.

          270. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   places Plaintiffs in an irresolvable conflict between compliance with the mandate and

   their sincerely held religious beliefs.

          271. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   puts substantial pressure on Plaintiffs to violate their sincerely held religious beliefs or

   face loss of their ability to feed their families.




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          272. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   specifically targets Plaintiffs’ religious beliefs for disparate and discriminatory

   treatment.

          273. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   creates a system of individualized exemptions for preferred exemption requests while

   discriminating against requests for exemption and accommodation based on sincerely

   held religious beliefs.

          274. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   constitutes a substantial burden on Plaintiffs’ exercise of their sincerely held religious

   beliefs.

          275. By forcing Plaintiffs into the unconscionable choice between violating

   their sincerely held religious convictions or facing dishonorable discharge, courts

   martial, termination, and other disciplinary measures, Defendants’ mandate

   constitutes a substantial burden on Plaintiffs’ exercise of religion.

          276. The Federal COVID-19 Vaccine Mandate, on its face and as applied, fails

   to accommodate Plaintiffs’ sincerely held religious beliefs.

          277. There is no legitimate, rational, or compelling interest in the Federal

   COVID-19 Vaccine Mandate’s exclusion of exemptions and accommodations for

   sincerely held religious beliefs.

          278. The Federal COVID-19 Vaccine Mandate is not the least restrictive

   means of achieving an otherwise permissible government interest.




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          279. The Federal COVID-19 Vaccine Mandate, on its face and as applied, has

   caused, is causing, and will continue to cause irreparable harm and actual and undue

   hardship on Plaintiffs’ sincerely held religious beliefs.

          280. Plaintiffs have no adequate remedy at law for the continuing deprivation

   of their most cherished constitutional liberties and sincerely held religious beliefs.

          WHEREFORE, Plaintiffs respectfully pray for relief against Defendants as

   hereinafter set forth in their prayer for relief.

                                    PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly

   situated, respectfully pray for relief as follows:

          A.     That the Court issue a temporary restraining order restraining and

   enjoining Defendants and their officers, agents, employees, and attorneys, and all

   other persons in active concert or participation with them, from enforcing, threatening

   to enforce, attempting to enforce, or otherwise requiring compliance with the Federal

   COVID-19 Vaccine Mandate such that:

                 i.     Defendants will immediately comply with the Emergency Use

                        Authorization Statute so that each individual has the “option to

                        accept or refuse” administration of the COVID-19 vaccines as

                        there is currently no FDA approved COVID-19 vaccine available

                        to the population;




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                ii.    Defendants will immediately cease in their refusal to consider,

                       evaluate, or accept Plaintiffs’ requests for exemption and

                       accommodation for their sincerely held religious beliefs;

                iii.   Defendants’ will immediately grant Plaintiffs’ requests for

                       religious exemption and accommodation from the Federal

                       COVID-19 Vaccine Mandate; and

                iv.    Defendants will immediately cease any actions arising from or

                       connected to the military servicemember Plaintiffs’ religious

                       exemption and accommodation requests, including current and

                       ongoing punishment and threatening to dishonorably discharge,

                       court martial, and impose other life-altering disciplinary actions

                       on Plaintiffs for failure to accept a COVID-19 vaccine that violates

                       their sincerely held religious beliefs;

           B.   That the Court issue a preliminary injunction pending trial, and a

   permanent injunction upon judgment, restraining and enjoining Defendants and their

   officers, agents, employees, and attorneys, and all other persons in active concert or

   participation with them, from enforcing, threatening to enforce, attempting to enforce,

   or otherwise requiring compliance with the Federal COVID-19 Vaccine Mandate such

   that:

                i.     Defendants will immediately comply with the Emergency Use

                       Authorization Statute so that each individual has the “option to

                       accept or refuse” administration of the COVID-19 vaccines as

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                      there is currently no FDA approved COVID-19 vaccine available

                      to the population;

               ii.    Defendants will immediately cease in their refusal to consider,

                      evaluate, or accept Plaintiffs’ requests for exemption and

                      accommodation for their sincerely held religious beliefs;

               iii.   Defendants’ will immediately grant Plaintiffs’ requests for

                      religious exemption and accommodation from the Federal

                      COVID-19 Vaccine Mandate; and

               iv.    Defendants will immediately cease any actions arising from or

                      connected to the military servicemember Plaintiffs’ religious

                      exemption and accommodation requests, including current and

                      ongoing punishment and threatening to dishonorably discharge,

                      court martial, and impose other life-altering disciplinary actions

                      on Plaintiffs for failure to accept a COVID-19 vaccine that violates

                      their sincerely held religious beliefs;

         C.    That the Court render a declaratory judgment declaring that the Federal

   COVID-19 Vaccine Mandate, both on its face and as applied by Defendants, is illegal

   and unlawful in that it purports to remove federal civil rights and constitutional

   protections from military servicemembers, and further declaring—

               i.     the Federal COVID-19 Vaccine Mandate violates the federal

                      Emergency Use Authorization provisions of the Federal Food,

                      Drug, and Cosmetic Act by imposing a mandatory COVID-19

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                          shot upon Plaintiffs without giving the “option to accept or refuse”

                          the EUA product;

                ii.       the Federal COVID-19 Vaccine Mandate, without sufficient

                          provision for exemption or accommodation for sincerely held

                          religious beliefs, violates the First Amendment to the United States

                          Constitution by imposing a substantial burden on Plaintiffs’

                          sincerely held religious beliefs; and

                iii.      the Federal COVID-19 Vaccine Mandate, without sufficient

                          provision for exemption or accommodation for sincerely held

                          religious beliefs, violates the federal Religious Freedom

                          Restoration Act by imposing a substantial burden on Plaintiffs’

                          sincerely held religious beliefs;

         D.     That the Court adjudge, decree, and declare the rights and other legal

   obligations and relations within the subject matter here in controversy so that such

   declaration shall have the full force and effect of final judgment;

         E.     That the Court award Plaintiffs actual damages in an amount to be

   determined at trial;

         F.     That the Court award Plaintiffs their reasonable attorney’s fees, costs,

   and other expenses and disbursements in this action under 28 U.S.C. §§ 1920 and 2412

   and 42 U.S.C. § 1988, and as otherwise allowed by law;

         G.     That the Court retain jurisdiction over the matter for the purposes of

   enforcing the Court’s order; and

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         H.     That the Court grant such other and further relief as the Court deems

   equitable and just under the circumstances.

                                                   /s/ Roger K. Gannam
                                                   Mathew D. Staver
                                                   Horatio G. Mihet
                                                   Roger K. Gannam
                                                   Daniel J. Schmid*
                                                   Richard L. Mast*
                                                   Liberty Counsel
                                                   P.O. Box 540774
                                                   Orlando, FL 32854
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                                                   court@lc.org
                                                   hmihet@lc.org
                                                   rgannam@lc.org
                                                   dschmid@lc.org*
                                                   rmast@lc.org*
                                                   *Specially admitted
                                                   Attorneys for Plaintiffs




                              CERTIFICATE OF SERVICE
         I hereby certify that on this February 18, 2022, I caused a true and correct

   copy of the foregoing to be electronically filed with the Court. Service will be

   effectuated on all counsel of record via the Court’s ECF/electronic notification

   system.

                                                   /s/ Roger K. Gannam
                                                   Roger K. Gannam




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                                    VERIFICATION

         I, NAVY SEAL 1, am over the age of eighteen years and a Plaintiff in this

   action. The statements and allegations that pertain to me or which I make in this

   SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT are true and

   correct, and based upon my personal knowledge (unless otherwise indicated). If called

   upon to testify to their truthfulness, I would and could do so competently. I declare

   under penalty of perjury, under the laws of the United States, that the foregoing

   statements are true and correct to the best of my knowledge.

         Dated:       February 7, 2022

                             /s/ NAVY SEAL 1
                             NAVY SEAL 1
                             (Original Signature retained by Counsel)




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                                    VERIFICATION

         I, NAVY SEAL 2, am over the age of eighteen years and a Plaintiff in this

   action. The statements and allegations that pertain to me or which I make in this

   SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT are true and

   correct, and based upon my personal knowledge (unless otherwise indicated). If called

   upon to testify to their truthfulness, I would and could do so competently. I declare

   under penalty of perjury, under the laws of the United States, that the foregoing

   statements are true and correct to the best of my knowledge.

         Dated:       February 7, 2022

                             /s/ NAVY SEAL 2
                             NAVY SEAL 2
                             (Original Signature retained by Counsel)




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                                     VERIFICATION

         I, NAVY SENIOR CHIEF PETTY OFFICER, am over the age of eighteen

   years and a Plaintiff in this action. The statements and allegations that pertain to me

   or which I make in this SECOND AMENDED VERIFIED CLASS ACTION

   COMPLAINT are true and correct, and based upon my personal knowledge (unless

   otherwise indicated). If called upon to testify to their truthfulness, I would and could

   do so competently. I declare under penalty of perjury, under the laws of the United

   States, that the foregoing statements are true and correct to the best of my knowledge.

         Dated:        February 7, 2022

                              /s/ NAVY SENIOR CHIEF PETTY OFFICER
                              NAVY SENIOR CHIEF PETTY OFFICER
                              (Original Signature retained by Counsel)




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                                    VERIFICATION

         I, NAVY CHAPLAIN, am over the age of eighteen years and a Plaintiff in this

   action. The statements and allegations that pertain to me or which I make in this

   SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT are true and

   correct, and based upon my personal knowledge (unless otherwise indicated). If called

   upon to testify to their truthfulness, I would and could do so competently. I declare

   under penalty of perjury, under the laws of the United States, that the foregoing

   statements are true and correct to the best of my knowledge.

         Dated:       February 7, 2022

                             /s/ NAVY CHAPLAIN
                             NAVY CHAPLAIN
                                    (Original Signature retained by Counsel)




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                                    VERIFICATION

         I, NAVY EOD OFFICER, am over the age of eighteen years and a Plaintiff in

   this action. The statements and allegations that pertain to me or which I make in this

   SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT are true and

   correct, and based upon my personal knowledge (unless otherwise indicated). If called

   upon to testify to their truthfulness, I would and could do so competently. I declare

   under penalty of perjury, under the laws of the United States, that the foregoing

   statements are true and correct to the best of my knowledge.

         Dated:       February 7, 2022

                             /s/ NAVY EOD OFFICER
                             NAVY EOD OFFICER
                             (Original Signature retained by Counsel)




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                                      VERIFICATION

         I, NAVY COMMANDER SURFACE WARFARE OFFICER, am over the

   age of eighteen years and a Plaintiff in this action. The statements and allegations that

   pertain to me or which I make in this SECOND AMENDED VERIFIED CLASS

   ACTION COMPLAINT are true and correct, and based upon my personal knowledge

   (unless otherwise indicated). If called upon to testify to their truthfulness, I would and

   could do so competently. I declare under penalty of perjury, under the laws of the

   United States, that the foregoing statements are true and correct to the best of my

   knowledge.

         Dated:        February 7, 2022

                       /s/ NAVY COMMANDER SURFACE WARFARE OFFICER
                       NAVY COMMANDER SURFACE WARFARE OFFICER
                       (Original Signature retained by Counsel)




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                                     VERIFICATION

         I, NAVY CHIEF WARRANT OFFICER, am over the age of eighteen years

   and a Plaintiff in this action. The statements and allegations that pertain to me or

   which I make in this SECOND AMENDED VERIFIED CLASS ACTION

   COMPLAINT are true and correct, and based upon my personal knowledge (unless

   otherwise indicated). If called upon to testify to their truthfulness, I would and could

   do so competently. I declare under penalty of perjury, under the laws of the United

   States, that the foregoing statements are true and correct to the best of my knowledge.

         Dated:        February 7, 2022

                              /s/ NAVY CHIEF WARRANT OFFICER
                              NAVY CHIEF WARRANT OFFICER
                              (Original Signature retained by Counsel)




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                                      VERIFICATION

         I, USMC COLONEL FINANCIAL MANAGEMENT OFFICER, am over

   the age of eighteen years and a Plaintiff in this action. The statements and allegations

   that pertain to me or which I make in this SECOND AMENDED VERIFIED CLASS

   ACTION COMPLAINT are true and correct, and based upon my personal knowledge

   (unless otherwise indicated). If called upon to testify to their truthfulness, I would and

   could do so competently. I declare under penalty of perjury, under the laws of the

   United States, that the foregoing statements are true and correct to the best of my

   knowledge.

         Dated:        February 9, 2022

                    /s/ USMC COLONEL FINANCIAL MANAGEMENT OFFICER
                    USMC COLONEL FINANCIAL MANAGEMENT OFFICER
                    (Original Signature retained by Counsel)




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                                     VERIFICATION
         I, USMC LIEUTENANT COLONEL 1, am over the age of eighteen years and

   a Plaintiff in this action. The statements and allegations that pertain to me or which I

   make in this SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT

   are true and correct, and based upon my personal knowledge (unless otherwise

   indicated). If called upon to testify to their truthfulness, I would and could do so

   competently. I declare under penalty of perjury, under the laws of the United States,

   that the foregoing statements are true and correct to the best of my knowledge.

         Dated:        February 7, 2022

                              /s/ USMC LIEUTENANT COLONEL 1
                              USMC LIEUTENANT COLONEL 1
                              (Original Signature retained by Counsel)




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                                     VERIFICATION
         I, USMC LIEUTENANT COLONEL 2, am over the age of eighteen years and

   a Plaintiff in this action. The statements and allegations that pertain to me or which I

   make in this SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT

   are true and correct, and based upon my personal knowledge (unless otherwise

   indicated). If called upon to testify to their truthfulness, I would and could do so

   competently. I declare under penalty of perjury, under the laws of the United States,

   that the foregoing statements are true and correct to the best of my knowledge.

         Dated:        February 7, 2022

                              /s/ USMC LIEUTENANT COLONEL 2
                              USMC LIEUTENANT COLONEL 2
                              (Original Signature retained by Counsel)




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                                     VERIFICATION

         I, USMC RESERVE LIEUTENANT COLONEL, am over the age of eighteen

   years and a Plaintiff in this action. The statements and allegations that pertain to me

   or which I make in this SECOND AMENDED VERIFIED CLASS ACTION

   COMPLAINT are true and correct, and based upon my personal knowledge (unless

   otherwise indicated). If called upon to testify to their truthfulness, I would and could

   do so competently. I declare under penalty of perjury, under the laws of the United

   States, that the foregoing statements are true and correct to the best of my knowledge.

         Dated:        February 7, 2022

                              /s/ USMC RESERVE LIEUTENANT COLONEL
                              USMC RESERVE LIEUTENANT COLONEL
                              (Original Signature retained by Counsel)




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                                    VERIFICATION

         I, USMC MAJOR, am over the age of eighteen years and a Plaintiff in this

   action. The statements and allegations that pertain to me or which I make in this

   SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT are true and

   correct, and based upon my personal knowledge (unless otherwise indicated). If called

   upon to testify to their truthfulness, I would and could do so competently. I declare

   under penalty of perjury, under the laws of the United States, that the foregoing

   statements are true and correct to the best of my knowledge.

         Dated:       February 7, 2022

                             /s/ USMC MAJOR
                             USMC MAJOR
                             (Original Signature retained by Counsel)




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                                    VERIFICATION

         I, USMC CAPTAIN, am over the age of eighteen years and a Plaintiff in this

   action. The statements and allegations that pertain to me or which I make in this

   SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT are true and

   correct, and based upon my personal knowledge (unless otherwise indicated). If called

   upon to testify to their truthfulness, I would and could do so competently. I declare

   under penalty of perjury, under the laws of the United States, that the foregoing

   statements are true and correct to the best of my knowledge.

         Dated:       February 7, 2022

                             /s/ USMC CAPTAIN
                             USMC CAPTAIN
                             (Original Signature retained by Counsel)




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                                    VERIFICATION

         I, USMC CAPTAIN 2, am over the age of eighteen years and a Plaintiff in this

   action. The statements and allegations that pertain to me or which I make in this

   SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT are true and

   correct, and based upon my personal knowledge (unless otherwise indicated). If called

   upon to testify to their truthfulness, I would and could do so competently. I declare

   under penalty of perjury, under the laws of the United States, that the foregoing

   statements are true and correct to the best of my knowledge.

         Dated:       February 7, 2022

                             /s/ USMC CAPTAIN 2
                             USMC CAPTAIN 2
                             (Original Signature retained by Counsel)




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                                    VERIFICATION

         I, USMC CAPTAIN 3, am over the age of eighteen years and a Plaintiff in this

   action. The statements and allegations that pertain to me or which I make in this

   SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT are true and

   correct, and based upon my personal knowledge (unless otherwise indicated). If called

   upon to testify to their truthfulness, I would and could do so competently. I declare

   under penalty of perjury, under the laws of the United States, that the foregoing

   statements are true and correct to the best of my knowledge.

         Dated:       February 7, 2022

                             /S/ USMC CAPTAIN 3
                             USMC CAPTAIN 3
                             (Original Signature retained by Counsel)




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                                    VERIFICATION

         I, USMC FIRST LIEUTENANT, am over the age of eighteen years and a

   Plaintiff in this action. The statements and allegations that pertain to me or which I

   make in this SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT

   are true and correct, and based upon my personal knowledge (unless otherwise

   indicated). If called upon to testify to their truthfulness, I would and could do so

   competently. I declare under penalty of perjury, under the laws of the United States,

   that the foregoing statements are true and correct to the best of my knowledge.

         Dated:       February 7, 2022

                             /s/ USMC FIRST LIEUTENANT
                             USMC FIRST LIEUTENANT
                             (Original Signature retained by Counsel




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                                    VERIFICATION

         I, USMC SECOND LIEUTENANT, am over the age of eighteen years and a

   Plaintiff in this action. The statements and allegations that pertain to me or which I

   make in this SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT

   are true and correct, and based upon my personal knowledge (unless otherwise

   indicated). If called upon to testify to their truthfulness, I would and could do so

   competently. I declare under penalty of perjury, under the laws of the United States,

   that the foregoing statements are true and correct to the best of my knowledge.

         Dated:       February 7, 2022

                             /s/ USMC SECOND LIEUTENANT
                             USMC SECOND LIEUTENANT
                             (Original Signature retained by Counsel)




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                                     VERIFICATION

         I, USMC CHIEF WARRANT OFFICER 3, am over the age of eighteen years

   and a Plaintiff in this action. The statements and allegations that pertain to me or

   which I make in this SECOND AMENDED VERIFIED CLASS ACTION

   COMPLAINT are true and correct, and based upon my personal knowledge (unless

   otherwise indicated). If called upon to testify to their truthfulness, I would and could

   do so competently. I declare under penalty of perjury, under the laws of the United

   States, that the foregoing statements are true and correct to the best of my knowledge.

         Dated:        February 7, 2022

                              /s/ USMC CHIEF WARRANT OFFICER 3
                              USMC CHIEF WARRANT OFFICER 3
                              (Original Signature retained by Counsel




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                                    VERIFICATION

         I, USMC LANCE CORPORAL 1, am over the age of eighteen years and a

   Plaintiff in this action. The statements and allegations that pertain to me or which I

   make in this SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT

   are true and correct, and based upon my personal knowledge (unless otherwise

   indicated). If called upon to testify to their truthfulness, I would and could do so

   competently. I declare under penalty of perjury, under the laws of the United States,

   that the foregoing statements are true and correct to the best of my knowledge.

         Dated:       February 7, 2022

                             /s/ USMC LANCE CORPORAL 1
                             USMC LANCE CORPORAL 1
                             (Original Signature retained by Counsel)




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                                    VERIFICATION

         I, USMC LANCE CORPORAL 2, am over the age of eighteen years and a

   Plaintiff in this action. The statements and allegations that pertain to me or which I

   make in this SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT

   are true and correct, and based upon my personal knowledge (unless otherwise

   indicated). If called upon to testify to their truthfulness, I would and could do so

   competently. I declare under penalty of perjury, under the laws of the United States,

   that the foregoing statements are true and correct to the best of my knowledge.

         Dated:       February 7, 2022

                             /s/ USMC LANCE CORPORAL 2
                             USMC LANCE CORPORAL 2
                             (Original Signature retained by Counsel)




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                                     VERIFICATION

         I, AIR FORCE CHAPLAIN, am over the age of eighteen years and a Plaintiff

   in this action. The statements and allegations that pertain to me or which I make in

   this SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT are true

   and correct, and based upon my personal knowledge (unless otherwise indicated). If

   called upon to testify to their truthfulness, I would and could do so competently. I

   declare under penalty of perjury, under the laws of the United States, that the foregoing

   statements are true and correct to the best of my knowledge.

         Dated:        February 7, 2022

                              /s/ AIR FORCE CHAPLAIN
                              AIR FORCE CHAPLAIN
                              (Original Signature retained by Counsel)




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                                      VERIFICATION

         I, AIR FORCE RESERVE LIEUTENANT COLONEL 1, am over the age of

   eighteen years and a Plaintiff in this action. The statements and allegations that pertain

   to me or which I make in this SECOND AMENDED VERIFIED CLASS ACTION

   COMPLAINT are true and correct, and based upon my personal knowledge (unless

   otherwise indicated). If called upon to testify to their truthfulness, I would and could

   do so competently. I declare under penalty of perjury, under the laws of the United

   States, that the foregoing statements are true and correct to the best of my knowledge.

         Dated:        February 7, 2022

                       /s/ AIR FORCE RESERVE LIEUTENANT COLONEL 1
                       AIR FORCE RESERVE LIEUTENANT COLONEL 1
                       (Original Signature retained by Counsel)




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                                      VERIFICATION

         I, AIR FORCE RESERVE LIEUTENANT COLONEL 2, am over the age of

   eighteen years and a Plaintiff in this action. The statements and allegations that pertain

   to me or which I make in this SECOND AMENDED VERIFIED CLASS ACTION

   COMPLAINT are true and correct, and based upon my personal knowledge (unless

   otherwise indicated). If called upon to testify to their truthfulness, I would and could

   do so competently. I declare under penalty of perjury, under the laws of the United

   States, that the foregoing statements are true and correct to the best of my knowledge.

         Dated:        February 7, 2022

                       /s/ AIR FORCE RESERVE LIEUTENANT COLONEL 2
                       AIR FORCE RESERVE LIEUTENANT COLONEL 2
                       (Original Signature retained by Counsel)




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                                      VERIFICATION

         I, AIR FORCE MASTER SERGEANT SERE SPECIALIST, am over the age

   of eighteen years and a Plaintiff in this action. The statements and allegations that

   pertain to me or which I make in this SECOND AMENDED VERIFIED CLASS

   ACTION COMPLAINT are true and correct, and based upon my personal knowledge

   (unless otherwise indicated). If called upon to testify to their truthfulness, I would and

   could do so competently. I declare under penalty of perjury, under the laws of the

   United States, that the foregoing statements are true and correct to the best of my

   knowledge.

         Dated:        February 7, 2022

                       /s/ AIR FORCE MASTER SERGEANT SERE SPECIALIST
                       AIR FORCE MASTER SERGEANT SERE SPECIALIST
                       (Original Signature retained by Counsel)




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                                     VERIFICATION

         I, AIR FORCE TECHNICAL SERGEANT, am over the age of eighteen years

   and a Plaintiff in this action. The statements and allegations that pertain to me or

   which I make in this SECOND AMENDED VERIFIED CLASS ACTION

   COMPLAINT are true and correct, and based upon my personal knowledge (unless

   otherwise indicated). If called upon to testify to their truthfulness, I would and could

   do so competently. I declare under penalty of perjury, under the laws of the United

   States, that the foregoing statements are true and correct to the best of my knowledge.

         Dated:        February 7, 2022

                              /s/ AIR FORCE TECHNICAL SERGEANT
                              AIR FORCE TECHNICAL SERGEANT
                              (Original Signature retained by Counsel)




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                                     VERIFICATION

         I, CADET, United States Air Force Academy, am over the age of eighteen years

   and a Plaintiff in this action. The statements and allegations that pertain to me or

   which I make in this SECOND AMENDED VERIFIED CLASS ACTION

   COMPLAINT are true and correct, and based upon my personal knowledge (unless

   otherwise indicated). If called upon to testify to their truthfulness, I would and could

   do so competently. I declare under penalty of perjury, under the laws of the United

   States, that the foregoing statements are true and correct to the best of my knowledge.

         Dated:        February 7, 2022

                             /s/ CADET, United States Air Force Academy
                             CADET, United States Air Force Academy
                             (Original Signature retained by Counsel




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         I, ARMY COLONEL, am over the age of eighteen years and a Plaintiff in this

   action. The statements and allegations that pertain to me or which I make in this

   SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT are true and

   correct, and based upon my personal knowledge (unless otherwise indicated). If called

   upon to testify to their truthfulness, I would and could do so competently. I declare

   under penalty of perjury, under the laws of the United States, that the foregoing

   statements are true and correct to the best of my knowledge.

         Dated:       February 7, 2022

                             /s/ ARMY COLONEL
                             ARMY COLONEL
                             (Original Signature retained by Counsel)




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                                    VERIFICATION

         I, ARMY RANGER, am over the age of eighteen years and a Plaintiff in this

   action. The statements and allegations that pertain to me or which I make in this

   SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT are true and

   correct, and based upon my personal knowledge (unless otherwise indicated). If called

   upon to testify to their truthfulness, I would and could do so competently. I declare

   under penalty of perjury, under the laws of the United States, that the foregoing

   statements are true and correct to the best of my knowledge.

         Dated:       February 7, 2022

                             /s/ ARMY RANGER
                             ARMY RANGER
                             (Original Signature retained by Counsel)




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                                    VERIFICATION

         I, NATIONAL GUARDSMAN, am over the age of eighteen years and a

   Plaintiff in this action. The statements and allegations that pertain to me or which I

   make in this SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT

   are true and correct, and based upon my personal knowledge (unless otherwise

   indicated). If called upon to testify to their truthfulness, I would and could do so

   competently. I declare under penalty of perjury, under the laws of the United States,

   that the foregoing statements are true and correct to the best of my knowledge.

         Dated:       February 7, 2022

                             /s/ NATIONAL GUARDSMAN
                             NATIONAL GUARDSMAN
                             (Original Signature retained by Counsel)




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                                     VERIFICATION

         I, COAST GUARD PILOT, am over the age of eighteen years and a Plaintiff

   in this action. The statements and allegations that pertain to me or which I make in

   this SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT are true

   and correct, and based upon my personal knowledge (unless otherwise indicated). If

   called upon to testify to their truthfulness, I would and could do so competently. I

   declare under penalty of perjury, under the laws of the United States, that the foregoing

   statements are true and correct to the best of my knowledge.

         Dated:        February 7, 2022

                              /s/ COAST GUARD PILOT
                              COAST GUARD PILOT
                              (Original Signature retained by Counsel)




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                                    VERIFICATION

         I, COAST GUARD LCDR PILOT, am over the age of eighteen years and a

   Plaintiff in this action. The statements and allegations that pertain to me or which I

   make in this SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT

   are true and correct, and based upon my personal knowledge (unless otherwise

   indicated). If called upon to testify to their truthfulness, I would and could do so

   competently. I declare under penalty of perjury, under the laws of the United States,

   that the foregoing statements are true and correct to the best of my knowledge.

         Dated:       February 7, 2022

                             /s/ COAST GUARD LCDR PILOT
                             COAST GUARD LCDR PILOT
                             (Original Signature retained by Counsel)




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                                    VERIFICATION

         I, COAST GUARD LIEUTENANT, am over the age of eighteen years and a

   Plaintiff in this action. The statements and allegations that pertain to me or which I

   make in this SECOND AMENDED VERIFIED CLASS ACTION COMPLAINT

   are true and correct, and based upon my personal knowledge (unless otherwise

   indicated). If called upon to testify to their truthfulness, I would and could do so

   competently. I declare under penalty of perjury, under the laws of the United States,

   that the foregoing statements are true and correct to the best of my knowledge.

         Dated:       February 7, 2022

                             /s/ COAST GUARD LIEUTENANT
                             COAST GUARD LIEUTENANT
                             (Original Signature retained by Counsel)




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